     Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20              Page 1 of 189 PageID 5




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

FELIX V. CUADRADO                                 §
                                                  §
                                                  §
              Plaintiff,                          §
                                                  §
v.                                                §   CIVIL ACTION NO. ___________
                                                  §
TI COMMUNITIES                                    §
                                                  §
                                                  §
                                                  §
              Defendant.                          §

                           INDEX OF DOCUMENTS FOR REMOVAL

              The following documents are attached:

              Exhibit A-1     Docket Sheet

              Exhibit A-2     Plaintiff’s Original Petition

              Exhibit A-3     Issue Citation – View at Kessler Park

              Exhibit A-4     Issue Citation – TI Communities

              Exhibit A-5     Notice of Dismissal for Want of Prosecution

              Exhibit A-6     Joint Stipulation of Extension of Time to Answer Plaintiff’s

                              Original Petition

              Exhibit A-7     Return of Service – TI Communities

              Exhibit A-8     Non-Signed Proposed Order

              Exhibit A-9     Notice of Dismissal for Want of Prosecution

              Exhibit A-10 Motion for Substitute Service

              Exhibit A-11 Proposed Order to Substitute Service




INDEX OF DOCUMENTS FOR REMOVAL                                                        Page 1
  Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20           Page 2 of 189 PageID 6




           Exhibit A-12 Order – Substitute Service

           Exhibit A-13 TI Communities’ Original Answer

           Exhibit A-14 Notice of Trial

           Exhibit A-15 Scheduling Order

           Exhibit A-16 Return of Service – View at Kessler Park

           Exhibit A-17 Westmount at Kessler Park, L.P.’s Original Answer

           Exhibit A-18 Dismissal for Want of Prosecution

           Exhibit A-19 Certificate of Written Discovery

           Exhibit A-20 Letter from mediator – case not settled

           Exhibit A-21 Plaintiff’s First Amended Petition

           Exhibit A-22 Plaintiff’s First Amended Petition - Corrected

           Exhibit A-23 Certificate of Written Discovery

           Exhibit A-24 Certificate of Written Discovery

           Exhibit A-25 Westmount at Kessler Park, L.P.’s No Evidence Motion for

                         Summary Judgment

           Exhibit A-26 Certificate of Written Discovery

           Exhibit A-27 Notice of Hearing - Westmount at Kessler Park, L.P.’s No

                         Evidence Motion for Summary Judgment

           Exhibit A-28 Certificate of Written Discovery

           Exhibit A-29 Plaintiff’s Second Amended Petition

           Exhibit A-30 Notice of Nonsuit as to View at Kessler Park

           Exhibit A-31 Westmount at Kessler Park’s No Evidence Motion for Summary

                         Judgment



INDEX OF DOCUMENTS FOR REMOVAL                                                  Page 2
  Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20         Page 3 of 189 PageID 7




           Exhibit A-32 Notice of Hearing – Westmount at Kessler Park, LP’s No Evidence

                        Motion for Summary Judgment

           Exhibit A-33 Notice of Non-Jury Trial

           Exhibit A-34 Notice of Non-Jury Trial

           Exhibit B    Declaration of Christine Schoellhorn




INDEX OF DOCUMENTS FOR REMOVAL                                                   Page 3
   Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20               Page 4 of 189 PageID 8




                                                    Respectfully submitted,

                                                    By: /s/ Kristin L. Bauer
                                                        Kristin L. Bauer
                                                        Texas Bar No. 24006813
                                                        kristin.bauer@jacksonlewis.com
                                                        Julie A. Farmer
                                                        Texas Bar No. 24059734
                                                        julie.farmer@jacksonlewis.com
                                                        JACKSON LEWIS P.C.
                                                        500 N. Akard, Suite 2500
                                                        Dallas, Texas 75201
                                                        Phone: 214.520.2400
                                                        Fax: 214.520.2008

                                                       ATTORNEYS FOR DEFENDANT

                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document has been served by filing with the ECF filing
system on November 25, 2020, which will cause service to be made upon the following:

         Vincent J. Bhatti
         Vincent.bhatti@bhattilawfirm.com
         Ditty S. Bhatti
         Ditty.bhatti@bhattilawfirm.com
         The Bhatti Law Firm, PLLC
         14785 Preston Road, Suite 550
         Dallas, Texas 75254




                                                    /s/ Kristin L. Bauer
                                                    Kristin L. Bauer


4850-1945-8514, v. 1




INDEX OF DOCUMENTS FOR REMOVAL                                                             Page 4
              Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20   Page 5 of 189 PageID 9



Case Information

DC-20-03308 | FELIX V. CUADRADO vs. VIEW AT KESSLER PARK et al

Case Number                             Court                       Judicial Officer
DC-20-03308                             134th District Court        TILLERY, DALE
File Date                               Case Type                   Case Status
02/28/2020                              DEFAMATION                  OPEN




Party

PLAINTIFF                                                           Active Attorneys 
CUADRADO, FELIX V.                                                  Lead Attorney
                                                                    BHATTI, VINCENT J
                                                                    Retained




DEFENDANT                                                           Active Attorneys 
VIEW AT KESSLER PARK                                                Lead Attorney
Address                                                             BAUER, KRISTIN
2511 WEDGLEA DR.                                                    Retained
DALLAS TX 75211




DEFENDANT                                                           Active Attorneys 
TI COMMUNITIES                                                      Lead Attorney
                                                                    BAUER, KRISTIN
Address
1125 EXECUTIVE CIRCLE                                               Retained
SUITE 100
IRVING TX 75038




DEFENDANT                                                           Active Attorneys 
WESTMOUNT AT KESSLER PARK, L.P.                                     Lead Attorney
                                                                    HARLAN, ALAN J
                                                                    Retained




                                                     EXHIBIT
                                                          A-1
Events and Hearings
          Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20           Page 6 of 189 PageID 10
 02/28/2020 NEW CASE FILED (OCA) - CIVIL


 02/28/2020 ORIGINAL PETITION 


 ORIGINAL PETITION


 02/28/2020 ISSUE CITATION 


 ISSUE CITATION - 1. VIEW AT KESSLER PARK

 ISSUE CITATION - 2. TI COMMUNITIES


 03/02/2020 NOTICE OF DISMISSAL FOR WANT OF PROSECUTION 


 DC-20-03308 NDWOP.pdf

   Comment
   NOTICE OF DISMISSAL FOR WANT OF PROSECUTION


 03/05/2020 CITATION 


 Served
 06/02/2020

 Anticipated Server
 ESERVE

 Anticipated Method
 Actual Server
 PRIVATE PROCESS SERVER

 Returned
 06/18/2020
 Comment
 VIEW AT KESSLER PARK


 03/05/2020 CITATION 


 Served
 03/12/2020

 Anticipated Server
 ESERVE

 Anticipated Method
 Actual Server
 PRIVATE PROCESS SERVER

 Returned
 03/18/2020
 Comment
 T1 COMMUNITIES


 03/18/2020 RULE 11 


 JT STIPULATION OF EXTENSION OF TIME TO ANSWER PLAINTIFF'S ORIGINAL PETITION
  Comment
  JOINT STIPULATION OF EXTENSION OF TIME TO ANSWER PLAINTIFF'S ORIGINAL PETITION
         Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20           Page 7 of 189 PageID 11
03/18/2020 RETURN OF SERVICE 


EXECUTED CITATION: TI COMMUNITIES

  Comment
  EXECUTED CITATION: TI COMMUNITIES


05/05/2020 NON-SIGNED PROPOSED ORDER/JUDGMENT 


PROPOSED ORDER GRANTING MOTION FOR SUBSTITUTED SERVICE

  Comment
  PROPOSED ORDER GRANTING MOTION FOR SUBSTITUTED SERVICE


05/05/2020 NOTE - ADMINISTRATOR 


  Comment
  need aff / motion


05/18/2020 NOTICE OF DISMISSAL FOR WANT OF PROSECUTION 


NOTICE OF DISMISSAL

  Comment
  NOTICE OF DISMISSAL FOR WANT OF PROSECUTION


05/26/2020 MOTION - SUBSTITUTE SERVICE 


MOTION FOR SUBSTITUTE SERVICE


05/27/2020 NON-SIGNED PROPOSED ORDER/JUDGMENT 


PROPOSED ORDER TO SUBST SERVICE

  Comment
  PROPOSED ORDER TO SUBST SERVICE


05/29/2020 ORDER - SUBSTITUTE SERVICE 


ORDER - SUBSTITUTE SERVICE

  Comment
  VIEW AT KESSLER PARK


06/05/2020 ORIGINAL ANSWER - GENERAL DENIAL 


ORIGINAL ANSWER


06/17/2020 NOTICE OF TRIAL 


NOTICE OF TRIAL


06/17/2020 SCHEDULING ORDER 
SCHEDULING ORDER

  Comment
        Case       3:20-cv-03492-M Document 1-1 Filed 11/25/20   Page 8 of 189 PageID 12
  LEVEL 3


06/18/2020 RETURN OF SERVICE 


EXECUTED CITATION - VIEW AT KESSLER PARK

  Comment
  EXECUTED CITATION - VIEW AT KESSLER PARK


06/18/2020 ORIGINAL ANSWER - GENERAL DENIAL 


ORIGINAL ANSWER


06/19/2020 DISMISSAL FOR WANT OF PROSECUTION 


134thDWOP-Rule 165A Letter

Judicial Officer
TILLERY, DALE

Hearing Time
10:00 AM

Cancel Reason
BY COURT ADMINISTRATOR


06/19/2020 CERTIFICATE OF WRITTEN DISCOVERY 


CERTIFICATE OF WRITTEN DISCOVERY

  Comment
  DEFENDANTS


07/10/2020 CASE NOT SETTLED AT MEDIATION 


CASE NOT SETTLED AT MEDIATION - IMPASSE

  Comment
  - IMPASSE


07/27/2020 AMENDED PETITION 


PLAINTIFF FIRST AMENDED PETITION

  Comment
  FIRST


07/27/2020 AMENDED PETITION 


PLAINTIFF FIRST AMENDED PETITION-CORRECTED

  Comment
  FIRST AMENDED-CORRECTED


07/31/2020 CERTIFICATE OF WRITTEN DISCOVERY 


DEFENDANT CERTIFICATE OF WRITTEN DISCOVERY-CO-DEFENDANT
  Comment
  WESTMOUNT AT KESSLER PARK, L.P.)-DEFENDANT
          Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20   Page 9 of 189 PageID 13
07/31/2020 CERTIFICATE OF WRITTEN DISCOVERY 


DEFENDANT CERTIFICATE OF WRITTEN DISCOVERY

  Comment
  (WESTMOUNT AT KESSLER PARK L.P.)DEFENDANT


09/16/2020 NO EVIDENCE MOTION FOR SUMMARY JUDGMENT 


DEFENDANT (WESMOUNT AT KESSLER PARK) NO EVIDENCE MOTION SUMMARY JUDGMENT


09/22/2020 CERTIFICATE OF WRITTEN DISCOVERY 


CERTIFICATE OF WRITTEN DISCOVERY

  Comment
  DEFENDANTS


10/09/2020 NOTICE OF HEARING / FIAT 


NOTICE OF HEARING

  Comment
  MOTION SUMMARY JUDGMENT 11/10/20 8:00 AM


10/29/2020 CERTIFICATE OF WRITTEN DISCOVERY 


CERTIFICATE OF WRITTEN DISCOVERY

  Comment
  DEFENDANTS


10/29/2020 AMENDED PETITION 


PLAINTIFF-2ND AMENDED PETITION

  Comment
  SECOND


11/02/2020 NOTICE OF NONSUIT 


PLAINTIFF NOTICE OF NONSUIT-VIEW AT KESSLER PARK

  Comment
  AS TO VIEW AT KESSLER PARK--NO ORDER


11/10/2020 Motion - Summary Judgment 


DEFENDANT (WESMOUNT AT KESSLER PARK) NO EVIDENCE MOTION SUMMARY JUDGMENT

NOTICE OF HEARING

Judicial Officer
TILLERY, DALE

Hearing Time
8:00 AM
  Cancel Reason
  REQUESTED BY ATTORNEY/PRO SE
            Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20             Page 10 of 189 PageID 14
  Comment
  DEFT-3OM-SET BY SIDNEY-972-788-1600-EXT-4739


  06/21/2021 Non Jury Trial 


  134th Trial Notice Letters

  134th Trial Notice Letters

  Judicial Officer
  TILLERY, DALE

  Hearing Time
  9:00 AM




Financial

CUADRADO, FELIX V.
     Total Financial Assessment                                                                      $308.00
     Total Payments and Credits                                                                      $308.00


 3/2/2020      Transaction Assessment                                                               $308.00

 3/2/2020      CREDIT CARD - TEXFILE (DC)    Receipt # 14468-2020-DCLK      CUADRADO, FELIX V.   ($308.00)




Documents


  ORIGINAL PETITION
  DC-20-03308 NDWOP.pdf
  ISSUE CITATION - 1. VIEW AT KESSLER PARK

  ISSUE CITATION - 2. TI COMMUNITIES
  JT STIPULATION OF EXTENSION OF TIME TO ANSWER PLAINTIFF'S ORIGINAL PETITION
  EXECUTED CITATION: TI COMMUNITIES

  PROPOSED ORDER GRANTING MOTION FOR SUBSTITUTED SERVICE
  134thDWOP-Rule 165A Letter
  NOTICE OF DISMISSAL

  MOTION FOR SUBSTITUTE SERVICE
  PROPOSED ORDER TO SUBST SERVICE
  ORDER - SUBSTITUTE SERVICE

  ORIGINAL ANSWER
  134th Trial Notice Letters
  134th Trial Notice Letters
NOTICE OF TRIAL
EXECUTED CITATION - VIEW AT KESSLER PARK
       Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20      Page 11 of 189 PageID 15
ORIGINAL ANSWER

SCHEDULING ORDER
CERTIFICATE OF WRITTEN DISCOVERY
CASE NOT SETTLED AT MEDIATION - IMPASSE

PLAINTIFF FIRST AMENDED PETITION
PLAINTIFF FIRST AMENDED PETITION-CORRECTED
DEFENDANT CERTIFICATE OF WRITTEN DISCOVERY-CO-DEFENDANT
DEFENDANT CERTIFICATE OF WRITTEN DISCOVERY

DEFENDANT (WESMOUNT AT KESSLER PARK) NO EVIDENCE MOTION SUMMARY JUDGMENT
CERTIFICATE OF WRITTEN DISCOVERY
NOTICE OF HEARING

CERTIFICATE OF WRITTEN DISCOVERY
PLAINTIFF-2ND AMENDED PETITION
PLAINTIFF NOTICE OF NONSUIT-VIEW AT KESSLER PARK
                                                                                                                                           FILED
      CIT/ESERVE
      2                                                                                                                      2/28/2020 11:02   AM
                                                                                                                                 FELICIA PITRE
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                 Page 12 of 189 PageID 16                    DISTRICT CLERK
                                                                                                                         DALLAS     CO.,  TEXAS
                                                                                                                         Alicia   Mata   DEPUTY

                                                      DC-20-03308
                                     CASE N0.

FELIX V.       CUADRADO                                      §        IN   THE DISTRICT COURT 0F
          Plaintiff,                                         §
                                                             §
v.                                                           §        DALLAS COUNTY, TEXAS
                                                             §
VIEW AT KESSLER PARK AND                                     §
T1 COMMUNITIES                                               §        GﬂJUDICIAL DISTRICT
          Defendants.                                        §


                                     PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

          COMES        Plaintiff, Felix   Cuadrado, and ﬁles his Original Petition.             Plaintiff respectfully


shows the Court        as follows:


                           I.        RULE       190   DISCOVERY CONTROL PLAN

          1.      Plaintiff intends that discovery will               be conducted in accordance with a Level 3


discovery control plan pursuant to Rule 190.4 0f the Texas Rules 0f Civil Procedure.


          2.      Defendant seeks monetary                   relief   between $200,000 and $1,000,000.              The

damages sought         are Within the jurisdictional limits of the Court.


                                                  II.            PARTIES

          3.      The foregoing paragraphs            are hereby incorporated     by reference    as if fully set forth


herein.


          4.      Plaintiff, Felix    V. Cuadrado       is   an individual resident of Dallas County, Texas.


          5.      Defendant,      View     at   Kessler Park (hereinafter referred to as "Kessler")                 is   a


business operating and doing business in Dallas County, Texas and                      may   be served With process


by delivery    to its property location at        2511 Wedglea         Dr., Dallas.   TX   75211 or wherever   it   may

be found.




                                                                  EXHIBIT
                                                                                                               Page
Plaintiff” s Original Petition
                                                                       A-2                                               1
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                             Page 13 of 189 PageID 17



          6.          Defendant, TI Communities (hereinafter referred t0 as “TIC”)                  is   a business


operating and doing business in Dallas County, Texas and                    may be   served With process        by

delivery t0     its   corporate headquarters located at 1125 Executive Circle, Suite 100, Irving,               TX

15%.
                                             III.    JURISDICTION

          7.          The foregoing paragraphs      are hereby incorporated   by reference    as if fully set forth


herein.


          8.          This Court has jurisdiction over this cause 0f action because     it   involves an amount


in controversy within the original jurisdiction           of the Court, transacts business in the State 0f


Texas.     This State has personal jurisdiction over this Defendant because                  it   has purposefully


availed itself 0f the privilege 0f conducting activities in the State 0f Texas, speciﬁcally Dallas


County. The cause of actions complained of and the events that transpired took place in Dallas


County and, thereby, confers speciﬁc            jurisdiction with respect to said Defendant. Furthermore,


Defendants have engaged in             activities constituting business in the State    of Texas, speciﬁcally


Dallas County.


          9.          Venue   is   proper in this Court because   all   or a substantial part of the events or


omissions giving rise to the claim occurred in Dallas County, Texas and pursuant to Tex. Civ.


Prac.   and Rem. Code          §    15.002, because Defendants operate in Dallas County and maintain


ofﬁces in Dallas County.


          10.         A11 conditions precedent t0 recovery have been performed, waived, or have


occurred.


                                       IV.    FACTUAL BACKGROUND




Plaintiff” s Original Petition                                                                              Page 2
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                 Page 14 of 189 PageID 18



          11.   The foregoing paragraphs are hereby incorporated by reference as if fully set forth

herein.

          12.   On or about February 26, 2018, Mr. Felix V. Cuadrado (“Cuadrado”) was hired

by Defendants as a Technician Director in Maintenance for service at an apartment building

named View at Kessler Park (“View”).

          13.   Shortly after Mr. Cuadrado’s arrival, the building manager at the View left his/her

position and was replaced by an interim manager named Jessica.

          14.   Jessica informed Mr. Cuadrado that her boyfriend had a company that would

bring maintenance personnel to the View and expressed an intention to terminate Mr. Cuadrado’s

crew.

          15.   Mr. Cuadrado advocated for his team to continue retaining their positions.

          16.   Jessica began retaliating against Mr. Cuadrado systematically by harassing him

verbally, through job assignments and micromanaging every aspect of his job.

          17.   About one week prior to his termination, Mr. Cuadrado called Christine and

Kathleen Ball at the corporate TI Communities office to report Jessica’s harassing behavior.

          18.   Both Kathleen and Christine stated they would speak with Jessica about the

matter.

          19.   Shortly thereafter, Jessica was removed as interim manager at the View to

continuing her work as manager of another TI Community property called the Carlton.

          20.   Nevertheless, on or about March 1, 2019, Jessica sent her lead maintenance

person, Brian, with a pick-up truck to pick up a couple stoves at the View to be transferred to the

Carlton.




Plaintiff’s Original Petition                                                                Page 3
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                  Page 15 of 189 PageID 19



        21.     Typically, a person would pick-up the items in the back of the property to avoid

disruption for residents, staff and potential residents in the front. Nevertheless, Brian insisted he

pick-up the stoves in the front of the property and demanded that Mr. Cuadrado bring the stoves

to the front.

        22.     Mr. Cuadrado brought the stoves to the front, as instructed, and helped Brian load

them into his truck.

        23.     Later that day, Mr. Cuadrado was called into the front office and told by Christine

that he had stolen two stoves from the property. Mr. Cuadrado explained that he brought the

stoves to the front and loaded them into Brian’s truck, as instructed.

        24.     TI Management ignored Mr. Cuadrado’s explanation and insisted that they had

him on a video stealing the stoves.

        25.     Mr. Cuadrado was then terminated from his position.

        26.     TI Management insisted that Mr. Cuadrado take off his company T-Shirt and coat.

        27.     Mr. Cuadrado complied and was shamefully escorted off the property, without a

shirt, through the lobby of the property in front of residents and employees.

        28.     On all knowledge and belief, Defendants did not call the police, initiate a criminal

investigation or otherwise investigate the matter themselves before terminating Mr. Cuadrado.

        29.     Defendants called Mr. Cuadrado a thief and published that facts to residents and

employees.

        30.     Mr. Cuadrado believes that he was set up for termination intentionally.

        31.     Plaintiff has been damaged as a direct result of Defendant’s acts/omissions.

                   V.      CAUSES OF ACTION – DEFAMATION PER SE




Plaintiff’s Original Petition                                                                Page 4
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                 Page 16 of 189 PageID 20



          32.   The foregoing paragraphs are hereby incorporated by reference as if fully set forth

herein.

          33.   Defendants called Mr. Cuadrado a thief and used this as a basis for his

termination.

          34.   Defendants were informed by Mr. Cuadrado that he was not a thief and that he

provided the stoves to another employee named Brian who worked at the Carlton, another TI

Communities property.

          35.   Nevertheless, Defendants continued to call Mr. Cuadrado a thief and published

the same to residents and employees.

          36.   Defendants’ statements assumed to be defamatory because calling Mr. Cuadrado

a thief labels him as someone who committed a crime of moral turpitude.

          37.   Defendants’ statements are so obviously harmful that no proof of injurious effect

is necessary.

          38.   Defendants’ actions and statements were intentional and/or negligent.

          39.   Defendants knew or should have known that Mr. Cuadrado did not steal the

stoves.

                                VII.   PRESERVING EVIDENCE

          40.   Plaintiff requests and demand that Defendant preserve and maintain all evidence

pertaining to any claim or defense related to the incident made the basis of this lawsuit or the

damages resulting there from, including statements, photographs, videotapes, audiotapes,

surveillance or security tapes or information, business or medical records, incident reports, claim

files, policy files, periodic reports, financial statements, bills, telephone call slips or records,

estimates, invoices, checks, measurements, correspondence, facsimiles, email, voice mail, text




Plaintiff’s Original Petition                                                               Page 5
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                  Page 17 of 189 PageID 21



messages, and any electronic image or information related to the referenced incident or damages.

Failure to maintain such items will constitute “spoliation” of the evidence.

                                         IX.   DAMAGES

       41.     Plaintiff re-asserts and re-alleges everything contained in the preceding

paragraphs.

       42.     The above described acts, omissions, failures and conduct of Defendant have

caused Plaintiff damages which include, without limitation, the costs associated with actual

damages, presumed damages, punitive damages, and consequential damages from Defendants’

actions.

                                 X.     EXEMPLARY DAMAGES

       43.     Defendants’ statements about Plaintiff were done intentionally, with a conscious

indifference to the rights and welfare of Plaintiff and with "malice" as that term is defined in

Chapter 41 of the Texas Civil Practice and Remedies Code.

       44.     These violations by Defendants are the type of conduct which the State of Texas

protects its citizen against by the imposition of exemplary damages. Therefore, Plaintiff seeks

the recovery of exemplary damages in an amount to be determined by the finder of fact that is

sufficient to punish Defendants for their wrongful conduct and to set an example to deter

Defendants and others similarly situated from committing similar acts in the future

                           XI.        ATTORNEYS’ FEES AND COSTS

       45.     Plaintiff integrates all preceding paragraphs as if fully set forth herein and further

incorporate by reference herein all preceding paragraphs hereto.

       46.     Plaintiff seeks recovery of their reasonable and necessary attorneys’ fees, costs

and expenses through trial and all appeals under applicable Texas law.




Plaintiff’s Original Petition                                                                Page 6
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                   Page 18 of 189 PageID 22



       47.     Plaintiff has been required to obtain legal counsel as a result of Defendants’

intentional acts and omissions. As a result, Plaintiff has and will incur attorney’s fees and

expenses prosecuting their claims. Plaintiff is therefore entitled to recover their reasonable and

necessary attorney’s fees.

                                         XII.    JURY DEMAND

       48.     Plaintiff adopts the preceding paragraphs as if fully set forth herein.

       49.     Plaintiff requests that a jury be convened to try the factual issues in this action.

                                XIII. REQUEST FOR DISCLOSURE

       50.             Plaintiff hereby request that each party disclose within fifty (50) days of

the service of this request, the information and material subject to disclosure subject to disclosure

pursuant to Rules 190.2(b)(6) and 194.2.

       51.     This request does not extend nor in any way alter the time for the filing an answer

by any Defendant; Plaintiff reserves the right to move for a default judgment against any

Defendant that fails to timely answer or appear.

             XIV. NOTICE OF INTENT TO USE PRODUCED DOCUMENTS

       52.     Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, each party is

hereby given notice of Plaintiff’s intent to use any and all documents produced by any and all

parties at any pretrial hearing, depositions, proceedings, through discovery, the trial of this

matter, or any combination. See Tex. R. Civ. P. 193.7.

XV.     NOTICE OF DUTY TO SUPPLEMENT AND AMEND DISCOVERY RESPONSE

       53.     Pursuant to Rules 193.5 and 195.6 of the Texas Rules of Civil Procedure, each

party is hereby requested to take notice of his, her, or its duty to amend or supplement

incomplete or incorrect responses to written discovery reasonably promptly after the necessity




Plaintiff’s Original Petition                                                                  Page 7
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                      Page 19 of 189 PageID 23



for such a response      is   discovered. See TeX. R. CiV. P. 193.5(3), (b); see also Tex. R. CiV. P.


195.6.


                                                 XVI.      PRAYER

         WHEREFORE, PREMISES CONSIDERED,                             Plaintiff prays that           Defendant be cited   t0


appear and answer herein, and that upon           trial   hereof, said Plaintiff has            and recover such sums as

would reasonably and justly compensate them                in   accordance with the rules of law and procedure,


both as t0 actual damages, consequential damages, and                      all   punitive, additional,    and exemplary

damages   as   may be   found.


         In addition, Plaintiff requests the       award of       attorney's fees for the trial        and any appeal 0f

this case, for all costs      0f court, for prejudgment and post judgment interest as allowed by law,


and for any other and further      relief, at   law 0r    in equity, to    which they may show themselves           t0   be


justly entitled.


DATED:             February 28, 2020                              Respectfully submitted,


                                                                   The Bhatti Law Firm,              PLLC

                                                                  /s/   Vincent       J.   Bhatti
                                                                  Vincent        J.   Bhatti
                                                                   State   Bar N0. 24055169
                                                                  Ditty S. Bhatti
                                                                   StateBar No. 24062803
                                                                  14785 Preston Road, Suite 550
                                                                  Dallas, TX 75254
                                                                  Telephone: (214) 253-2533
                                                                  Facsimile: (214) 279-0033
                                                                  Vincent.bhatti@bhattilawﬁrm.com
                                                                  ditty.bhatti@bhattilawﬁrm.com
                                                                  ATTORNEYS FOR PLAINTIFF
                                                                  FELIX CUADRADO




Plaintiff” s Original Petition                                                                                    Page    8
                            Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                                          Page 20 of 189 PageID 24



FORM NO. 353-3 CITATION            -                                                                                                                                 ESERVE
THE STATE OF TEXAS                                                                                                                                               CITATION
T0:         VIEW AT KESSLER PARK
            2511 WEDGLEA DR
                                                                                                                                                                DC-20-03308
            DALLAS TEXAS 75211

GREETINGS:
                                                                                                                                                              FELIX V. CUADRADO
You have been      sued.  You may employ an attorney.              If you oryour attorney do not ﬁle a written                                                           vs.
answer with the      clerk Who issued this citation by 10          o’clock am. of the Monday next following the                                         VIEW AT KESSLER PARK et al
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk 0f the 134th District Court at 600
Commerce       Street, Ste. 101, Dallas,      Texas 75202.                                                                                                       ISSUED THIS
                                                                                                                                                            5th day of March, 2020
Said Plaintiff being      FELIX V. CUADRADO

Filed in said Court 28th      day 0f February, 2020          against                                                                                           FELICIA PITRE
                                                                                                                                                             Clerk District Courts,
VIEW AT KESSLER PARK, ET AL                                                                                                                                 Dallas County, Texas
For    Suit, said suit   being numbered DC-20-03308, the nature of which demand                        is   as follows:
Suit   0n   DEFAMATION etc.            as   shown on   said petition   & REQUEST FOR DISCLOSURE,
a copy 0f Which accompanies this citation. If this citation               is   not served,    it   shall   be returned unexecuted.                    By:   ANGELA CONEJO, Deputy
WITNESS: FELICIA PITRE,                 Clerk 0f the District Courts of Dallas, County Texas.
Given under     my hand and the Seal of said Court           at   ofﬁce   this 5th   day of March, 2020.                                                    Attorney for Plaintiff
                                                                                                                                                            VINCENT J BHATTI
ATTEST: FELICIA PITRE,                 Clerk of the Distn'ct Courts o            las,   County, TeXaS                                                  THE BHATTI LAW FIRM PLLC
                                                                                                                                                       14785 PRESTON RD, SUITE 550
                              By
                                        ANGELA CONEJO
                                                                           1W   \l
                                                                                          5   Deputy          ‘
                                                                                                            ‘5'




                                                                                                           §¢,
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                                                                                                                                                           DALLAS TEXAS 75254
                                                                                                                                                                  214—253—2533
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                                                                                                           @490?                 :La"
                                                                                                                                                             DALLAS COUNTY
                                                                                                                                                              SERVICE FEES
                                                                                        EXHIBIT                                                                    HOT PAID
                                                                                          A-3
                                    Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                                          Page 21 of 189 PageID 25



                                                                                        OFFICER'S RETURN
Case N0.      :   DC-20-03308

Court No. 134th District Court

Style:   FELIX V.     CUADRADO
vs.


VIEW AT KESSLER PARK et a1
Came     t0   hand 0n the                            day 0f                             ,
                                                                                            20                ,
                                                                                                                  at                o‘clock           .M. Executed at                      ,




within the County of                                               at                        o'clock                   .M. on the                     day of

20                          ,   by delivering   to the within   named




each, in person, a true copy of this Citation together with the              accompanying copy of this pleading, having ﬁrst endorsed on same date of delivery. The distance actually traveled by

me    in serving    such process was                   miles and   my fees   are as follows:      To    certify        which witness   my hand.


                                        For serving Citation

                                        For mileage                                                                     of                        County,

                                        For Notary                                                                      By                                              Deputy

                                                                              (Must be veriﬁed         if   served outside the State of Texas.)

Signed and sworn to by the said                                                before       me this               day of                              ,
                                                                                                                                                          20

to certify    which witness       my hand and seal of ofﬁce.




                                                                                                                       Notary Public                           County
                            Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                                          Page 22 of 189 PageID 26



FORM NO. 353-3 CITATION            -                                                                                                                                 ESERVE
THE STATE OF TEXAS                                                                                                                                               CITATION
To:         TI COMMUNITIES
            1125 EXECUTIVE CIRCLE, SUITE 100
                                                                                                                                                                DC-20-03308
            IRVING, TEXAS 75038

GREETINGS:
                                                                                                                                                              FELIX V. CUADRADO
You have been      sued.  You may employ an attorney.              If you oryour attorney do not ﬁle a written                                                           vs.
answer with the      clerk Who issued this citation by 10          o’clock am. of the Monday next following the                                         VIEW AT KESSLER PARK et al
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk 0f the 134th District Court at 600
Commerce       Street, Ste. 101, Dallas,      Texas 75202.                                                                                                       ISSUED THIS
                                                                                                                                                            5th day of March, 2020
Said Plaintiff being      FELIX V. CUADRADO

Filed in said Court 28th      day 0f February, 2020          against                                                                                           FELICIA PITRE
                                                                                                                                                             Clerk District Courts,
VIEW AT KESSLER PARK, ET AL                                                                                                                                 Dallas County, Texas
For    Suit, said suit   being numbered DC-20-03308, the nature of which demand                        is   as follows:
Suit   0n   DEFAMATION etc.            as   shown on   said petition   & REQUEST FOR DISCLOSURE,
a copy 0f Which accompanies this citation. If this citation               is   not served,    it   shall   be returned unexecuted.                    By:   ANGELA CONEJO, Deputy
WITNESS: FELICIA PITRE,                 Clerk 0f the District Courts of Dallas, County Texas.
Given under     my hand and the Seal of said Court           at   ofﬁce   this 5th   day of March, 2020.                                                    Attorney for Plaintiff
                                                                                                                                                            VINCENT J BHATTI
ATTEST: FELICIA PITRE,                 Clerk of the Distn'ct Courts o            las,   County, TeXaS                                                  THE BHATTI LAW FIRM PLLC
                                                                                                                                                       14785 PRESTON RD, SUITE 550
                              By
                                        ANGELA CONEJO
                                                                           1W   \l
                                                                                          5   Deputy          ‘
                                                                                                            ‘5'




                                                                                                           §¢,
                                                                                                                  \k‘l‘mllmm’w’
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                                                                                                                                                           DALLAS TEXAS 75254
                                                                                                                                                                  214—253—2533
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                                                                                                                                                             DALLAS COUNTY
                                                                                                                                                              SERVICE FEES
                                                                                     EXHIBIT                                                                       HOT PAID
                                                                                         A-4
                                    Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                                          Page 23 of 189 PageID 27



                                                                                        OFFICER'S RETURN
Case N0.      :   DC-20-03308

Court No. 134th District Court

Style:   FELIX V.     CUADRADO
vs.


VIEW AT KESSLER PARK et a1
Came     t0   hand 0n the                            day 0f                             ,
                                                                                            20                ,
                                                                                                                  at                o‘clock           .M. Executed at                      ,




within the County of                                               at                        o'clock                   .M. on the                     day of

20                          ,   by delivering   to the within   named




each, in person, a true copy of this Citation together with the              accompanying copy of this pleading, having ﬁrst endorsed on same date of delivery. The distance actually traveled by

me    in serving    such process was                   miles and   my fees   are as follows:      To    certify        which witness   my hand.


                                        For serving Citation

                                        For mileage                                                                     of                        County,

                                        For Notary                                                                      By                                              Deputy

                                                                              (Must be veriﬁed         if   served outside the State of Texas.)

Signed and sworn to by the said                                                before       me this               day of                              ,
                                                                                                                                                          20

to certify    which witness       my hand and seal of ofﬁce.




                                                                                                                       Notary Public                           County
                                                                                                                                  FILED
                                                                                                                       3/2/2020 3:41   PM
                                                                                                                         FELICIA PITRE
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                              Page 24 of 189 PageID 28               DISTRICT CLERK
                                                                                                                     ALLAS  00-! TEXAS
                                                             JUDGE DALE TILLERY PRESIDIN                             ebra Clark DEPUTY
                                                                       134TH JUDICIAL DISTRICT COURT
                                                                    600 Commerce St., 6th Floor, Room 650
                                                                                   Dallas, Texas 75202-4606
                                                                              214/653-7546 -- 134th Ct. Clerk
                                                                             214/653-6995    --Ct. Coordinator
                                                                                           ﬂy@dallascourts.0rg
                                                    March   02,   2020

VINCENT J BHATTI
THE BHATTI LAW FIRM PLLC
14785 PRESTON ROAD
SUITE 550
DALLAS TX 75254

          Re:     FELIX     V.   CUADRADO VS. VIEW AT KESSLER PARK et a1
                  DC—20—03308

A11 Counsel 0f Record/Pro Se Litigants:


Pursuant t0 Rule         165A 0f   the Texas Rules of Civil procedure, and the inherent                 power 0f
the Court, the above case         is set    for dismissal on:

                  May     15,   2020   at   10:00   AM
If    NO ANSWER has been filed you are expected t0 have moved for a default judgment
0n 0r prior        above stated date. Failure
                t0 the                                      t0    move   for a default   judgment   will result in
the dismissal 0f the case 0n the above date.

If you have been unable t0 obtain service 0f process and you wish t0 retain the case 0n
the docket, you must appear 0n the above date, unless you have obtained a new setting
from the court coordinator.

Sincerely,




gm        TILLERY
Presiding Judge


pc:    VINCENT J BHATTI




                                                         EXHIBIT
                                                              A-5
ALL PARTIES MUST BE MADE AWARE OF ALL COMMUNICATIONS WITH THE COURTS.
                                                                                                                            FILED
                                                                                                               3/18/2020 11:18   AM
                                                                                                                   FELICIA PITRE
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                       Page 25 of 189 PageID 29                DISTRICT CLERK
                                                                                                         DALLAS CO., TEXAS
                                                                                                   CAROLYN SELLERS DEPUTY



                                       CAUSE NO. DC-20-03308

FELIX V. CUADRADO,                                    §         IN   THE DISTRICT COURT
                                                      §
                  Plaintiff,                          §
                                                      §
V.                                                    §         DALLAS COUNTY, TEXAS
                                                      §
VIEW AT KESSLER PARK AND                              §
TI   COMMUNITIES,                                     §
                                                      §
                  Defendants.                         §
                                                                134th   JUDICIAL DISTRICT

       JOINT STIPULATION OF EXTENSION OF TIME TO ANSWER PLAINTIFF’S
                             ORIGINAL PETITION

         Defendants’ Answer to Plaintiff Felix Cuadrado’s Original Petition          is   due by 10:00 a.m.

on Monday, April      6,   2020. The parties, by and through their undersigned counsel, have agreed


that   Defendants   may have    an extension until and including June   5,   2020, to answer or otherwise


respond t0   Plaintiff’ s Original Petition.



         The   parties intend to use the extended time to explore early resolution    0f this matter.




JOINT STIPULATION OF EXTENSION OF TIME TO
ANSWER PLAINTIFF’S ORIGINAL COMPLAINT                          EXHIBIT                              PAGE   1


                                                                  A-6
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                         Page 26 of 189 PageID 30



Respectfully submitted,                              Respectfully submitted,



_/S/ Vincent]. Bhatti                                /S/ Kristin L.   Bauer
Vincent    J.   Bhatti                               Kristin L. Bauer, Esq.
Texas State Bar N0. 24055 1 69                       Lead Attorney
Vincent.bhatti@bhattilawﬁrm.com                      State Bar No. 24006813
Ditty s. Bhatti                                      Kristin.bauer@j acksonlewis.com
Texas State Bar N0. 24062803                         Julie   A. Farmer, Esq.
Ditty.bhatti@bhattilawﬁrm.com                        State   Bar No. 24059734
The Bhatti Law Firm,     PLLC                        Julie.farmer@j acksonlewis.com
14785 Preston Road, Suite 550                        Jackson Lewis P.C.
Dallas, Texas 75254                                  500 N. Akard, Suite 2500
Telephone: (214) 253-2533                            Dallas, Texas75201
Facsimile: (214) 279-0033                            PH: (214) 520-2400
                                                     FX: (214) 520-2008
ATTORNEYS FOR PLAINTIFF
                                                     ATTORNEYS FOR DEFENDANTS

                                   CERTIFICATE OF SERVICE

       I    certify that a true   and correct copy of the foregoing pleading was served 0n the
following counsel of record Via electronic service 0n     March    18,   2020:


Vincent    J.   Bhatti
Vincent.bhatti@bhattilawﬁrm.com
Ditty S. Bhatti
Ditty.bhatti@bhattilawﬁrm.com
The Bhatti Law Firm,     PLLC
14785 Preston Road, Suite 550
Dallas, Texas 75254




                                               /s/   Kristin L.   Bauer
                                               Kristin L. Bauer, Esq.




JOINT STIPULATION OF EXTENSION OF TIME TO
ANSWER PLAINTIFF’S ORIGINAL COMPLAINT                                                        PAGE 2
                                                                                                                                   FILED
                                                                                                                       3/18/2020 2:24 PM
                                                                                                                          FELICIA PITRE
          Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                          Page 27 of 189 PageID         31 DISTRICT CLERK
                                                                                                                    DALLAS CO., TEXAS
                                                          CAUSE NO. DC-20-03308                                   Deondria Grant DEPUTY


        FELIX V. CUADRADO                                             §
                                                                                              IN THE DISTRICT      COURT
                                                                      §
                                                                      §
                                      Plaintiff,                      §
        VS.                                                           §
                                                                                             134TH JUDICIAL DISTRICT
                                                                      §
         VIEW AT KESSLER PARK AND TI
         COMMUNITIES
                                                                      g
                                 Defendant(s).                        §
                                                                                              DALLAS COUNTY, TEXAS

                                                        RETURN OF SERVICE
     Came to my hand on Monday, March 9, 2020 at 1:25 PM,
     Executed at: 1125 EXECUTIVE CIRCLE, SUITE 100, IRVING, TX 75038
     within the county of DALLAS at 2:55 PM, on Thursday, March 12, 2020,
     by delivering          to the within     named:

                                                            TI     COMMUNITIES

     By   delivering to        its   Vice President,    CARRIE POLONSKY
     a true copy of this


                                       CITATION and PLAINTIFF'S ORIGINAL PETITION

     having ﬁrst endorsed thereon the date of the delivery.

BEFORE ME, the undersigned authority, on this day personally appeared Brian K. Lewis who after being duly sworn on
oath        "My name is Brian K. Lewis. I am a person not less than eighteen (18) years of age and I am competent to
       states:
                                                                                                                     contained
make this oath. I am a resident of the State of Texas. I have personal knowledge of the facts and statements
                                                                                                           to this       I have
herein and aver that each is true and correct. I am not a party to nor related or afﬁliated with any party
                                                                                                                   suit.

                                                                                                                    moral
no                 outcome of the suit. I have never been convicted of a felony or of a misdemeanor involving
     interest in the
                                                                                         Practice and Remedies   Codes as
turpitude. I am familiar with the Texas Rules of Civil Procedure, and the Texas Civil
they apply to service of process. I am certiﬁed by the Judicial Branch Certiﬁcation
                                                                                     Commission to deliver citations and
                                                                                of Texas  in compliance with rule 103 and
other notices from any District, County and Justice Courts in and for the State

501 .2 Of the TRCP.”




     By:                     ﬂ/
          Brian K. Le§vis — Psc 10485 - Exp
           served@specialdelivery.com
                                                        08/31/21




       Subscribed and Sworn to by Brian K. Lewis, Before Me, the undersigned aut
       day of March, 2020.



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                      ,'*
                            MICHAELSHAHP
                               Notary Public
                             STATEOFTEXAS
                              lD#12499806-6
                                                                      c/ NotaryVPub}{c    /
                                                                                         We
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                                                                                                       State of Texas
                                                                                                                        12TH




            ’”"Ilmmuw\*     GommEx‘      ui   23 2020                     EXHIBIT
                                                                           A-7
                         Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                                                   Page 28 of 189 PageID 32



FORM NO. 353-3 CITATION            -                                                                                                                                         ESERVE
THE STATE OF TEXAS                                                                                                                                                       CITATION
T0:        TI COMMUNITIES
           1125 EXECUTIVE CIRCLE, SUITE 100
                                                                                                                                                                        DC-20-03308
           IRVING, TEXAS 75038

GREETINGS:
You have been      sued.  You may employ an attorney.
                                                                                                                                                                      FELIX   V.   CUADRADO
                                                                    If you or      your attorney do not ﬁle a written
                                                                                                                                                                                   vs.
answer with the      clerk who issued this citation by 10           o’clock    am. of the Monday next following                                        the
                                                                                                                                                                   VIEW AT KESSLER PARK et al
expiration of twenty        days after you were served this         citation       and    petition, a default judgment may be
taken against you.        Your answer should be addressed           t0 the clerk         0f the 134‘“ District Court at 600
Commerce       Street, Ste. 101, Dallas,      Texas 75202.                                                                                                               ISSUED THIS
                                                                                                                                                                     5th day of March, 2020
Said Plaintiff being      FELIX V. CUADRADO

Filed in said Court 28‘“      day 0f February, 2020            against                                                                                                 FELICIA PITRE
                                                                                                                                                                     Clerk District Courts,
VIEW AT KESSLER PARK, ET AL                                                                                                                                          Dallas County, Texas
For    Suit, said suit   being numbered DC-20—03308, the nature of which                     demand         is   as follows:
Suit  0n DEFAMATION etc.               as   shown 0n     said petition   & REQUEST FOR DISCLOSURE,
a   copy Ofwhich accompanies            this Citation.   If this citation is not served,       it   shall   be returned unexecuted.                                 ANGELA CONEJO,
                                                                                                                                                             By:                         Deputy

WITNESS: FELICIA PITRE,                 Clerk of the District Courts of Dallas, County Texas.
Given under     my hand     and the Seal 0f said Court     at ofﬁce this 5th day of March, 2020.
                                                                                                                                                                    Attorney for Plaintiff
                                                                          '
                                                                                                                                                                   VINCENT J BHATTI
ATTEST: FELICIA PITRE,                 Clerk Ofthe District Couns 0


                                                                           W               County, Texas                                                      THE BHATTI LAW FIRM PLLC
                                                                               '
                                                                                    las,

                                                                                                                                                              14785 PRESTON RD, SUITE 550
                              By                                                             ,DEputy          MEWW
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                                                                                                                                                                  DALLAS TEXAS 75254
                                        ANGELA CONEJO                              \1
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                                                                                                            53f    w;                                        Vincentbhatti@bhattilawﬁrm.com
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Page 29 of 189 PageID 33




                                                                                                                                                  OFFICER'S RETURN
                                                   Case N0.      :   DC-20-03308
                                                   Coun No.134th            District     Court
                                                   Style:   FELIX      V.   CUADRADO
                                                    vs.
                                                   VIEW AT KESSLER PARK                       ct al
                                                   Camc     to   hand on thc                                 day of                               ,
                                                                                                                                                      2O                   ,
                                                                                                                                                                               at                o'clock           .M. Executed at
                                                   within the County 0f                                                      at                       o‘clock                       .M. on the                     day of
                                                   20                              ,   by delivering   t0 the within    named
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20




                                                   each, in person, a true copy ofthis Citation together with the                      accompanying copy 0f this pleading, having ﬁrst endorsed 0n same date 0f delivery. The distance actually traveled by
                                                   me     in serving   such process was                          miles and   my fees   are as follows:            To   certify      which witness   my hand.
                                                                                                 For serving Citation
                                                                                                 For mileage                                                                         of                        County,
                                                                                                 For Notary                                                                          By                                              Deputy
                                                                                                                                        (Must be veriﬁed           if   served outside the State ofTexas.)
                                                   Signed and sworn           to   by the said                                           before       me   this                day of                              ,
                                                                                                                                                                                                                       20
                                                   t0 certify    which witness          my hand     and   seal   of ofﬁce.
                                                                                                                                                                                    Notary Public                           County
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                   Page 30 of 189 PageID 34



                                            CASE NO. DC-20-03308

FELIX V.     CUADRADO                                    §        IN    THE DISTRICT COURT OF
        Plaintiff,                                       §
                                                         §
V.                                                       §        DALLAS COUNTY, TEXAS
                                                         §
VIEW AT KESSLER PARK AND                                 §
TI COMMUNITIES                                           §
                                                                   134th     JUDICIAL DISTRICT
        Defendants.                                      §


                ORDER GRANTING MOTION FOR SUBSTITUTED SERVICE
        On    this   day the Court considered            Plaintiff’s    Motion     for Substituted Service               and the

afﬁdavit attached thereto.


        The Court ﬁnds           that service    0n the Secretary 0f        State 0f   Texas as provided by law              is   a


manner 0f     service that Will be reasonably effective t0 give Defendant,                         View   at   Kessler Park


notice of the   suit.    The Court     further   ﬁnds   that   View    at   Kessler Park   may     be properly served by


leaving a true copy of the citation, With a copy 0f the Petition attached, t0 the front door 0f


Defendant,    View      at   Kessler Park place of business at 2511 Wedglea Dr., Dallas,                       TX   7521    1,    0r


by   delivering the citations, with a copy of the citation and Petition, to any employee over 16


years of age at 2511         Wedglea   Dr., Dallas,   TX 7521 1.

        IT IS   THEREFORE AUTHORIZED AND ORDERED                                       that the citation       be served 0n

Defendant,   View       at   Kessler Park, by serving the Secretary 0f State 0f Texas by delivering to and


leaving With him, or With the Assistant Secretary of State, or With any clerk having charge of the


corporation department of her ofﬁce, duplicate copies of the citations in this cause, with copies


of the Petition and          Amended   Petition attached t0      it.    The Secretary 0f       State shall immediately


send one 0f the copies by registered mail addressed t0 Defendant,                      View   at   Kessler Park.


        IT IS   THEREBY AUTHORIZED AND ORDERED                                  that the Defendant,       View      at   Kessler


Park   may   be served by either leaving a true copy 0f the                   citations,   With a copy of the Petition


                                                        EXHIBIT
Order                                                                                                                    Page      1

                                                               A-8
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20               Page 31 of 189 PageID 35



attached, to the front door of Defendant, View at Kessler Park place of business at 2511 Wedglea

Dr., Dallas, TX 75211, or by delivering the citations, with a copy of the citation and Petition

attached to any employee over 16 years of age at 2511 Wedglea Dr., Dallas, TX 75211.

        IT IS FURTHER ORDERED that the Return of Citation, endorsed on or attached to the

citations, will state when and how the citations were served.

        SIGNED this ___________ day of __________________________ 2020.


                                                     ____________________________________
                                                     HONORABLE DALE TILLERY
                                                     Judge Presiding




Order                                                                                   Page 2
                                                                                                                                  FILED
                                                                                                                     5/18/2020 10:26   AM
                                                                                                                         FELICIA PITRE
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                            Page 32 of 189 PageID 36 DISTRICT CLERK
                                                              JUDGE       DALE TILLERY PRESIDImﬁgﬂinES-bgﬁﬁﬁ
                                                                       134TH JUDICIAL DISTRICT COURT
                                                                    600 Commerce St., 6th Floor, Room 650
                                                                                   Dallas, Texas 75202-4606
                                                                              214/653-7546 -- 134th Ct. Clerk
                                                                             214/653-6995    --Ct. Coordinator
                                                                                           ﬂy@dallascourts.0rg
                                                   May      18,   2020

VINCENT J BHATTI
THE BHATTI LAW FIRM PLLC
14785 PRESTON ROAD
SUITE 550
DALLAS TX          75254

          Re:     FELIX     V.   CUADRADO             VS.   VIEW AT KESSLER PARK et a1
                  DC-20-03308

A11 Counsel of Record/Pro Se Litigants:


Pursuant t0 Rule         165A 0f   the Texas Rules 0f Civil procedure, and the inherent                 power 0f
the Court, the above case         is set     for dismissal 0n:

                   June    19,   2020   at    10:00   AM
If    NO ANSWER has been filed you are expected t0 have moved for a default judgment
on 0r prior        above stated date. Failure
                to the                                       t0   move   for a default   judgment   Will result in
the dismissal of the case on the above date.

If you have been unable t0 obtain service 0f process and you wish t0 retain the case 0n
the docket, you must appear on the above date, either by appearance at the dismissal
docket hearing 0r by a filed motion t0 retain the case 0n the docket, unless you have
obtained a new setting from the court coordinator.

Sincerely,




@m/é
Presiding Judge


DBT/ﬂl
pC:    VINCENT J BHATTI




                                                        EXHIBIT
                                                              A-9
ALL PARTES MUST BE COPED ON ALL WRITTEN COMMUNICATION TO THE COURT.
                                                                                                                                               FILED
                                                                                                                                 5/26/2020 12:00   AM
                                                                                                                                     FELICIA PITRE
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                   Page 33 of 189 PageID 37                      DISTRICT CLERK
                                                                                                                             DALLAS     CO.,  TEXAS
                                                                                                                            Martin   Reyes   DEPUTY


                                            CASE NO. DC-20-03308                                                      Martin       Reyes

FELIX V.      CUADRADO                               §              IN   THE DISTRICT COURT OF
         Plaintiff,                                  §
                                                     §
V.                                                   §              DALLAS COUNTY, TEXAS
                                                     §
VIEW AT KESSLER PARK AND                             §
TI COMMUNITIES                                       §
                                                                    134th   JUDICIAL DISTRICT
         Defendants.                                 §


                               MOTION FOR SUBSTITUTED SERVICE
TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW,           Plaintiff in the above-styled           and numbered cause 0f          action, requesting


this   Court t0 allow Plaintiff to serve Defendant, View                     at   Kessler Park, through substituted


service of citation, and     would show     as follows:



         1.      Plaintiff moves that the      Court authorize and order substituted service 0f citation as


provided for by Tex. R. CiV. P. 106 and the Tex. Bus. Corp. Act Ann. Art. 2.1 1B.


         2.      Defendant,     View   at   Kessler Park      is   a domestic business      whose ofﬁce    is   located at


2511 Wedglea Dr., Dallas,        TX    75211.    This    is   Defendant,      View    at   Kessler Park’s location for


service of citation purposes.


         3.      Service of citation at Defendant,            View   at   Kessler Park usual place of business and


where defendants can probably be found has been attempted by delivery                              t0 the defendant in


person 0n two occasions.        On   the   two occasions,      Plaintiff attempted to serve Defendant,               View   at



Kessler Park, but such attempts were not successful because Defendant’s ofﬁce                                   is   closed,


potentially due to    COVID-19. See         attached Afﬁdavit 0f Service, Exhibit A.


         4.      Plaintiffs   have been unable     t0 secure personal service              by   delivery 0f the citation


t0 Defendant,    View   at   Kessler Park in person.          The attached afﬁdavit shows           the location 0f the




                                                     EXHIBIT
Motion                                                                                                               Page
         for Substituted Service
                                                          A-10                                                               1
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                     Page 34 of 189 PageID 38



Defendant and the speciﬁc         facts   showing   that service has           been attempted under the requirements

of Tex. R. CiV. P. 106, but has not been successful.


         5.       Service on Defendant,         View     at   Kessler Park by serving the Secretary of State of


Texas    in   accordance with law     is   a   manner of       service that will be reasonably effective t0 give


Defendant,     View   at   Kessler Park notice 0f the         suit.



         6.       Further, Defendant,       View    at   Kessler Park          may be   given proper notice of this   suit


if the   process server either leaves a copy 0f the citation and Petition to the front door 0f


Defendant,     View   at   Kessler Park’s place 0f business at 2511 Wedglea Dr., Dallas,                TX 7521 1.

                                                         Respectfully submitted,


                                                         THE BHATTI LAW FIRM, PLLC

                                                         /s/DittV S. Bhatti
                                                         Vincent        J.   Bhatti
                                                         State        Bar N0. 24055169
                                                         Ditty S. Bhatti
                                                         State Bar No. 24062803
                                                         14785 Preston Road
                                                         Suite 550
                                                         Dallas, Texas 75254
                                                         (214) 253-2533 (Telephone)
                                                         (214) 279-0033 (Facsimile)
                                                         Vincent.bhatti@bhattilawﬁrm.com
                                                         ditty.bhatti@bhattilawﬁrm.com
                                                         ATTORNEYS FOR PLAINTIFFS




Motion    for Substituted Service                                                                               Page 2
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                       Page 35 of 189 PageID 39



                                   CERTIFICATE OF SERVICE

         THIS WILL CERTIFY         that a true and correct copy 0f the foregoing instrument has been
mailed, telecopied 0r hand delivered to     all attorneys 0f record in this cause of action 0n the 25th

day of May, 2020.



                                                 /s/Dz'tty S.   Bham‘
                                                 Ditty S. Bhatti




Motion   for Substituted Service                                                               Page 3
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                           Page 36 of 189 PageID 40


                                                 CAUSE NO. DC-20-03308

  FELIX V. CUADRADO                                                §                       IN   THE DISTRICT COURT
                                                                   §
                             Plaintiff                             §
  VS.                                                              §                   134TH JUDICIAL DISTRICT
  VIEW AT KESSLER PARK AND Tl                                      §
  COMMUNITIES                                                      §
                             Defendant                             §                       DALLAS COUNTY, TEXAS




                            AFFIDAVIT 0F DILIGENCE TO EFFECT SERVICE



             On      this   day, before     me    the undersigned authority, personally            appeared         RAYQUEL
  BRANCH, known to me to be the person whose name is subscribed                             hereto and under oath states:


             “My name         is   RAYQUEL BRANCH.             l   am    over the age of eighteen     (   l8) years,   of sound

  mind, and      am    not party to or interested in the above styled and numbered cause.                    I   have personal

  knowledge of the           facts   and statements contained           in this afﬁdavit   and aver   that   each   is true   and

  correct.


             lt is   impractical to secure service of process on              VIEW AT KESSLER PARK,                    Pany    in


  the   above    entitled    and numbered cause, by delivering to said              party, in person, a true        and correct

  copy ofthe      CITATION and PLAINTIFF'S ORIGINAL PETITION.

             l   have       attempted      to    personally   deliver       said   CITATION and PLATNTIFF'S

  ORIGINAL PETITION                       upon    the   defendant on the following days and times, at 25]                       l




  WEDGLEA DRIVE                    #lB,   DALLAS, TX       7521    l,   but have been unsuccessful for the following


  reasons:
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                                      Page 37 of 189 PageID 41



               Wednesday, March                   ll, 2020,         9:30   AM o CITATION and PLAINTIFF'S ORIGINAL
   PETITION came to my hand.



               Monday, March                16,    2020 12:35            PM -     l    attempted service at the buslnus of VIEW

   AT KESSLER PARK at the address of 2511                                        Wedglea Drive #IB,         Dallas,   TX and the oﬁice
   was closed.




               Thursday, March 26, 2020 2:01                             PM -l attempted service at the business of VIEW
   AT KESSLER PARK at                       the address of 2511 Wedglea Drive #18, Dallas,                            TX and the omce
   was   closed.     l   observed a sign stating the ofﬁce                        is   only open for virtual assistance due to the

   pandemic]          called       and    left   a message for someone to return                   my call.



               As of the date of this                  afﬁdavit,     I   have not been contacted by the defendant.




         I   am a   person not less than eighteen (18) years ofagc and l am competent tn make this oath. I am
         a resident    of thc State of Texas. l have personal knowledge 0f the facts and statements contained
         herein and avcr that each                is  l am not a puny to nor related or aﬁ‘llialcd with any
                                                       true   and correct.
         party to this        suit. I   have no    outcome of the suit. l have never been convicted of a
                                                       interest in the
         felony or of a misdemeanor involving moral turpitudc. I am familiar with the Texas Ruies of
         Civil Procedure. and thc Tcxas Civil Practice and Rcmcdics Codes as they apply to service of
         process. l am certiﬁed by the Judicial Branch Certiﬁcation Commission lo deliver citations and
         other notices from any District, County and Justice Courts in and for thc State of'l‘exas in
         cornpliancc with rule I03 and 501 .2 of the TRCP."


         My    namc      is   RAYQUEL. BRANCH. my                          dntc of birth    is   Scptcmbcr    I9. l98l.   and   my   address   is

         3017 Graystonc CT, Scagovillc. Texas 75 [59. in Ihc county of Dallas, United                                     States   of America.
         l declare under penalty of perjury that the fomgoing is lmc and comet.



         E      utod          in        Dallas          County,          State         of   Texas.     on      lhc     _§            day       of
                                                          .2020.
                a3



              MYWL BRANCH                                 -   Psc   15153   -   Exp    ammo
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                       Page 38 of 189 PageID 42



                                                 CASE NO. DC-20-03308

FELIX V.        CUADRADO                                    §         IN    THE DISTRICT COURT OF
           Plaintiff,                                       §
                                                            §
V.                                                          §         DALLAS COUNTY, TEXAS
                                                            §
VIEW AT KESSLER PARK AND                                    §
TI COMMUNITIES                                              §
                                                                       134th     JUDICIAL DISTRICT
           Defendants.                                      §


                   ORDER GRANTING MOTION FOR SUBSTITUTED SERVICE
           On    this   day the Court considered            Plaintiff’s     Motion     for Substituted Service             and the

afﬁdavit attached thereto.


           The Court ﬁnds           that service    0n the Secretary 0f         State 0f   Texas as provided by law           is   a


manner 0f        service that Will be reasonably effective t0 give Defendant,                          View   at   Kessler Park


notice of the      suit.    The Court     further   ﬁnds   that   View     at   Kessler Park    may    be properly served by


leaving a true copy of the citation, With a copy 0f the Petition attached, t0 the front door 0f


Defendant,      View       at   Kessler Park place of business       at    2511 Wedglea        Dr.,   #lB, Dallas,   TX 7521 1,

or   by   delivering the citations, with a copy of the citation and Petition, to any employee over 16


years of age at 2511            Wedglea   Dr.,   #lB, Dallas,     TX 7521 1.

           IT IS   THEREFORE AUTHORIZED AND ORDERED                                        that the citation       be served 0n

Defendant,      View       at   Kessler Park, by serving the Secretary 0f State 0f Texas by delivering to and


leaving With him, or With the Assistant Secretary of State, or With any clerk having charge of the


corporation department of her ofﬁce, duplicate copies of the citations in this cause, with copies


of the Petition and             Amended   Petition attached t0       it.    The Secretary 0f          State shall immediately


send one 0f the copies by registered mail addressed t0 Defendant,                          View   at   Kessler Park.


           IT IS   THEREBY AUTHORIZED AND ORDERED                                   that the Defendant,       View    at   Kessler


Park      may   be served by either leaving a true copy 0f the                    citations,   With a copy of the Petition



Order
                                                           EXHIBIT                                                         Page    1


                                                             A-11
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20               Page 39 of 189 PageID 43



attached, to the front door of Defendant, View at Kessler Park place of business at 2511 Wedglea

Dr., #1B, Dallas, TX 75211, or by delivering the citations, with a copy of the citation and

Petition attached to any employee over 16 years of age at 2511 Wedglea Dr., #1B, Dallas, TX

75211.

         IT IS FURTHER ORDERED that the Return of Citation, endorsed on or attached to the

citations, will state when and how the citations were served.

         SIGNED this ___________ day of __________________________ 2020.


                                                     ____________________________________
                                                     HONORABLE DALE TILLERY
                                                     Judge Presiding




Order                                                                                   Page 2
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                         Page 40 of 189 PageID 44




                                                  CASE NO. DC-20-03308

  FELIX V.        CUADRADO                                   §         IN    THE DISTRICT COURT OF
                                                                                         '




             Plaintiff,                                      §
                                                             §
  v.                                                         §         DALLAS COUNTY, TEXAS
                                                             §
  VIEW AT KES SLER PARK AND                                  §
  TI COMMUNITIES                                             §
                                                                       134th      JUDICIAL DISTRICT
             Defendants.                                     §


                     ORDER GRANTING MOTION FOR SUBSTITUTED SERVICE
             On   this    day the Court considered          Plaintiff’s      Motion      for Substituted Service             and the


  afﬁdavit attached thereto.


             The Court ﬁnds           that service   on the Secretary of         State of    Texas as provided by law           is   a


  manner of       service that will        be reasonably effective          t0 give Defendant,           View   at   Kessler Park


  notice of the suit.       The Court      further   ﬁnds   that   View     at   Kessler Park   may      be properly served by


  leaving a true copy of the citation, with a copy of the Petition attached, to the front door of


  Defendant,      View     at   Kessler Park place of business at 2511 Wedglea Dr., #lB, Dallas,                       TX 7521 1,

  or   by   delivering the citations, with a         copy of the     citation     and   Petition, to     any employee over 16


  years of age at 2511          Wedglea    Dr.,   #IB, Dallas,     TX 7521 1.

             IT IS   THEREFORE AUTHORIZED AND ORDERED                                        that the citation       be served on


  Defendant,      View     at   Kessler Park, by serving the Secretary of State of Texas by delivering to and


  leaving with him, or with the Assistant Secretary of State, or with any clerk having charge of the


  corporation department of her ofﬁce, duplicate copies of the citations in this cause, with copies


  of the Petition and           Amended     Petition attached to      it.    The Secretary of        State shall immediately


  send one of the copies by registered mail addressed to Defendant,                          View   at   Kessler Park.


             IT IS   THEREBY AUTHORIZED AND ORDERED that the Defendant, View                                            at   Kessler


  Park      may be   served      by   either leaving a true      copy of the       citations,   with a copy 0f the Petition



                                                                                                                             Page
  Order
                                                              EXHIBIT                                                                1
                                                                                                           .




                                                                   A-12
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                             Page 41 of 189 PageID 45




  attached, to the front door ofDefendant,      View     at   Kessler Park place of business at 2511 Wedglea


  Dr.,   #lB, Dallas,     TX   75211, or by delivering the citations, with a copy of the citation and


  Petition attached to     any employee over 16 years of age         at   2511 Wedglea Dr., #lB, Dallas,   TX

  7521    1.



               IT IS   FURTHER ORDERED       that the Return      of Citation, endorsed on or attached   to the


  citations, will state   when and how   the citations   were served.

               SIGNEDthis      J    2     day of         ”A        M                    2020.




                                                                Judge Presiding




  Order                                                                                             Page 2
                                                                                                                                     FILED
                                                                                                                       6/5/2020 1:57   PM
                                                                                                                          FELICIA PITRE
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                            Page 42 of 189 PageID 46                  DISTRICT CLERK
                                                                                                                     DALLAS   CO., TEXAS
                                                                                                                 Martin   Reyes   DEPUTY


                                      CAUSE N0. DC-20-03308                                                  Marti“       Reyes

FELIX V. CUADRADO,                                       §           IN   THE DISTRICT COURT
                                                         §
                 Plaintiff,                              §
                                                         §
v.                                                       §           DALLAS COUNTY, TEXAS
                                                         §
VIEW AT KESSLER PARK AND                                 §
T1   COMMUNITIES,                                        §
                                                         §
                 Defendants.                             §           134th   JUDICIAL DISTRICT

      DEFENDANT TI COMMUNITIES’ ORIGINAL ANSWER TO PLAINTIFF’S
                                          ORIGINAL PETITION

          Defendant TI Communities (“Defendant”) ﬁles         its   Original     Answer t0    Plaintiff s Original


Petition as follows:


                                     I.        GENERAL DENIAL
          Defendant enters a general denial under Texas Rule of Civil Procedure 92 and requests


that Plaintiff   be required t0 prove     all facts   necessary to establish his causes of action by a


preponderance of the evidence.


                       II.    DEFENSES AND AFFIRMATIVE DEFENSES

          1.     Any   alleged slanderous, libelous 0r disparaging statements are not defamatory.


          2.     Any   alleged publication 0f the alleged defamatory statements              is   absolutely and/or


qualiﬁedly privileged.


          3.     Statements regarding Plaintiff were true or substantially true.


          4.     Plaintiff has failed t0 mitigate his alleged   damages or has       failed t0 take reasonable


steps to mitigate his alleged damages, if any.


          5.     Plaintiff has   no evidence   of,   and cannot show      that   Defendant acted with, actual

malice.



DEFENDANT TI COMMUNITIES’ ORIGINAL ANSWER
TO PLAINTIFF’S ORIGINAL PETITION                                                                          PAGE   1
                                                       EXHIBIT
                                                         A-13
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                  Page 43 of 189 PageID 47



          6.        A11 0r part 0f the relief sought by Plaintiff           is   not available under the applicable


law.     T0    the extent necessary, Defendant invokes            all     applicable   damage caps        or limitations,


including but not limited          t0,   the limitations set forth in TEX. CIV. PRAC.           & REM.     CODE ANN.      §


41.008.


          7.        To   the extent Plaintiff complains 0f a written statement given to a person desiring


to   employ     Plaintiff, his   claims are barred by Section 52.031 of the Texas Labor Code.


          8.        Plaintiff’s    defamation claim     is   barred by Section 103.004 0f the Texas Labor


Code.


          9.        Any   alleged defamatory statements are matters of opinion and not actionable.


          10.       Plaintiff s claims are barred     by waiver,    estoppel, unclean hands,           and ratiﬁcation.

          11.       In addition t0 the foregoing defenses, Defendant reserves the right to assert any


other defenses available under the Texas Rules 0f Civil Procedure                            upon     the completion of


discovery.


                                          III.   REQUEST FOR RELIEF

          For these reasons, Defendant requests that            Plaintiff’s claims     be dismissed With prejudice,

that Plaintiff take nothing         by   this action, that   Defendant recovers        its   costs   and attorneys’   fees,


and    that the Court grant      such other and further relief as    is   appropriate.




DEFENDANT TI COMMUNITIES’ ORIGINAL ANSWER
TO PLAINTIFF’S ORIGINAL PETITION                                                                                PAGE 2
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                       Page 44 of 189 PageID 48



                                              Respectfully submitted,



                                              JACKSON LEWIS P.C.
                                              500 N. Akard, Suite 2500
                                              Dallas, Texas 75201
                                              PH: (214) 520-2400
                                              FX: (214) 520-2008

                                              BY:     /s/   Kristin L. Bauer
                                                        Kristin L. Bauer, Esq.
                                                        Texas Bar N0. 24006813
                                                        EM: bauerk@iacksonlewis.com
                                                        JulieA. Farmer, Esq.
                                                        Texas Bar No. 24059734
                                                        EM:     farmeri @iacksonlewis.com


                                              ATTORNEYS FOR DEFENDANT
                                              TI COMMUNITIES



                                  CERTIFICATE OF SERVICE

       I   certify that a true   and correct copy of the foregoing pleading was served on the
following counsel of record Via electronic service on June      5,   2020:


       Vincent   J.   Bhatti
       Vincent.bhatti@bhattilawﬁrm.com
       Ditty S. Bhatti
       Ditty.bhatti@bhattilawﬁrm.com
       The   Bhatti   Law Firm, PLLC
       14785 Preston Road, Suite 550
       Dallas, Texas 75254




                                              /s/   Kristin L. Bauer
                                              Kristin L. Bauer, Esq.




DEFENDANT TI COMMUNITIES’ ORIGINAL ANSWER
TO PLAINTIFF’S ORIGINAL PETITION                                                            PAGE 3
                                                                                                                            FILED
                                                                                                            6/1   7/2020 5:20   PM
                                                                                                                  FELICIA PITRE
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                      Page 45 of 189 PageID 49             DISTRICT CLERK
                                                                                                        DALLAS       CO.,   TEXAS
                                                      JUDGE DALE TILLERY PRESIDImRodriguez DEPUTY
                                            Fan              134TH JUDICIAL DISTRICT COURT
                                                          600 Commerce St., 6th Floor, Room 650
                                                                            Dallas, Texas 75202-4606
                                                                       214/653-7546 -- 134th Ct. Clerk
                                                                  214/653-6995     --   Ct. Coordinator
                                                                                ﬂy@dallascourts.0rg
                                           June 17, 2020

VINCENT J BHATTI
THE BHATTI LAW FIRM PLLC
14785 PRESTON ROAD
SUITE 550
DALLAS TX       75254

          Re:   FELIX V.   CUADRADO          vs.    VIEW AT KESSLER PARK et a1
                DC-20-03308
A11 Counsel of Record/Pro Se Litigants:

PLEASE TAKE NOTE 0f the           following settings:

         NON JURY TRIAL:      06/21/2021 @ 9:00 AM

Trial   announcements MUST BE MADE in accordance With                     Rule 3.02, Local Rules 0f
the Civil Court 0f Dallas County, Texas.

When NO announcement is made for defendant, defendant will be presumed ready. If
ANY plaintiff fails t0 announce 0r to appear at trial, the case will be dismissed for want
of prosecution in accordance with Rule 165a, Texas Rules 0f Civil Procedure.

Completion of discovery, presentation of                    and other matters relating to
                                                   pretrial motions,
the preparation for trial, are controlled by the Scheduling Order in this case 0r by the
Texas Rules of Civil Procedure, in the event n0 Scheduling Order has been signed by the
Court.

Please forward a copy 0f this notice to counsel of record for each party and                 all   pro se
parties   by a method approved   in   Texas Rules 0f Civil Procedure 21a.

Sincerely,



ﬂg/é f
DALE TILLERY,
Presiding Judge


DBT/ﬂl
pCZ   VINCENT J BHATTI; KRISTIN BAUER



                                               EXHIBIT
                                                    A-14
ALL PARTIES MUST BE COPIED 0N ALL WRITTEN COMMUNICATION T0 THE COURT.
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                      Page 46 of 189 PageID 50
                                      N:              JUDGE DALE TILLERY PRESIDING
                                            Fan              134TH JUDICIAL DISTRICT COURT
                                                          600 Commerce St., 6th Floor, Room 650
                                                                            Dallas, Texas 75202-4606
                                   K5.
                                 E                                     214/653-7546 -- 134th Ct. Clerk
                                                                  214/653-6995     --   Ct. Coordinator
                                                                                ﬂy@dallascourts.0rg
                                           June 17, 2020

KRISTIN BAUER
JACKSON LWIS LLP
500 N AKARD SUITE 2500
DALLAS TX       75201

          Re:   FELIX V.   CUADRADO          VS.    VIEW AT KESSLER PARK et a1
                DC-20-03308
A11 Counsel 0f RecordfPro Se Litigants:

PLEASE TAKE NOTE 0f the           following settings:

         NON JURY TRIAL:      06/21/2021 @ 9:00 AM

Trial   announcements MUST BE MADE in accordance With                     Rule 3.02, Local Rules 0f
the Civil Court 0f Dallas County, Texas.

When      NO
           announcement is made for defendant, defendant Will be presumed ready. If
ANY plaintiff fails t0 announce 0r t0 appear at trial, the case will be dismissed for want
of prosecution in accordance with Rule 165a, Texas Rules 0f Civil Procedure.

Completion of discovery, presentation 0f                    and other matters relating to
                                                   pretrial motions,
the preparation for trial, are controlled by the Scheduling Order in this case 0r by the
Texas Rules of Civil Procedure, in the event n0 Scheduling Order has been signed by the
Court.

Please forward a copy 0f this notice to counsel of record for each party and                 all   pro se
parties   by a method approved   in   Texas Rules 0f Civil Procedure 21a.

Sincerely,



ﬂg/é f
DALE TILLERY,
Presiding Judge


DBT/ﬂl
pCZ   VINCENT J BHATTI; KRISTIN BAUER




ALL PARTIES MUST BE COPIED 0N ALL WRITTEN COMMUNICATION T0 THE COURT.
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                               Page 47 of 189 PageID 51



                                               CAUSE N0. DC-20-03308
 FELIX V. CUADRADO                                                                   IN     THE DISTRICT COURT
  VS.                                                                               134TH      JUDICIAL DISTRICT
 VIEW AT KESSLER PARK et al                                                         DALLAS COUNTY, TEXAS
                           UNIFORM SCHEDULING ORDER (LEVEL 3)
         In accordance With Rules 166, 190 and 192 0f the Texas Rules 0f Civil Procedure, the
Court makes the following order t0 control discovery and the schedule 0f this cause:

         1.        This case Will be ready and                  is set    for   NON JURY TRIAL            on    JUNE     21, 2021   at

9:00    AM (“this Trial       Setting”).         Reset 0r continuance 0f                    this Trial Setting will     not alter any
deadlines established in this Order 0r established                        by    the Texas Rules 0f Civil Procedure, unless
otherwise provided by order. If not reached as                         set,   the case will be carried t0 the next week.

         2.        Pretrial matters will         be completed by the following dates:

              a.   amended pleadings            asserting       new    causes 0f
                                                                                            130 days before    thls   Tnal settmg
                   action 0r defenses ...........................................
              b.   fact discovery closes           ......................................   115 days before    this Trial Setting

              c.   party seeking affirmative relief t0 designate
                   experts   (if   no reports provided) See: Rule                           115 days before    this Trial Setting

                   195.3(a)(1)       ....................................................

              d.   party seeking affirmative relief t0 designate
                   experts   (if   reports provided) See: Rule                              105 days before    this Trial Setting

                   195.3(a)(3)       ....................................................

              e.   party not seeking affirmative relief 0r
                   opposing affirmative            relief t0 designate
                                                                                            9O days before    this Trial Setting
                   experts   & make available for deposition
                   See: Ruler 195.3(b)            .......................................

              f.   designation 0f rebuttal experts either                     make
                                                                                            75 days before    this Trial Setting
                   available for deposition 0r provide reports

              g.   all   expert discovery closes            .............................   45 days before    this Trial Setting

              h.   other   amended pleadings ................................ 45 days before                  this Trial Setting

         3.        The     parties   may, by written agreement,                        alter the pretrial deadlines,        set forth
above.    Amended        pleadings responsive t0 timely filed pleadings under this Order                                may be   filed
after the deadline for      amended pleadings              if filed    within two (2) weeks after the pleading t0 which
they respond. Except by agreement 0f the party, leave 0f court, 0r Where expressly authorized by
the Texas Rules 0f Civil Procedure, n0 party may obtain discovery 0f information subject t0
disclosure under Rule 194            by any other form 0f discovery. Any objection 0r motion                              to exclude
0r limit expert testimony due t0 qualification 0f the expert 0r reliability 0f the opinions must be
filedn0 later than seven (7) days after the close 0f expert discovery, 0r such objection is waived.
Any  motion  t0 compel responses t0 discovery (other than relating t0 factual matters arising after
the end 0f fact discovery) must be filed n0 later than seven (7) days after the close 0f fact
discovery 0r such complaint is waived, except for the sanction 0f exclusion under Rule 193.6.
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                         Page 48 of 189 PageID 52



            4.       Each     side    may have 75          hours 0f depositions and each party                   may have 50
interrogatories.

            5.       No     additional parties          joined more than eight (8) months after the
                                                        may be
commencement              0f this case except 0n motion for leave showing good cause. This paragraph
does not otherwise alter the requirements 0f Rule 38. The party joining an additional party shall
serve a copy 0f this Order 0n the new party concurrently With the pleading joining that party.

            6.       If                                                agreed t0 by the parties,
                          mediation, or other alternative dispute resolution,                  is

then   it   Will be conducted in accordance With the Texas Rules 0f Civil Procedure; the Texas
Government Code and the standing Dallas County Civil District Court order regarding
mediation, which is available from the Dallas County ADR Coordinator.

            Mediation must be conducted            thirty (30)   days prior t0 the        first trial setting   in this case.

            The   parties’ decision t0      mediate in      this case will       not be a basis for a continuance 0f any
trial setting.

            7.       Fourteen        (14)   days   before      this    Trial       Setting,   the   parties     shall    exchange
designations 0f deposition testimony t0 be offered in direct examination and a                                  list   0f exhibits,
including any demonstrative aids and affidavits, and shall exchange copies 0f any exhibits not
previously produced in discovery;        over—designation is strongly discouraged and may be
sanctioned.   Except for records t0 be offered by way 0f business record affidavits, each exhibit
must be identified separately and not by category 0r group designation. Ten (10) days before
this Trial Setting, the parties shall exchange in writing their objections t0 the opposing party’s
proposed exhibits, including objections under Rule 193.7, and deposition testimony. On 0r
before ten (10) days before this Trial Setting, the attorneys in Charge for all parties shall meet in
person to confer on stipulations regarding the materials t0 be submitted t0 the Court under this
paragraph and attempt t0 maximize agreement 0n such matters. By 4 p.m. 0n the Thursday
before this Trial Setting, the parties shall file With the Court the materials stated in Rule 166(d)-
(m), an estimate 0f the length 0f trial, designation 0f deposition testimony t0 be offered in direct
examination, and any motions in limine. The duty t0                         file   the materials stated in Rule 166(e)—(l)
exists      even in the absence         0f the parties’        ability t0        meet   in person in order t0 confer            0n
stipulations regarding the materials to                 be submitted to the Court. The failure to filethe materials
stated in Rule 166(e)—(l), an estimate 0f the length 0f trial, designation 0f deposition testimony t0
be offered in direct examination, and any motions in limine may result in dismissal for want 0f
prosecution 0r other appropriate sanction.

            8.       A11 Daubert challenges and Witness challenges and                              all   dispositive motions,
including Motions for           Summary Judgment,             shall   be   set   and heard    at least    3O days prior     t0 this
trial setting     or they are waived.

            9.       The provisions 0f Chapter 18 of the Texas             Civil Practice     & Remedies Code shall control,
and not be interpreted in conﬂict With,          this   UNIFORM SCHEDULING ORDER.
                           counsel shall serve a copy 0f this order 0n any currently
            Plaintiff/Plaintiff’s                                                                                           named
defendants answering after the date 0f this order.

            SIGNED        on 6/ 17/2020      .




                                                                           ALE TILLERY, Presiding
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20    Page 49 of 189 PageID 53


pc:   VINCENT J BHATTI; KRISTIN BAUER
ADDITIONALLY, YOU MAY ACCESS THE COURT'S FILE, BY GOING TO:
http:/lcourts.dallascountv.orq/default.aspx
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                               Page 50 of 189 PageID 54



                                               CAUSE N0. DC-20-03308
 FELIX V. CUADRADO                                                                   IN     THE DISTRICT COURT
  VS.                                                                               134TH      JUDICIAL DISTRICT
 VIEW AT KESSLER PARK et al                                                         DALLAS COUNTY, TEXAS
                           UNIFORM SCHEDULING ORDER (LEVEL 3)
         In accordance With Rules 166, 190 and 192 0f the Texas Rules 0f Civil Procedure, the
Court makes the following order t0 control discovery and the schedule 0f this cause:

         1.        This case Will be ready and                  is set    for   NON JURY TRIAL            on    JUNE     21, 2021   at

9:00    AM (“this Trial       Setting”).         Reset 0r continuance 0f                    this Trial Setting will     not alter any
deadlines established in this Order 0r established                        by    the Texas Rules 0f Civil Procedure, unless
otherwise provided by order. If not reached as                         set,   the case will be carried t0 the next week.

         2.        Pretrial matters will         be completed by the following dates:

              a.   amended pleadings            asserting       new    causes 0f
                                                                                            130 days before    thls   Tnal settmg
                   action 0r defenses ...........................................
              b.   fact discovery closes           ......................................   115 days before    this Trial Setting

              c.   party seeking affirmative relief t0 designate
                   experts   (if   no reports provided) See: Rule                           115 days before    this Trial Setting

                   195.3(a)(1)       ....................................................

              d.   party seeking affirmative relief t0 designate
                   experts   (if   reports provided) See: Rule                              105 days before    this Trial Setting

                   195.3(a)(3)       ....................................................

              e.   party not seeking affirmative relief 0r
                   opposing affirmative            relief t0 designate
                                                                                            9O days before    this Trial Setting
                   experts   & make available for deposition
                   See: Ruler 195.3(b)            .......................................

              f.   designation 0f rebuttal experts either                     make
                                                                                            75 days before    this Trial Setting
                   available for deposition 0r provide reports

              g.   all   expert discovery closes            .............................   45 days before    this Trial Setting

              h.   other   amended pleadings ................................ 45 days before                  this Trial Setting

         3.        The     parties   may, by written agreement,                        alter the pretrial deadlines,        set forth
above.    Amended        pleadings responsive t0 timely filed pleadings under this Order                                may be   filed
after the deadline for      amended pleadings              if filed    within two (2) weeks after the pleading t0 which
they respond. Except by agreement 0f the party, leave 0f court, 0r Where expressly authorized by
the Texas Rules 0f Civil Procedure, n0 party may obtain discovery 0f information subject t0
disclosure under Rule 194            by any other form 0f discovery. Any objection 0r motion                              to exclude
0r limit expert testimony due t0 qualification 0f the expert 0r reliability 0f the opinions must be
filedn0 later than seven (7) days after the close 0f expert discovery, 0r such objection is waived.
Any  motion  t0 compel responses t0 discovery (other than relating t0 factual matters arising after
the end 0f fact discovery) must be filed n0 later than seven (7) days after the close 0f fact
discovery 0r such complaint is waived, except for the sanction 0f exclusion under Rule 193.6.




                                                               EXHIBIT
                                                                  A-15
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                         Page 51 of 189 PageID 55



            4.       Each     side    may have 75          hours 0f depositions and each party                   may have 50
interrogatories.

            5.       No     additional parties          joined more than eight (8) months after the
                                                        may be
commencement              0f this case except 0n motion for leave showing good cause. This paragraph
does not otherwise alter the requirements 0f Rule 38. The party joining an additional party shall
serve a copy 0f this Order 0n the new party concurrently With the pleading joining that party.

            6.       If                                                agreed t0 by the parties,
                          mediation, or other alternative dispute resolution,                  is

then   it   Will be conducted in accordance With the Texas Rules 0f Civil Procedure; the Texas
Government Code and the standing Dallas County Civil District Court order regarding
mediation, which is available from the Dallas County ADR Coordinator.

            Mediation must be conducted            thirty (30)   days prior t0 the        first trial setting   in this case.

            The   parties’ decision t0      mediate in      this case will       not be a basis for a continuance 0f any
trial setting.

            7.       Fourteen        (14)   days   before      this    Trial       Setting,   the   parties     shall    exchange
designations 0f deposition testimony t0 be offered in direct examination and a                                  list   0f exhibits,
including any demonstrative aids and affidavits, and shall exchange copies 0f any exhibits not
previously produced in discovery;        over—designation is strongly discouraged and may be
sanctioned.   Except for records t0 be offered by way 0f business record affidavits, each exhibit
must be identified separately and not by category 0r group designation. Ten (10) days before
this Trial Setting, the parties shall exchange in writing their objections t0 the opposing party’s
proposed exhibits, including objections under Rule 193.7, and deposition testimony. On 0r
before ten (10) days before this Trial Setting, the attorneys in Charge for all parties shall meet in
person to confer on stipulations regarding the materials t0 be submitted t0 the Court under this
paragraph and attempt t0 maximize agreement 0n such matters. By 4 p.m. 0n the Thursday
before this Trial Setting, the parties shall file With the Court the materials stated in Rule 166(d)-
(m), an estimate 0f the length 0f trial, designation 0f deposition testimony t0 be offered in direct
examination, and any motions in limine. The duty t0                         file   the materials stated in Rule 166(e)—(l)
exists      even in the absence         0f the parties’        ability t0        meet   in person in order t0 confer            0n
stipulations regarding the materials to                 be submitted to the Court. The failure to filethe materials
stated in Rule 166(e)—(l), an estimate 0f the length 0f trial, designation 0f deposition testimony t0
be offered in direct examination, and any motions in limine may result in dismissal for want 0f
prosecution 0r other appropriate sanction.

            8.       A11 Daubert challenges and Witness challenges and                              all   dispositive motions,
including Motions for           Summary Judgment,             shall   be   set   and heard    at least    3O days prior     t0 this
trial setting     or they are waived.

            9.       The provisions 0f Chapter 18 of the Texas             Civil Practice     & Remedies Code shall control,
and not be interpreted in conﬂict With,          this   UNIFORM SCHEDULING ORDER.
                           counsel shall serve a copy 0f this order 0n any currently
            Plaintiff/Plaintiff’s                                                                                           named
defendants answering after the date 0f this order.

            SIGNED        on 6/ 17/2020      .




                                                                           ALE TILLERY, Presiding
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20    Page 52 of 189 PageID 56


pc:   VINCENT J BHATTI; KRISTIN BAUER
ADDITIONALLY, YOU MAY ACCESS THE COURT'S FILE, BY GOING TO:
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          Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                               Page 53 of 189 PageID               57 DISTRICT CLERK
                                                                                                                               DALLAS CO., TEXAS
                                                                                                                              Daniel Macias DEPUTY


                                                                 CAUSE NO. DC-20-03308

       FELIX v.
             V. CUADRADO,                                                  §                    1N THE DISTRICT COURT
                                                                                                IN THE          COURT
                                                                           §§
                                                                           §§
                                     Plaintiff,
                                     Plaintiff,                            §
       V.
       v.                                                                  §                  134m JUDICIAL DISTRICT
                                                                                              134TH         DISTRICT

               KESSLER PARK
       VIEW AT KESSLER      AND TI
                       PARK AND T1                                         §
       VIEW
                                                                            §
       COMMUNITIES,
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             at: 2511 WEDGLEA      DRIVE,  #1B,
                                           #IB,  DALLAS,   TX 752II
                                                           TX 75211
    within
    within the
           the county
               county of
                       of DALLAS at at 2:30
                                       2:30 I'M,
                                            I’M, on Tuesday, June
                                                 on Tuesday, June 2,
                                                                  2, 2020,
                                                                     2020,
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    by delivering to
                  to the within named:
                     the within named:

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                                                         VIEW AT KESSLER PARK
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            copy of this
                    this


                                                                 MOTION FOR
                                                        GRANTING MOTION
                                              and ORDER GRANTING
      CITATION, PLAINTIFF'S ORIGINAL PETITION and                       FOR
                                                             SUBSTITUTED SERVICE


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                                                     copy of the Petition,
                                                                 Petition, and
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                                                                               Order Granting Motion
                                                                                     Granting Motion
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                                                            Defendant, View
                                                                        View at
                                                                              at Kessler
                                                                                 Kessler Park's, place of
                                                                                         Park’s, place  of
    business at
    business at 2511
                2511 Wedglca
                     Wedglea Drive,
                               Drive, #lb,
                                      #lb, Dallas,
                                            Dallas, Texas 75211
                                                          75211 per
                                                                 per ORDER     GRANTING      MOTION
                                                                               GRANTING MOTION
    FOR   SUBSTITUTED      SERVICE           EXHIBIT   “A”                          endorsed thereon
                                       (Sec EXHIBIT "A" attached) having first endorsed
                                       (Sec                  attached) having  ﬁrst                    the
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    date of the delivery.

BEFORE ME, the        undersigned authority,
                  the undersigned   authority, on
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                                                        day personally   appeared Brian
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                                                                                           K. Lewis                being duly
                                                                                                             after being duly sworn    on
                                                                                                                                sworn on
oath
oath states:
     states: "My name is Brian K. Lewis. I am a person not less than eighteen (18) years of age and I am competent to
              "My           Brian
                                is  K.  Lewis.    am  a  person
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        Brian K. Lewis -- PSC          Exp 08/31/21
          ser\'ed@spccialdelivery.coni
          served@spccialdelivery.com



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Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                        Page 54 of 189 PageID 58




                                                CASE NO.         DC-20-03308


    FELIX v.     CUADRADO                                  §         1N    THE DISTRICT COURT 0F
            Plaintiff,                                     §
                                                           §
    v.                                                     §         DALLAS COUNTY, TEXAS
                                                           §
    VIEW AT KESSLER PARK AND                               §
    T1COMMUNITIES                                          §
                                                                      134‘“     JUDICIAL DISTRlCT
            Defendants.                                    §


                    ORDER GRANTING MOTION FOR SUBSTITUTED SERVICE
            On   this    day the Court considered          Plaintiff‘s     Motion for Substituted Service and the

    afﬁdavit attached thereto.


            The Court ﬁnds         that service    on the Secretary of         State of   Texas as provided by law            is   a


    manner of    service that will bc reasonably effective to give Defendant,                         View   at   Kessler Park


    notice of the suit.    The Court     further   ﬁnds   that   Vicw     at   Kessler Park   may be     properly served by


    leaving a true copy of the citation, with a copy of the Petition attached, to the front door of


    Defendant,   View     at   Kesslcr Park place of business       at    2511 Wedg¥ea Dr., #IB, Dallas,            TX 7521 l,

    or by delivering the citations, with a         copy of the     citation     and   Petition, to    any cmploycc ovcr 16


    years of age at 2511       Wedglca   Dr.,   #IB, Dallas,     TX 7521 I.

            IT lS   THEREFORE AUTHORIZED AND ORDERED                                      that the citation       be served on


    Defendant,   View     at   Kcsslcr Park, by serving the Secretary of State ofTexas by delivering to and


    leaving with him, or with thc Assistant Secretary of State, or with any clerk having charge of the


    corporation department of her ofﬁce, duplicate copies of the citations in this cause, with copies


    of the Petition and        Amended   Petition attached to       it.    The Secretary of       State shall immediately


    send one of the copies by registered mail addressed              lo   Defendant,      View   at   Kessler Park.


            IT IS   THEREBY AUTHORIZED AND ORDERED                                 that the Defendant,       View    at   Kessler


    Park   may be sewed by         either leaving a true       copy of the       citations, with a      copy of the       Petition



    Order                                                                                                                 Page     l
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                Page 55 of 189 PageID 59




    attached, to the front door    of Defendant, View      at   Kessler Park place of business at 25]   l   chglea

    Dr.,    #IB, Dallas,    TX   7521!, or by delivering the citations, with a copy of the citation and


    Petition attached to     any employee over 16 years of age          at   25H Wedglea   Dr.,   #lB, Dallas,   TX
    7521    l.



                 IT IS   FURTHER ORDERED       that the    Return of Citation. endorsed on or attached to the


    citations, wiil state   when and how   the citations   were served.

                 SIGNEDthis      Z    Z     dayof
                                                           ”ﬂy                             2020.




                                                                    ONdRABLE DA
                                                                  Judge Presiding




    Order                                                                                                   Page 2
                         Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                                                               Page 56 of 189 PageID 60



FORM NO. 353-3 - CITATION                                                                                                                                                               ESERVE
THE STATE OF TEXAS                                                                                                                                                                 CITATION
To:         VIEW AT KESSLER PARK
            2511 WEDGLEA DR
            DALLAS TEXAS 75211                                                                                                                                                     DC-20-03308


GREETINGS:
You have been sued. You may employ an attorney. lf you or your attorney do not ﬁle a written                                                                                    FELIX    V.   CUADRADO
                                                                                                                                                                                              vs.
answer with the clerk who issued this citation by 10 o’clock am. of the Monday next following the
                                                                                                                                                                             VIE\V AT   KESSLER PARK et al
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you.        Your answer should be addressed      to the clerk      of the    134‘“ District                                  Court at 600
Commerce       Street, Ste. 10]       Dallas.   Texas 75202.
                                  ,
                                                                                                                                                                                    ISSUED THIS
                                                                                                                                                                               5th day of March, 2020
Said Plaintiffbeing       FELIX V.       CUADRADO
Filed in said Court 28'“      day of February, 2020        against
                                                                                                                                                                                 FELICIA PITRE
                                                                                                                                                                               Clerk District Courts,
VIEW AT KESSLER PARK, ET AL                                                                                                                                                    Dallas County, Texas
For    Suit, said suit   being numbered       0020-03308, the nature of which demand is as follows:
Suit   on   DEFAMATION etc.            as   shown on said petition & REQUEST FOR DISCLOSURE,
a copy 0f which accompanies this citation. If this citation            is   not served,          shall   be returned unexecuted.
                                                                                            il
                                                                                                                                                                       By:    ANGELA CONEJO. Deputy
WITNESS: FELICIA PITRE,                 Clerk of the District Courts of Dallas, County Texas.
Given under     my hand and the Seal        ofsaid Court at ofﬁce this 5th day of March, 2020.
                                                                                                                                                                              Attorney for Plaintiff
                                                                                                                                                                                VINCENT J BHATTI
ATTEST: FELICIA PITRE,                Clerk of the District Courts o          las,   County, Texas                                                                      THE           LAW FIRM PLLC
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                                  Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                                               Page 57 of 189 PageID 61



                                                                                            OFFICER'S RETURN
Case No.        :   13020-03308

Court No. 134th        District    Court

Style:     FELIX V.     CUADRADO
VS.


VIEW AT KESSLER PARK                     ct al


Camc       to   hand on thc                             day of                              ,   20             ,
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within the County of                                                   at                        o'clock                .M. on lhe                       day of                                                         ,




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me    in   sewing such process was                         mils and my      fees are as follows:      To certify which        witness   my   hand.




                                           For serving Citation

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                                           l’or   Notary                                                                 By                                                    Deputy

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Signed and sworn         to   by the said                                          before       me this            day of                                .   20

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                                                                                                                        Notary Public                             County
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20   Page 58 of 189 PageID 62




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Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                                                                                                                                                                      Page 59 of 189 PageID 63




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                                  V                                   .               I                   n               1           ~
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                                  I                       n                           r               ‘
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                                      ‘                                                                                                   4                                                       ,
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                                                                                                                                                                                          WﬂW-Wdhddm                                             t   '2   4.   .-
                                                                                                                       FILED
                                                                                                           6/18/2020 3:48 PM
                                                                                                              FELICIA PITRE
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                       Page 60 of 189 PageID         64 DISTRICT CLERK
                                                                                                        DALLAS CO., TEXAS
                                                                                                      Miranda Lynch DEPUTY




                                           NO. DC-20-03308



FELIX V.
FELIX V. CUADRADO,                                   $
                                                     §            IN THE DISTRICT
                                                                  IN     DISTRICT COURT
                                                     $
                  Plaintffi,
                  Plaintiffs,                        $
                                                     g
                                                     s
v
v.
                                                     $
                                                     g            DALLAS COUNTY, TEXAS
                                                     s
VIEW AT KESSLER
        KESSLER PARK and,
                     and,                            s
                                                     g
TI COMMUNITIES,
TI                                                   s
                                                     §
                                                     $
                  Defendants.                                         th JUDICIAL
                  Defendants.                        $
                                                     g            I34 ‘h
                                                                  134    JUDICIAL   DISTRICT



              ORIGINAL ANSWER
                       ANSWER OF WESTMOUNT AT KESSLER
                              OF'WESTMOUNT    KESSLER PARK L.P.
                                                           L.P.

TO THE HONORABLE JUDGE OF SAID COURT:

          COME NOW, Westmount
                    Westmount at Kessler Park L.P.
                              at Kessler           ("WKPLP"), one 0f
                                              L.P. (“WKPLP”),     of the         presumably
                                                                         pafües presumably
                                                                     the parties

           party defendant
named as a party defendant in
                           in the       captioned cause,
                              the above captioned            for its
                                                  cause, and for     Original Answer
                                                                 its Original Answer to PlaintifÎs
                                                                                     to Plaintiff‘s

Original Petition
Original Petition   would state     following:
                                the following:
                          state the

                                                    I.
                                                    I.



                                                   Exception
                                           Special Exception
                                           Special


          While
          While   WKPLP has
                        has been the
                                 the record       of a multi-family
                                     record owner of   multi-family project
                                                                    project commonly known as

"View at
“View at Kessler Park" since
         Kessler Park”       early August
                       since early        of 2019,
                                   August 0f 2019,           it has
                                                             it     not registered
                                                                has not            an assumed
                                                                        registered an assumed name

certiﬁcate   under the
certif,rcate under the        "View at
                         name “View at Kessler Park", nor
                                       Kessler Park”, nor is it aware of
                                                          is it       of any
                                                                         any other party, or
                                                                             other party,    potential
                                                                                          or potential

party,
party,         has. As such,
         which has.    such, WKPLP
                             V/KPLP would assert
                                          assert that it is
                                                 that it          proper party
                                                            not a proper
                                                         is not          party to
                                                                               to the
                                                                                  the case atbar
                                                                                      case at     and,
                                                                                              bar and,


thus, files this
thus, ﬁles  this special
                 special exception
                         exception to
                                   to the claims
                                      the claims              of action
                                                   and causes of action asserted in
                                                                        asserted in   Plaintiff    Original
                                                                                      Plaintiff’ss Original


Petition.
Petition.


ORIGINAL ANSWER
ORIGINAL ANSWER 0F KESSLER PARK L.P.
                OF KESSLER      L.P.                         .
                                                                                                  Page 1I
                                                                                                  Page



                                                   EXHIBIT
                                                     A-17
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                            Page 61 of 189 PageID 65




                                                            il.
                                                            II.



                                                     General Denial
                                                     General Denial

           Without waiving
           Without waiving the
                           the above
                               above and
                                     and foregoing
                                         foregoing special
                                                   special exception,
                                                           exception,               WKPLP denies
                                                                                          denies each
                                                                                                 each and

every'
every,    all and singularly,
          all     singularly, the material allegations
                              the material allegations set forth in
                                                       set forth    Plaintifls Original
                                                                 in Plaintiff‘s Original Petition,
                                                                                         Petition, states the
                                                                                                   states the

same are         in whole 0r
         untrue, in
     are untrue,             in part,
                          or in part, and demands strict
                                                  strict proof
                                                         proof thereof by aa preponderance
                                                               thereof by    preponderance 0f
                                                                                           of the
                                                                                              the

evidence in accordance
evidence in            with
            accordance with        its right
                                   its right at law, reserving
                                             at law, reserving hereby its right
                                                               hereby its right t0
                                                                                to amend this
                                                                                         this Answer t0
                                                                                                     to

incorporate other
incorporate other and/or further defenses,
                  and/or further defenses,            if, when and/or
                                                      if,      and/or should
                                                                      should become necessary.
                                                                                    necessary.

                                                            III.
                                                            III.



                                                     Verified Denial
                                                     Veriﬁed  Denial

          Once again, without waving
               again, without waving the
                                     the above
                                         above and foregoing special
                                               and foregoing         exception, WKPLP
                                                             special exception, V/KPLP would

assert,
assert,   by way
          by     of further
             way of further answer,
                            answer, that,
                                    that, pursuant
                                          pursuant t0
                                                   to the            of Rules
                                                          provisions 0f
                                                      the provisions          g3(2), (4),
                                                                        Rules 93(2), (4), and (14),
                                                                                          and (14),

Texas Rules
Texas Rules 0f Civil Procedure,
            of Civil Procedure, there
                                there           is aa defect
                                                is           in the
                                                      defect in     parties defendant
                                                                the parties           in the
                                                                            defendant in the case at bar,
                                                                                             case at      that
                                                                                                     bar, that

WKPLP at    time employed
      at no time          Plaintiff, in
                 employed Plaintiff, in any capacity, either
                                        any capacity,        directly or
                                                      either directly or through an agent,
                                                                         through an agent,did  not
                                                                                           did not

        "View at
    the “View
own the       at Kessler
                 Kessler Park”
                         Park" property
                               property during
                                        during the
                                               the timeframe in which
                                                   timeframe in       Plaintiff claims
                                                                which Plaintiff claims to
                                                                                       to have

                  that WKPLP
been damaged, and that        is not
                       'WKPLP is     liable in
                                 not liable in the
                                               the capacity    which itithas
                                                            in which
                                                   capacity in               presumably been sued.
                                                                         has presumably      sued.

          WHEREFORE, PREMISES CONSIDERED, Westmount at
                                                    at Kessler
                                                       Kessler Park L.P. prays
                                                               Park L.P. prays that
                                                                               that

Plaintiff
Plaintiff take nothing
          take nothing     by way
                           by     of
                              way 0f     this suit, that
                                         this suit, that    it recover
                                                            it recover its
                                                                       its reasonable
                                                                           reasonable and necessary
                                                                                          necessary attorneys’
                                                                                                    attorneys'

fees
fees       costs incurred
       and costs          in its
                 incurred in its defense of same, along
                                 defense of             with such other
                                                  along with      other and further relief, either
                                                                            further relief,         atlaw
                                                                                            either at law

or in
0r in equity
      equity    it may show itself
                it          itself to    justly entitled.
                                   to be justly entitled.




ORIGINAL ANSWER
         ANSWER 0F KESSLER PARK L.P.
                OF KESSLER      L.P                                                                   Page 2
                                                                                                      Page
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20             Page 62 of 189 PageID 66




                                               Respectfully submitted,
                                               Respectfully submitted,

                                               COATS
                                               COATS     I
                                                         I   ROSE, P.C.
                                                             ROSE,P.C.


                                        By:     /s/ Alan.I
                                                /s/Alan     Harlan
                                                         J. Harlan

                                               Alan J.
                                               Alan     Harlan
                                                     J. Harlan
                                                          No. 09010200
                                               State Bar No.
                                               State


                                                    Signature Place
                                               600 Signature   Place
                                               I4755 Preston
                                               14755   Preston Road
                                                        Texas 75254
                                               Dallas, Texas
                                               Dallas,
                                               (97 2) 788-1600
                                               (972)             Telephone
                                                      7 88 -1600 Telephone
                                               (97 2) 7 02-0662 Telecopy
                                               (972)  702-0662   T elecopy
                                              aharlan@ coatsro se. com
                                              aharlan@coatsrose.com

                                              ATTORNEYS FOR DEFENDANT




ORIGINAL ANSWER OF  KESSLER PARK
                OF' KESSLER PARK L.P.
                                 L.P.                                           Page 3
                                                                                Page
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                   Page 63 of 189 PageID 67



                                  CERTIF'ICATE OF SERVICE
                                  CERTIFICATE     SERVICE

            undersigned hereby
        The undersigned hereby certiﬁes
                               certifies that
                                         that 0n this 18th
                                              on this 18th day of June,
                                                           day 0f June ,2020,atrue
                                                                        2020, a true and

correct copy 0f
correct copy of the foregoing instrument
                the foregoing instrument        submitted with
                                            was submitted with the
                                                               the Clerk of the
                                                                   Clerk of     l34th
                                                                            the 134th
District Court,
District Court, Dallas
                Dallas County,
                       County, Texas,
                               Texas,           served 0n
                                        and was served on the following using
                                                          the following using the e-file
                                                                              the e-ﬁle

service of the
service 0f the Court.
               Court.

Via Electronic Service
       attl Law Flrm, PLLC
VincentJ. Bhatti
State Bar N0. 24055169
Ditty S. Bhatti
State Bax N0. 24062803
14785 Plcston Road Suite    550
Dallas Texas 75254
Telephone. &214 253— 2533
Facsmlile: (2 4) 79- 0033
Email: Vincent. bhattimlbhattilawﬁrm .com
Email: ditty. bhattﬂalbﬁattllawhrm. com



                                                          /s/ Alan.I.
                                                          /s/Alan  J Harlan
                                                                  Harlan
                                                               J. Harlan
                                                          Alan J.




ORIGINAL ANSWER
ORIGINAL ANSWER OF KESSLER
                   KESSLER PARK L.P.
                                L.P                                                        Page 4
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                     Page 64 of 189 PageID 68




                                                   VERII'ICATION
                                                   VERIFICATION

    STATE OF TEXAS                  $
                                    WW)



                                    $
    COUNTY
    COI.JNTY 0F
             OF DALLAS              s
                                    §



          BEFORE ME,
          BEFORE     ME, the
                           the undersigned
                                undersigned authority,  on this
                                             authority, on  this day personally appeared
                                                                 day personally             Clifford A.
                                                                                 appeared Clifford   A.
    Booth, k¡own to
    Booth, known   to me to
                          to be
                             be the  person whose name is
                                 the person               is subscribed below, and,
                                                             subscribed below,       after having
                                                                                and, after having been
    duly sworn,
    duly swom, stated
                stated under
                       under oath
                              oath as follows:
                                   as follows:

                           “My
                           "My name is   Clifford A.
                                      is Clifford    Booth. I am over
                                                  A, Booth.       over twenty-one
                                                                     I twenty-one years of age and in
                                                                                  years of         in
                   all respects
                   all respects competent
                                competent loto make this  Aflidavit. I am
                                                     this Afﬁdavit.    am Manager of
                                                                                 l  of Westmount
                                                                                       Wes¡nount atat
                   Kessler Park G.P..
                   Kessler                             limited
                                G,P.. LLP. aa Delaware limited      liabiliw company.    which is
                                                                             company. which
                                                                         liability                     general
                                                                                                   the general
                                                                                                is the
                   partner of
                   partner of Westmount at  at Kessler
                                               Kessler Park LP,     Delaware limited
                                                              LP, a Delnware            partnership,
                                                                               limited partnership, owner ofof
                   that multi-family property
                   that multi-family   property commonly known as         "view at
                                                                       as “View   at Kessler  Park", aa named
                                                                                     Kessler Park”,
                   defendant in
                   defendant   in this  lawsuit. II have
                                  this lawsuit.       have reviewed     rvvestmount at
                                                             reviewed Westmount        at Kessler   Park LP’s
                                                                                          Kessler Park    Lp's
                   original Answar
                   Original  Answer andand the
                                             the statements    contained therein
                                                  staternents contained                  within my
                                                                                    are within
                                                                           the¡cin are           my personal
                                                                                                      personal
                   knowledge and are
                   knowledge        are true       corrcct."
                                         true and correct.”

           Further,
           Further,   Afliant saycth
                      Afﬁant  sayeth not.
                                     not,



                                               WESTMOUNT
                                               WESTMOI.JNT AT KESSLER PARK LP,
                                                                           LP,
                                               a
                                               a   Delaware limited partnership
                                                            limited partnership

                                               By:
                                               By: WESTMOUNT
                                                    WESTMOUNT AT KESSLER PARK        PARKCP LLC,
                                                                                         GP LLC,
                                               a Delaware limited
                                               a                  liability company,
                                                          limited liability company,
                                               its general
                                               its         partner
                                                   general partner



                                               Byr
                                               Name:
                                               Name
                                                          :M/wg/Bootlr
                                                        ffoﬂ'AT Boo‘th
                                               Title: Manager
                                               Title:
                                                                                         \J



           SWORN AND SUBSCRIBED TO BEFORE ME on this the
                                                this the                                     18‘“
                                                                                             l81h       of June, 2020.
                                                                                                    day ofJune,
                                                                                                    day

                                         llARTvt Etl-
                                Dlâtltl^ "ARTWELL
                                DIANNA
                                      l0
                               î{ohry ID
                               Notary      r
                                         0 12904183!
                                            129011¡30
                               My commission    ErPlrcs
                                  Commlrllon Elplns                          .


                                                                                     .
                                                                                         f          a
                                         3, 2020
                                    July 3.
                                    July
                                                              Notary Public,
                                                              Notary Public, State of Texas
                                                                             State of


   oRlGlN,\L ANSWER OF KESSLER PARK
   ORIGINAL                    P/\RK L.l'.
                                     L.P.                                                                          Pl¡rc 5
                                                                                                                   Pmc
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                            Page 65 of 189 PageID 69
                                                            JUDGE DALE TILLERY PRESIDING
                                                                     134TH JUDICIAL DISTRICT COURT
                                                                  600 Commerce St., 6th Floor, Room 650
                                                                                  Dallas, Texas 75202-4606
                                                                             214/653-7546 -- 134th Ct. Clerk
                                                                           214/653-6995    --   Ct. Coordinator
                                                                                         ﬂy@dallascourts.0rg
                                                May       18,   2020

VINCENT J BHATTI
THE BHATTI LAW FIRM PLLC
14785 PRESTON ROAD
SUITE 550
DALLAS TX          75254

          Re:     FELIX V.      CUADRADO            VS.   VIEW AT KESSLER PARK et a1
                  DC-20—03308

A11 Counsel 0f Record/Pro Se Litigants:


Pursuant to Rule 165A of the Texas Rules of Civil procedure, and the inherent power of
the Court, the above case        is   set for dismissal 0n:

                   June   19,   2020   at   10:00   AM
If    NO ANSWER has been ﬁled you are                 expected to have       moved     for a default   judgment
0n 0r prior        above stated date. Failure
                t0 the                                     t0   move   for a default   judgment   Will result in
the dismissal of the case 0n the above date.

Ifyou have been unable to obtain service of process and you Wish t0 retain the case 0n
the docket, you must appear on the above date, either by appearance at the dismissal
docket hearing 0r by a ﬁled motion to retain the case on the docket, unless you have
obtained a new setting from the court coordinator.

Sincerely,




@m/é
Presiding Judge


DBT/ﬂl
pc:    VINCENT J BHATTI




                                                          EXHIBIT
                                                           A-18
ALL PARTIES MUST BE COPIED 0N ALL WRITTEN COMMUNICATION T0 THE COURT.
                                                                                                                                            FILED
                                                                                                                                6/19/2020 4:27   PM
                                                                                                                                   FELICIA PITRE
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                       Page 66 of 189 PageID 70                 DISTRICT CLERK
                                                                                                                               DALLAS CO., TEXAS
                                                                                                                           Miranda Lynch DEPUTY




                                           NO. DC-20-03308

FELIX V. CUADRADO,                                                                          IN   THE DISTRICT COURT

                Plaintiffs,


v.                                                                                         DALLAS COUNTY, TEXAS
                                                       wwwwwmmwww




VIEW AT KESSLER PARK and,
TI   COMMUNITIES,
                                                                                                 t“
                Defendants.                                                                134        JUDICIAL DISTRICT


                           CERTIFICATE OF WRITTEN DISCOVERY

       Westmount     at   Kessler Park L.P.   ("WKPLP")                ﬁles this Certiﬁcate 0f Written Discovery


directed to Plaintiff, Felix V. Cuadrado, in this cause, pursuant t0 the applicable local rule and


states that the discovery set forth   below was served on              all   parties     on thel9th day 0f June, 2020:

        1.   Defendant Westmount      at Keller Park, L.P.’s            Request for Disclosure to          Plaintiff.




                                                                     Respectfully submitted,


                                                                     COATS          |   ROSE,     P.C.


                                                 By:                 /s/Alan       J.   Harlan
                                                                     Alan    J.   Harlan
                                                                     State   Bar No. 09010200

                                                                     600 Signature Place
                                                                     14755 Preston Road
                                                                     Dallas, Texas 75254
                                                                     (972) 788-1600 Telephone
                                                                     (972) 702-0662 Telecopy
                                                                    aharlamQCOﬂtSI‘OSC. COI’Il


                                                                    ATTORNEYS FOR DEFENDANT
                                                                    WESTMOUNT AT KESSLER PARK, L.P.

CERTIFICATE OF WRITTEN DISCOVERY                                                                                    Page   1




                                                EXHIBIT
                                                  A-19
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                             Page 67 of 189 PageID 71




                                   CERTIFICATE OF SERVICE

          The undersigned hereby   certiﬁes that   on this   19th   day 0f June, 2020, a true and

correct    copy of the foregoing instrument was submitted with the Clerk 0f the 134th

District Court, Dallas County, Texas,   and was served on the following using the e—ﬁle

service 0f the Court.


Via Electronic Service
The Bhatti Law Firm, PLLC
Vlncent J. Bhattl
State   Bar N0. 24055 1 69
D1tty S. Bhattl
State Bar No. 24062803
14785 Preston Road, Suite 550
Dallas, Texas 75254
Telephqne: €214 253-2533
Facs1mlle: (2 4) 79-0033
Email: Vincent.bhatti@bhattilawﬁrm.com
Email:     dlttV.bhatt1(a)bhatt11awhrm.com




Jackson Lewis P.C.
Kristin L. Bauer\
State Bar N0. 240068 1 3
Julie A. Farmer
State Bar N0. 24059734
500 N. Akard, Suite 2500
Dallas, Texas 75201
Telephone: (214) 520-2400
Facsimile: (214) 520-2008
Email: bauerk@iacksonlewis.com
Email: farmeri @i acksonlewis.com


                                                                /s/Alan      J.   Harlan
                                                                Alan    J.   Harlan




CERTIFICATE OF WRITTEN DISCOVERY                                                                    Page 2
                                                                                                                                   FILED
                                                                                                                      7/10/2020 11:15   AM
                                                                                                                          FELICIA PITRE
    Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                              Page 68 of 189 PageID 72             DISTRICT CLERK
                                                                                                                  DALLAS    CO., TEXAS
                                                                                                               Dorothy Strogen DEPUTY




                              RT



                                                                                    W
                  I   LBE                                                        CBS Television/CBS Tower
                                                                                 12001 N. Central Expressway
                                                                                          Suite 650
                                                                                     Dallas,   Texas 75243
                               E   D AT O N
                                    I     I
                                                                                       (214) 303/4500
                                                                                   Facsimile (214) 303/4501




                                   g     RO U P
                                                                                    cbass@gmgtexas.com




                                                    July   10,   2020

Honorable Dale Tﬂlery
134th Judicial District Court
George L Allen, Sr. Courts Bldg.
600 Commerce Street, BOX 650
Dallas, TX 75202


          RE:         Felix Cuadrado     V.   Viewat Kessler Park and TI Communities
                      Cause No. DC/20/03308

Dear Judge      Tillery:



          By agreement 0f the parties, the above/referenced case was referred t0 me for the purpose
of conducting a mediation session    Which was held onjuly 9, 2020.

       The parties were unable t0 reach a settlement at the mediation session. I Will continue
working With the parties and counsel While this matter is pending in an effort t0 resolve this
matter prior to trial. If further progress is made, I Will provide the Court With an updated report
When     appropriate.


          I   appreciate the opportunity t0 serve as mediator in this matter. Please let               me know When
I   may be 0f further service t0 the Court.

                                                      Yours very truly,


                                                      /s/
                                                            @W g
                                                      Courtenay         L Bass
                                                                                        @2146



CLB/da

CC:       Vincent]. Bhatti, Esq.
          Kristin     L.   Bauer, Esq.
         juh'e A. Farmer, Esq.



                                                            EXHIBIT
                                                                 A-20
                                                                                                                                          FILED
                                                                                                                             7/27/2020 12:20   PM
                                                                                                                                 FELICIA PITRE
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                  Page 69 of 189 PageID 73                   DISTRICT CLERK
                                                                                                                      DALLAS CO., TEXAS
                                                                                                                 Margaret Thomas DEPUTY



                                            CASE NO. DC-20-03308

FELIX V.       CUADRADO                                      §        IN   THE DISTRICT COURT OF
          Plaintiff,                                         §
                                                             §
V.                                                           §        DALLAS COUNTY, TEXAS
                                                             §
VIEW AT KESSLER PARK AND                                     §
TI COMMUNITIES                                               §
                                                                      134th   JUDICIAL DISTRICT
          Defendants.                                        §


                                     PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

          COMES        Plaintiff, Felix   Cuadrado, and ﬁles his Original Petition.             Plaintiff respectfully


shows the Court        as follows:


                           I.        RULE       190   DISCOVERY CONTROL PLAN

          1.      Plaintiff intends that discovery will               be conducted in accordance with a Level 3


discovery control plan pursuant to Rule 190.4 0f the Texas Rules 0f Civil Procedure.


          2.      Defendant seeks monetary                   relief   between $200,000 and $1,000,000.              The

damages sought         are Within the jurisdictional limits of the Court.


                                                  II.            PARTIES

          3.      The foregoing paragraphs            are hereby incorporated      by reference   as if fully set forth


herein.


          4.      Plaintiff, Felix    V. Cuadrado       is   an individual resident of Dallas County, Texas.


          5.      Defendant,      View     at   Kessler Park (hereinafter referred to as "Kessler")                 is   a


business operating and doing business in Dallas County, Texas and                      may   be served With process


by delivery    to its property location at        2511 Wedglea         Dr., Dallas,   TX   75211 or wherever   it   may

be found.




                                                                 EXHIBIT
Plaintiff” s First   Amended Petition                                                                          Page
                                                                  A-21                                                   1
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                  Page 70 of 189 PageID 74



          6.     Defendant, TI Communities (hereinafter referred to as “TIC”) is a business

operating and doing business in Dallas County, Texas and may be served with process by

delivery to its corporate headquarters located at 1125 Executive Circle, Suite 100, Irving, TX

75038.

                                      III.   JURISDICTION

          7.     The foregoing paragraphs are hereby incorporated by reference as if fully set forth

herein.

          8.     This Court has jurisdiction over this cause of action because it involves an amount

in controversy within the original jurisdiction of the Court, transacts business in the State of

Texas. This State has personal jurisdiction over this Defendant because it has purposefully

availed itself of the privilege of conducting activities in the State of Texas, specifically Dallas

County. The cause of actions complained of and the events that transpired took place in Dallas

County and, thereby, confers specific jurisdiction with respect to said Defendant. Furthermore,

Defendants have engaged in activities constituting business in the State of Texas, specifically

Dallas County.

          9.     Venue is proper in this Court because all or a substantial part of the events or

omissions giving rise to the claim occurred in Dallas County, Texas and pursuant to Tex. Civ.

Prac. and Rem. Code § 15.002, because Defendants operate in Dallas County and maintain

offices in Dallas County.

          10.    All conditions precedent to recovery have been performed, waived, or have

occurred.




Plaintiff’s First Amended Petition                                                          Page 2
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                 Page 71 of 189 PageID 75



                              IV.     FACTUAL BACKGROUND

          11.   The foregoing paragraphs are hereby incorporated by reference as if fully set forth

herein.

          12.   On or about February 26, 2018, Mr. Felix V. Cuadrado (“Cuadrado”) was hired

by Defendants as a Technician Director in Maintenance for service at an apartment building

named View at Kessler Park (“View”).

          13.   Shortly after Mr. Cuadrado’s arrival, the building manager at the View left his/her

position and was replaced by an interim manager named Jessica.

          14.   Jessica informed Mr. Cuadrado that her boyfriend had a company that would

bring maintenance personnel to the View and expressed an intention to terminate Mr. Cuadrado’s

crew.

          15.   Mr. Cuadrado advocated for his team to continue retaining their positions.

          16.   Jessica began retaliating against Mr. Cuadrado systematically by harassing him

verbally, through job assignments and micromanaging every aspect of his job.

          17.   About one week prior to his termination, Mr. Cuadrado called Christine and

Kathleen Ball at the corporate TI Communities office to report Jessica’s harassing behavior.

          18.   Both Kathleen and Christine stated they would speak with Jessica about the

matter.

          19.   Shortly thereafter, Jessica was removed as interim manager at the View to

continuing her work as manager of another TI Community property called the Carlton.

          20.   Nevertheless, on or about March 1, 2019, Jessica sent her lead maintenance

person, Brian, with a pick-up truck to pick up a couple stoves at the View to be transferred to the

Carlton.




Plaintiff’s First Amended Petition                                                           Page 3
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                  Page 72 of 189 PageID 76



        21.     Typically, a person would pick-up the items in the back of the property to avoid

disruption for residents, staff and potential residents in the front. Nevertheless, Brian insisted he

pick-up the stoves in the front of the property and demanded that Mr. Cuadrado bring the stoves

to the front.

        22.     Mr. Cuadrado brought the stoves to the front, as instructed, and helped Brian load

them into his truck.

        23.     Later that day, Mr. Cuadrado was called into the front office and told by Christine

that he had stolen two stoves from the property. Mr. Cuadrado explained that he brought the

stoves to the front and loaded them into Brian’s truck, as instructed.

        24.     TI Management ignored Mr. Cuadrado’s explanation and insisted that they had

him on a video stealing the stoves.

        25.     Mr. Cuadrado was then terminated from his position.

        26.     TI Management insisted that Mr. Cuadrado take off his company T-Shirt and coat.

        27.     Mr. Cuadrado complied and was shamefully escorted off the property, without a

shirt, through the lobby of the property in front of residents and employees.

        28.     On all knowledge and belief, Defendants did not call the police, initiate a criminal

investigation or otherwise investigate the matter themselves before terminating Mr. Cuadrado.

        29.     Defendants called Mr. Cuadrado a thief and published that facts to residents and

employees and Plaintiff’s prospective employers.

        30.     Plaintiff applied for several positions after leaving Defendant. He was initially

offered the jobs contingent upon a reference check. In each case, Plaintiff was not offered the

job after the prospective employer contacted Defendants.




Plaintiff’s First Amended Petition                                                           Page 4
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                  Page 73 of 189 PageID 77



        31.     Based on all information and knowledge, Defendants published the false

accusation that Plaintiff was a thief to Plaintiff’s prospective employers which prevented him

from securing similar jobs.

        32.     Approximately six (6) months after starting his employment with Defendants,

Plaintiff was promised an unconditional bonus of approximately $10,000.00 upon sale of the

building as an incentive to go above and beyond in making improvements and maintaining the

building to prepare it for sale.

        33.     Plaintiff made extraordinary efforts to help Defendants accomplish this goal.

        34.     After six (6) months of working, Plaintiff was told by Defendants that he would

receive a $10,000.00 bonus upon sale of the building.

        35.     The only condition for Plaintiff to receive the bonus was that the building must

sell.

        36.     The building did sell shortly after Plaintiff was wrongfully terminated.

        37.     Upon all knowledge and belief, this bonus was offered to incentivize Plaintiff to

go above and beyond in preparing the building for sale and for him to continue working at the

job.

        38.     Plaintiff did both.

        39.     The building required over a million dollars worth of repair to make sure the

elevators were safe and up to date.

        40.     Plaintiff learned the procedures from the elevator contractor and saved

Defendants thousands of dollars by knowing how to make the repair himself.

        41.     Defendants needed to repair the entire roof of the building for millions of dollars

because the roof would flood during each rainstorm.




Plaintiff’s First Amended Petition                                                         Page 5
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                       Page 74 of 189 PageID 78



           42.      Plaintiff solved this        problem by purchasing water pumps                that turned   on during the

rainstorms and         pumped      the water off the building’s roof.               This saved Defendants millions 0f


dollars.


           43.      Plaintiff   hung signage on            the building using makeshift ladders              and procedures

putting his      own   life at risk to   save Defendant’s thousands 0f dollars.


           44.      Plaintiff   wired and provided lighting in the parking                  lot    Without needed another


contractor saving Defendants thousands 0f dollars.


           45.      Plaintiff   found that the previous         HVAC person had mixed two                  different types    0f


Freon in several A/C units               t0 save   money.      The proposed ﬁx was            t0   completely replace the


HVAC       units.      Plaintiff   modiﬁed       the   HVAC     units     Which saved the Defendants hundreds of

thousands 0f dollars in replacement costs for                HVAC units.
           46.      After he accomplished this goal, Defendants then concocted a false scenario to


justify Plaintiff’s      summary      termination and failed t0 pay              him   the promised bonus       upon   sale   0f


the building     Which occurred shortly           after Plaintiff” s termination.


           47.      Mr. Cuadrado believes           that   he was   set   up   for termination intentionally.


           48.      Plaintiff has    been damaged as a direct             result   of Defendant’s acts/omissions.


                                            V.         CAUSES OF ACTION

Defamation Per Se

           49.      The foregoing paragraphs           are hereby incorporated           by reference   as if fully set forth


herein.


           50.      Defendants called Mr. Cuadrado a thief and used                            this   as    a basis    for his


termination.




Plaintiff” s First     Amended Petition                                                                                Page 6
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                               Page 75 of 189 PageID 79



          51.      Defendants were informed by Mr. Cuadrado that he was not a thief and that he


provided the stoves to another employee               named Brian who worked          at the Carlton,   another TI


Communities property, as instructed by his            superiors.


          52.      Nevertheless, Defendants continued t0 call Mr. Cuadrado a thief and published


the   same   to residents,   employees and prospective employers.

          53.      Defendants’     statements    are    assumed    t0    be defamatory because calling Mr.


Cuadrado a thief labels him as someone who committed a crime of moral                      turpitude.


          54.      Defendants’ statements are so obviously harmful that n0 proof 0f injurious effect


is   necessary.


          55.      Defendants’ actions and statements were intentional and/or negligent.


          56.      Defendants knew 0r should have              known     that   Mr. Cuadrado did not     steal the


stoves.


          Tortious Interference With Prospective Business Relationship


          57.      The foregoing paragraph       is   incorporated as if fully set forth herein.


          58.      Plaintiff applied   and interviewed for several jobs           after   he was terminated from


Defendants.


          59.      On   at least three (3)   occasions, Plaintiff       was   offered the job contingent   upon a

reference check.


          60.      After the prospective employers contacted Defendants, Plaintiff’s job offer                was

withdrawn because they were told         that   Mr. Cuadrado was terminated for being a thief which was

a knowingly false statement.




Plaintiff” s First   Amended Petition                                                                      Page 7
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                 Page 76 of 189 PageID 80



           61.      Plaintiff has   been unable to secure a position similar             t0 his previous position     with


Defendant and has been forced            t0 take    0n a   lesser position With lesser         pay   t0 provide for his


family.


           62.      Plaintiff   had a reasonable probability        to enter into        an employment relationship


With each of the prospective employers.


           63.      Defendants clearly knew that Plaintiff was not a thief as they themselves ordered


him t0 load up      the stoves   on the truck 0f another one of Defendants employees.

           64.      By communicating         that    Plaintiff    was a     thief    t0     Defendant’s    prospective


employers, they had a conscious desire 0r were substantially conscious 0r certain that Defendant


would not obtain      the position With a prospective employer          by communicating he was a            thief.



           65.      The   Defendants      actions    were     independently         tortious    because     they      were

defamatory and more speciﬁcally constituted defamation per                  se.



           66.      Defendants’ interference caused Plaintiff not to obtain the jobs With prospective


employers.


           67.      Plaintiff has not   been able    to secure a similar level job t0 the            one he held with


Defendants after leaving and therefore has suffered damages proximately caused by Defendants’


actions.


          Negligent/Intentional Misrepresentation


           68.      Plaintiff incorporates all paragraphs        above as   if stated herein.



           69.      Plaintiff relied   upon Defendants representation             that   he would obtain a $10,000


bonus      in    making   his   decision t0 take these        actions   and continue           his   employment With

Defendants.




Plaintiff” s First   Amended Petition                                                                           Page     8
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                              Page 77 of 189 PageID 81



        70.      Defendants either knew 0r should have                 known         at   the time 0f    making the

representation that they    would not pay the bonus        t0 Plaintiff.


        71.      Defendants failed to pay the $10,000.00 bonus upon sale 0f the building.


        72.      Plaintiff suffered injury      by relying on Defendants’          misrepresentations.


        Breach 0f Contract

        73.      Plaintiff incorporates all previous paragraphs as if fully state herein.


        74.      Defendants offered t0 pay Plaintiff a $10,000 bonus upon sale of the buildingin


exchange for Plaintiff staying      at the   job and helping t0 get the building ready for          sale.



        75.      Plaintiff accepted the offer.


        76.      Defendants sold the building.


        77.      Defendants breached the agreement by failing t0 pay the $10,000 bonus as agreed.


        78.      Plaintiff suffered   damages      as a result 0f the breach.


        Promissorv Estoppel      (in the alternative t0      breach 0f contract)

        79.      Plaintiff incorporates all previous paragraphs as if fully set forth herein.


         80.     Defendants promised a $10,000 bonus to Plaintiff upon sale of the building.


         81.     Plaintiff relied   on   this   promise by continuing his employment With Defendants

and going above-beyond       to help the building      be prepared for     sale.



         82.     Defendants failed t0 pay the $10,000 bonus as promised.


         83.     Plaintiff suffered   damage      as a result.


         Quantum Meruit

         84.     Plaintiff incorporates all previous paragraphs as if fully set forth herein.


         85.     Plaintiff provided        valuable    services   and used         his    own   personal tools   and

equipment in providing services       t0   Defendants t0 prepare the building for           sale.




Plaintiff” s First   Amended Petition                                                                        Page 9
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                Page 78 of 189 PageID 82



          86.       Defendants gladly accepted the services provided by               Plaintiff.



          87.       Defendant was reasonably 0n notice that Plaintiff expected                     t0   be paid for the


services he provided t0 Defendant including but not limited to the $10,000 bonus.




          Intentional Inﬂiction ofEmotiomtl Distress


          88.       Plaintiff incorporates all previous paragraphs as if fully set forth herein.


          89.       Defendants acted intentionally and recklessly by calling Plaintiff a thief with


absolutely n0 signiﬁcant evidence t0 justify such a statement.


          90.       Defendants ordered Plaintiff t0 bring two stoves from the basement to be loaded


on the truck of another one 0f Defendants’ employees.

          91.       Plaintiff complied as instructed.


          92.       Defendants then turned around and accused Plaintiff of being a                  thief.



          93.       Defendants then ordered Plaintiff to take off his jacket and T-shirt With their logos


and leave the building.

          94.       Plaintiff    was forced    t0   remove   his shirt   and jacket   in front   0f fellow employees


and residents the apartment leasing ofﬁce and walk out 0f the building With completely no

clothes   on    his chest.


          95.       Plaintiff was   shamed and humiliated and accused 0f being a              thief.



          96.       T0   date,   Defendants have consistently claimed they have a Video Which shows


Plaintiff stealing    two    (2) stoves, but   have consistently refused      to provide   such Video.


          97.       His termination and his            label   as   a thief throughout        the       DFW   apartment


community has caused plaintiff signiﬁcant/severe emotional                   distress.


                                         VII.        PRESERVING EVIDENCE



Plaintiff” s First   Amended Petition                                                                          Page 10
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                 Page 79 of 189 PageID 83



       98.     Plaintiff requests and demand that Defendant preserve and maintain all evidence

pertaining to any claim or defense related to the incident made the basis of this lawsuit or the

damages resulting there from, including statements, photographs, videotapes, audiotapes,

surveillance or security tapes or information, business or medical records, incident reports, claim

files, policy files, periodic reports, financial statements, bills, telephone call slips or records,

estimates, invoices, checks, measurements, correspondence, facsimiles, email, voice mail, text

messages, and any electronic image or information related to the referenced incident or damages.

Failure to maintain such items will constitute “spoliation” of the evidence.

                                           IX.     DAMAGES

       99.     Plaintiff re-asserts and re-alleges everything contained in the preceding

paragraphs.

       100.    The above described acts, omissions, failures and conduct of Defendant have

caused Plaintiff damages which include, without limitation, the costs associated with actual

damages, presumed damages, punitive damages, and consequential damages from Defendants’

actions.

                                     X.   EXEMPLARY DAMAGES

       101.    Defendants’ statements about Plaintiff were done intentionally, with a conscious

indifference to the rights and welfare of Plaintiff and with "malice" as that term is defined in

Chapter 41 of the Texas Civil Practice and Remedies Code.

       102.    These violations by Defendants are the type of conduct which the State of Texas

protects its citizen against by the imposition of exemplary damages. Therefore, Plaintiff seeks

the recovery of exemplary damages in an amount to be determined by the finder of fact that is




Plaintiff’s First Amended Petition                                                         Page 11
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                   Page 80 of 189 PageID 84



sufficient to punish Defendants for their wrongful conduct and to set an example to deter

Defendants and others similarly situated from committing similar acts in the future

                              XI.     ATTORNEYS’ FEES AND COSTS

       103.    Plaintiff integrates all preceding paragraphs as if fully set forth herein and further

incorporate by reference herein all preceding paragraphs hereto.

       104.    Plaintiff seeks recovery of their reasonable and necessary attorneys’ fees, costs

and expenses through trial and all appeals under applicable Texas law.

       105.    Plaintiff has been required to obtain legal counsel as a result of Defendants’

intentional acts and omissions. As a result, Plaintiff has and will incur attorney’s fees and

expenses prosecuting their claims. Plaintiff is therefore entitled to recover their reasonable and

necessary attorney’s fees.

                                             XII.    JURY DEMAND

       106.    Plaintiff adopts the preceding paragraphs as if fully set forth herein.

       107.    Plaintiff requests that a jury be convened to try the factual issues in this action.

                                XIII. REQUEST FOR DISCLOSURE

       108.            Plaintiff hereby request that each party disclose within fifty (50) days of

the service of this request, the information and material subject to disclosure subject to disclosure

pursuant to Rules 190.2(b)(6) and 194.2.

       109.    This request does not extend nor in any way alter the time for the filing an answer

by any Defendant; Plaintiff reserves the right to move for a default judgment against any

Defendant that fails to timely answer or appear.

                XIV. NOTICE OF INTENT TO USE PRODUCED DOCUMENTS




Plaintiff’s First Amended Petition                                                           Page 12
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                   Page 81 of 189 PageID 85



         110.      Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, each party is

hereby given notice of Plaintiff’s intent to use any and all documents produced by any and all

parties at any pretrial hearing, depositions, proceedings, through discovery, the trial of this

matter, or any combination. See Tex. R. Civ. P. 193.7.

            XV.       NOTICE OF DUTY TO SUPPLEMENT AND AMEND DISCOVERY

                                            RESPONSE

         111.      Pursuant to Rules 193.5 and 195.6 of the Texas Rules of Civil Procedure, each

party is hereby requested to take notice of his, her, or its duty to amend or supplement

incomplete or incorrect responses to written discovery reasonably promptly after the necessity

for such a response is discovered. See Tex. R. Civ. P. 193.5(a), (b); see also Tex. R. Civ. P.

195.6.

                                             XVI. PRAYER

                   WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendant be

cited to appear and answer herein, and that upon trial hereof, said Plaintiff has and recover such

sums as would reasonably and justly compensate them in accordance with the rules of law and

procedure, both as to actual damages, consequential damages, and all punitive, additional, and

exemplary damages as may be found.

         In addition, Plaintiff requests the award of attorney's fees for the trial and any appeal of

this case, for all costs of court, for prejudgment and post judgment interest as allowed by law,

and for any other and further relief, at law or in equity, to which they may show themselves to be

justly entitled.

         DATED:           July 27, 2020                       Respectfully submitted,

                                                              The Bhatti Law Firm, PLLC




Plaintiff’s First Amended Petition                                                          Page 13
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20      Page 82 of 189 PageID 86



                                               /s/   Vincent   J.   Bhatti
                                               Vincent   J.   Bhatti
                                               State   Bar N0. 24055 1 69
                                               Ditty S. Bhatti
                                               State Bar N0. 24062803
                                               14785 Preston Road, Suite 550
                                               Dallas, TX 75254
                                               Telephone: (214) 253-2533
                                               Facsimile: (214) 279-0033
                                               Vincent.bhatti@bhattilawﬁrm.com
                                               ditty.bhatti@bhattilawﬁrm.com
                                               ATTORNEYS FOR PLAINTIFF
                                               FELIX CUADRADO




Plaintiff” s First   Amended Petition                                        Page 14
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                               Page 83 of 189 PageID 87



                                              CERTIFICATE OF SERVICE
        The undersigned      certiﬁes that a      copy 0f the foregoing instrument was served upon the
attorneys 0f record 0f all parties      by   electronic mail and/or facsimile      on July 27, 2020:


                          Kristin L.    Bauer and    Julie   A. Farmer
                          Jackson Lewis, P.C.
                          500 N. Akard, Suite 2500
                          Dallas,     TX 75201
                          Fax: (214) 520-2008
                          bauerk@j acksonlewis.com
                          farmer@j acksonlewis.com


                          Alan   J.   Harlan
                          Coats Rose, P.C.
                          600 Signature Place
                           14755 Preston Road
                          Dallas,     TX 75254
                          Fax: (972) 702-0662
                          aharlan@coatsrose.com




                                                                Vincent   J.   Bhatti




Plaintiff” s First   Amended Petition                                                                  Page 15
     Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20 Page 84 of 189 PageID 88
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that            complies with       all   applicable rules.

Ditty Bhatti on behalf of Vincent Bhatti
Bar No. 24055169
ditty.bhatti@bhattilawfirm.com
Envelope ID: 44846711
Status as of 07/27/2020 12:30:27                   PM    -O5:OO

Associated Case Party:             FELIXV.CUADRADO

 Name                  BarNumber    Email                                 TimestampSubmitted        Status

 Ditty Bhatti          24062803     ditty.bhatti@bhattilawfirm.com        7/27/2020 12:20:18   PM SENT
VincentBhatti                       Vincent.bhatti@bhattilawfirm.com      7/27/202012:20:18PM       SENT


Associated Case Party:            VIEW AT KESSLER PARK

 Name                  BarNumber     Email                           TimestampSubmitted        Status

 Kristin     L.Bauer                 bauerk@jacksonlewis.com         7/27/2020 12:20:18   PM SENT
Julie   A.Farmer                     farmerj@jacksonlewis.com        7/27/2020 12:20:18   PM SENT


Associated Case Party: TI           COMMUNITIES

 Name                  BarNumber     Email                           TimestampSubmitted        Status

Julie   A.Farmer                     farmerj@jacksonlewis.com        7/27/2020 12:20:18   PM SENT
 Kristin     L.Bauer                 bauerk@jacksonlewis.com         7/27/2020 12:20:18   PM SENT


Case Contacts

 Name                    BarNumber     Email                                   TimestampSubmitted        Status

 Dallas Docketing                      DallasDocketing@jacksonlewis.com        7/27/2020 12:20:18   PM SENT
Alan    J.   Harlan      9010200       aharlan@coatsrose.com                   7/27/2020 12:20:18   PM SENT
Sidney Perkins                         sperkins@coatsrose.com                  7/27/2020 12:20:18   PM SENT
 Nancy Blum                            nancy.blum@jacksonlewis.com             7/27/2020 12:20:18   PM SENT
 Francine Ly                          fly@dallascourts.org                     7/27/2020 12:20:18   PM SENT
                                                                                                                                          FILED
                                                                                                                              7/27/2020 4:26   PM
                                                                                                                                 FELICIA PITRE
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                   Page 85 of 189 PageID 89                  DISTRICT CLERK
                                                                                                                       DALLAS CO., TEXAS
                                                                                                                  Margaret Thomas DEPUTY



                                             CASE NO. DC-20-03308

FELIX V.       CUADRADO                                       §        IN   THE DISTRICT COURT OF
          Plaintiff,                                          §
                                                              §
V.                                                            §        DALLAS COUNTY, TEXAS
                                                              §
VIEW AT KESSLER PARK AND                                      §
TI COMMUNITIES                                                §
                                                                       134th   JUDICIAL DISTRICT
          Defendants.                                         §


                                PLAINTIFF’S FIRST                 AMENDED PETITION
TO THE HONORABLE JUDGE OF SAID COURT:

          COMES        Plaintiff, Felix   Cuadrado, and ﬁles his Original Petition.              Plaintiff respectfully


shows the Court        as follows:


                           I.        RULE        190   DISCOVERY CONTROL PLAN

          1.      Plaintiff intends that discovery will                be conducted in accordance with a Level 3


discovery control plan pursuant to Rule 190.4 0f the Texas Rules 0f Civil Procedure.


          2.      Defendant seeks monetary                    relief   between $200,000 and $1,000,000.              The

damages sought         are Within the jurisdictional limits of the Court.


                                                   II.            PARTIES

          3.      The foregoing paragraphs             are hereby incorporated      by reference   as if fully set forth


herein.


          4.      Plaintiff, Felix   V. Cuadrado         is   an individual resident of Dallas County, Texas.


          5.      Defendant,      View      at   Kessler Park (hereinafter referred to as "Kessler")                 is   a


business operating and doing business in Dallas County, Texas and                       may   be served With process


by delivery    to its property location at         2511 Wedglea         Dr., Dallas,   TX   75211 or wherever   it   may

be found.




                                                                  EXHIBIT
Plaintiff” s First   Amended     Petition                                                                       Page      1

                                                                   A-22
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                  Page 86 of 189 PageID 90



          6.     Defendant, TI Communities (hereinafter referred to as “TIC”) is a business

operating and doing business in Dallas County, Texas and may be served with process by

delivery to its corporate headquarters located at 1125 Executive Circle, Suite 100, Irving, TX

75038.

                                      III.   JURISDICTION

          7.     The foregoing paragraphs are hereby incorporated by reference as if fully set forth

herein.

          8.     This Court has jurisdiction over this cause of action because it involves an amount

in controversy within the original jurisdiction of the Court, transacts business in the State of

Texas. This State has personal jurisdiction over this Defendant because it has purposefully

availed itself of the privilege of conducting activities in the State of Texas, specifically Dallas

County. The cause of actions complained of and the events that transpired took place in Dallas

County and, thereby, confers specific jurisdiction with respect to said Defendant. Furthermore,

Defendants have engaged in activities constituting business in the State of Texas, specifically

Dallas County.

          9.     Venue is proper in this Court because all or a substantial part of the events or

omissions giving rise to the claim occurred in Dallas County, Texas and pursuant to Tex. Civ.

Prac. and Rem. Code § 15.002, because Defendants operate in Dallas County and maintain

offices in Dallas County.

          10.    All conditions precedent to recovery have been performed, waived, or have

occurred.




Plaintiff’s First Amended Petition                                                          Page 2
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                 Page 87 of 189 PageID 91



                              IV.     FACTUAL BACKGROUND

          11.   The foregoing paragraphs are hereby incorporated by reference as if fully set forth

herein.

          12.   On or about February 26, 2018, Mr. Felix V. Cuadrado (“Cuadrado”) was hired

by Defendants as a Technician Director in Maintenance for service at an apartment building

named View at Kessler Park (“View”).

          13.   Shortly after Mr. Cuadrado’s arrival, the building manager at the View left his/her

position and was replaced by an interim manager named Jessica.

          14.   Jessica informed Mr. Cuadrado that her boyfriend had a company that would

bring maintenance personnel to the View and expressed an intention to terminate Mr. Cuadrado’s

crew.

          15.   Mr. Cuadrado advocated for his team to continue retaining their positions.

          16.   Jessica began retaliating against Mr. Cuadrado systematically by harassing him

verbally, through job assignments and micromanaging every aspect of his job.

          17.   About one week prior to his termination, Mr. Cuadrado called Christine and

Kathleen Ball at the corporate TI Communities office to report Jessica’s harassing behavior.

          18.   Both Kathleen and Christine stated they would speak with Jessica about the

matter.

          19.   Shortly thereafter, Jessica was removed as interim manager at the View to

continuing her work as manager of another TI Community property called the Carlton.

          20.   Nevertheless, on or about March 1, 2019, Jessica sent her lead maintenance

person, Brian, with a pick-up truck to pick up a couple stoves at the View to be transferred to the

Carlton.




Plaintiff’s First Amended Petition                                                           Page 3
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                  Page 88 of 189 PageID 92



        21.     Typically, a person would pick-up the items in the back of the property to avoid

disruption for residents, staff and potential residents in the front. Nevertheless, Brian insisted he

pick-up the stoves in the front of the property and demanded that Mr. Cuadrado bring the stoves

to the front.

        22.     Mr. Cuadrado brought the stoves to the front, as instructed, and helped Brian load

them into his truck.

        23.     Later that day, Mr. Cuadrado was called into the front office and told by Christine

that he had stolen two stoves from the property. Mr. Cuadrado explained that he brought the

stoves to the front and loaded them into Brian’s truck, as instructed.

        24.     TI Management ignored Mr. Cuadrado’s explanation and insisted that they had

him on a video stealing the stoves.

        25.     Mr. Cuadrado was then terminated from his position.

        26.     TI Management insisted that Mr. Cuadrado take off his company T-Shirt and coat.

        27.     Mr. Cuadrado complied and was shamefully escorted off the property, without a

shirt, through the lobby of the property in front of residents and employees.

        28.     On all knowledge and belief, Defendants did not call the police, initiate a criminal

investigation or otherwise investigate the matter themselves before terminating Mr. Cuadrado.

        29.     Defendants called Mr. Cuadrado a thief and published that facts to residents and

employees and Plaintiff’s prospective employers.

        30.     Plaintiff applied for several positions after leaving Defendant. He was initially

offered the jobs contingent upon a reference check. In each case, Plaintiff was not offered the

job after the prospective employer contacted Defendants.




Plaintiff’s First Amended Petition                                                           Page 4
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                  Page 89 of 189 PageID 93



        31.     Based on all information and knowledge, Defendants published the false

accusation that Plaintiff was a thief to Plaintiff’s prospective employers which prevented him

from securing similar jobs.

        32.     Approximately six (6) months after starting his employment with Defendants,

Plaintiff was promised an unconditional bonus of approximately $10,000.00 upon sale of the

building as an incentive to go above and beyond in making improvements and maintaining the

building to prepare it for sale.

        33.     Plaintiff made extraordinary efforts to help Defendants accomplish this goal.

        34.     After six (6) months of working, Plaintiff was told by Defendants that he would

receive a $10,000.00 bonus upon sale of the building.

        35.     The only condition for Plaintiff to receive the bonus was that the building must

sell.

        36.     The building did sell shortly after Plaintiff was wrongfully terminated.

        37.     Upon all knowledge and belief, this bonus was offered to incentivize Plaintiff to

go above and beyond in preparing the building for sale and for him to continue working at the

job.

        38.     Plaintiff did both.

        39.     The building required over a million dollars worth of repair to make sure the

elevators were safe and up to date.

        40.     Plaintiff learned the procedures from the elevator contractor and saved

Defendants thousands of dollars by knowing how to make the repair himself.

        41.     Defendants needed to repair the entire roof of the building for millions of dollars

because the roof would flood during each rainstorm.




Plaintiff’s First Amended Petition                                                         Page 5
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                      Page 90 of 189 PageID 94



           42.      Plaintiff solved this        problem by purchasing water pumps               that turned   on during the

rainstorms and         pumped      the water off the building’s roof.              This saved Defendants millions of


dollars.


           43.      Plaintiff   hung signage on           the building using makeshift ladders and procedures


putting his      own   life at risk t0   save Defendant’s thousands 0f dollars.


           44.      Plaintiff   wired and provided lighting in the parking                 lot    Without needed another


contractor saving Defendants thousands 0f dollars.


           45.      Plaintiff   found that the previous        HVAC person had mixed two                  different types 0f


Freon in several         NC    units to save       money.     The proposed ﬁx was            t0   completely replace the


HVAC       units.      Plaintiff   modiﬁed       the   HVAC    units     which saved the Defendants hundreds of

thousands 0f dollars in replacement costs for               HVAC units.
           46.      After he accomplished this goal, Defendants then concocted a false scenario to


justify Plaintiff’s      summary      termination and failed t0 pay             him   the promised    bonus upon     sale   0f


the building     which occurred shortly          after Plaintiff” s termination.


           47.      Mr. Cuadrado believes          that   he was   set   up   for termination intentionally.


           48.      Plaintiff has    been damaged as a direct            result   of Defendant’s acts/omissions.


                                            V.         CAUSES OF ACTION

Defamation Per Se

           49.      The foregoing paragraphs           are hereby incorporated         by reference    as if fully set forth


herein.


           50.      Defendants called Mr. Cuadrado a thief and used                           this   as   a basis   for his


termination.




Plaintiff’s First      Amended     Petition                                                                          Page 6
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                  Page 91 of 189 PageID 95



          51.      Defendants were informed by Mr. Cuadrado that he was not a thief and that he


provided the stoves t0 another employee                 named Brian Who worked           at the Carlton,   another TI


Communities property,         as instructed   by his     superiors.


          52.      Nevertheless, Defendants continued t0 call Mr. Cuadrado a thief and published


the   same   to residents,   employees and prospective employers.

          53.      Defendants’     statements      are    assumed     t0    be defamatory because calling Mr.


Cuadrado a thief labels him as someone who committed a crime of moral                         turpitude.


          54.      Defendants’ statements are so obviously harmful that n0 proof 0f injurious effect


is   necessary.


          55.      Defendants’ actions and statements were intentional and/or negligent.


          56.      Defendants knew 0r should have                known      that   Mr. Cuadrado did not     steal the


stoves.


          Tortious Interference With Prospective Business Relationship


          57.      The foregoing paragraph         is   incorporated as if fully set forth herein.


          58.      Plaintiff applied   and interviewed for several jobs              after   he was terminated from


Defendants.


          59.      On   at least three (3)    occasions, Plaintiff         was offered   the job contingent   upon a

reference check.


          60.      After the prospective employers contacted Defendants, Plaintiff’s job offer                   was

withdrawn because they were told           that   Mr. Cuadrado was terminated for being a thief which was

a knowingly false statement.




Plaintiff’s First   Amended     Petition                                                                      Page 7
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                   Page 92 of 189 PageID 96



           61.      Plaintiff has   been unable    t0 secure a position similar to his previous position                With


Defendant and has been forced            t0 take      on a   lesser position With lesser         pay   t0 provide for his


family.


           62.      Plaintiff   had a reasonable probability          to enter into        an employment relationship


With each of the prospective employers.


           63.      Defendants clearly knew that Plaintiff was not a thief as they themselves ordered


him t0 load up      the stoves   on the truck 0f another one of Defendants employees.

           64.      By communicating          that     Plaintiff    was a     thief    t0    Defendant’s     prospective


employers, they had a conscious desire or were substantially conscious 0r certain that Defendant


would not obtain      the position With a prospective employer            by communicating he was a            thief.



           65.      The   Defendants        actions    were     independently         tortious    because     they      were

defamatory and more speciﬁcally constituted defamation per                    se.



           66.      Defendants’ interference caused Plaintiff not t0 obtain the jobs with prospective


employers.


           67.      Plaintiff has not   been able      to secure a similar level job t0 the            one he held with


Defendants after leaving and therefore has suffered damages proximately caused by Defendants’


actions.


          Negligent/Intentional Misrepresentation


           68.      Plaintiff incorporates all paragraphs          above as   if stated herein.



           69.      Plaintiff relied   upon Defendants representation               that   he would obtain a $10,000


bonus      in    making   his   decision t0 take these          actions   and continue           his   employment With

Defendants.




Plaintiff’s First   Amended      Petition                                                                         Page     8
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                               Page 93 of 189 PageID 97



        70.     Defendants either knew 0r should have                   known        at   the time 0f   making the

representation that they   would not pay the bonus          t0 Plaintiff.


        71.     Defendants failed to pay the $10,000.00 bonus upon sale 0f the building.


        72.     Plaintiff suffered injury       by   relying 0n Defendants’ misrepresentations.


        Breach 0f Contract

        73.     Plaintiff incorporates all previous paragraphs as if fully state herein.


        74.     Defendants offered t0 pay Plaintiff a $10,000 bonus upon sale 0f the buildingin


exchange for Plaintiff staying     at the   job and helping t0 get the building ready for           sale.



        75.     Plaintiff accepted the offer.


        76.     Defendants sold the building.


        77.     Defendants breached the agreement by failing to pay the $10,000 bonus as agreed.


        78.     Plaintiff suffered   damages         as a result of the breach.


        Promissorv Estoppel      (in the alternative t0       breach 0f contract)

        79.     Plaintiff incorporates all previous paragraphs as if fully set forth herein.


        80.     Defendants promised a $10,000 bonus t0 Plaintiff upon sale 0f the building.


        81.     Plaintiff relied   on    this   promise by continuing his employment With Defendants


and going above-beyond      to help the building        be prepared for     sale.



        82.     Defendants failed t0 pay the $10,000 bonus as promised.


        83.     Plaintiff suffered   damage      as a result.


        Quantum Meruit

        84.     Plaintiff incorporates all previous paragraphs as if fully set forth herein.


        85.     Plaintiff provided        valuable      services   and used         his   own   personal tools   and

equipment in providing services      t0   Defendants t0 prepare the building for            sale.




Plaintiff’s First   Amended   Petition                                                                      Page 9
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                Page 94 of 189 PageID 98



          86.       Defendants gladly accepted the services provided by               Plaintiff.



          87.       Defendant was reasonably 0n notice that Plaintiff expected                     t0   be paid for the


services he provided to Defendant including but not limited to the $10,000 bonus.




          Intentional Inﬂiction ofEmotiomtl Distress


          88.       Plaintiff incorporates all previous paragraphs as if fully set forth herein.


          89.       Defendants acted intentionally and recklessly by calling Plaintiff a thief with


absolutely n0 signiﬁcant evidence t0 justify such a statement.


          90.       Defendants ordered Plaintiff t0 bring two stoves from the basement to be loaded


0n the truck 0f another one 0f Defendants’ employees.

          91.       Plaintiff complied as instructed.


          92.       Defendants then turned around and accused Plaintiff of being a                 thief.



          93.       Defendants then ordered Plaintiff t0 take off his jacket and T-shirt With their logos


and leave the building.

          94.       Plaintiff    was forced    t0   remove   his shirt   and jacket   in front   of fellow employees


and residents the apartment leasing ofﬁce and walk out of the building With completely n0

clothes   on    his chest.


          95.       Plaintiff was   shamed and humiliated and accused 0f being a              thief.



          96.       T0   date,   Defendants have consistently claimed they have a Video Which shows


Plaintiff stealing    two    (2) stoves, but   have consistently refused      to provide   such Video.


          97.       His termination and his            label   as   a thief throughout the          DFW      apartment


community has caused plaintiff signiﬁcant/severe emotional                   distress.


                                         VII.        PRESERVING EVIDENCE



Plaintiff” s First   Amended      Petition                                                                     Page 10
 Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                 Page 95 of 189 PageID 99



       98.     Plaintiff requests and demand that Defendant preserve and maintain all evidence

pertaining to any claim or defense related to the incident made the basis of this lawsuit or the

damages resulting there from, including statements, photographs, videotapes, audiotapes,

surveillance or security tapes or information, business or medical records, incident reports, claim

files, policy files, periodic reports, financial statements, bills, telephone call slips or records,

estimates, invoices, checks, measurements, correspondence, facsimiles, email, voice mail, text

messages, and any electronic image or information related to the referenced incident or damages.

Failure to maintain such items will constitute “spoliation” of the evidence.

                                           IX.     DAMAGES

       99.     Plaintiff re-asserts and re-alleges everything contained in the preceding

paragraphs.

       100.    The above described acts, omissions, failures and conduct of Defendant have

caused Plaintiff damages which include, without limitation, the costs associated with actual

damages, presumed damages, punitive damages, and consequential damages from Defendants’

actions.

                                     X.   EXEMPLARY DAMAGES

       101.    Defendants’ statements about Plaintiff were done intentionally, with a conscious

indifference to the rights and welfare of Plaintiff and with "malice" as that term is defined in

Chapter 41 of the Texas Civil Practice and Remedies Code.

       102.    These violations by Defendants are the type of conduct which the State of Texas

protects its citizen against by the imposition of exemplary damages. Therefore, Plaintiff seeks

the recovery of exemplary damages in an amount to be determined by the finder of fact that is




Plaintiff’s First Amended Petition                                                         Page 11
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                   Page 96 of 189 PageID 100



sufficient to punish Defendants for their wrongful conduct and to set an example to deter

Defendants and others similarly situated from committing similar acts in the future

                              XI.     ATTORNEYS’ FEES AND COSTS

       103.    Plaintiff integrates all preceding paragraphs as if fully set forth herein and further

incorporate by reference herein all preceding paragraphs hereto.

       104.    Plaintiff seeks recovery of their reasonable and necessary attorneys’ fees, costs

and expenses through trial and all appeals under applicable Texas law.

       105.    Plaintiff has been required to obtain legal counsel as a result of Defendants’

intentional acts and omissions. As a result, Plaintiff has and will incur attorney’s fees and

expenses prosecuting their claims. Plaintiff is therefore entitled to recover their reasonable and

necessary attorney’s fees.

                                             XII.    JURY DEMAND

       106.    Plaintiff adopts the preceding paragraphs as if fully set forth herein.

       107.    Plaintiff requests that a jury be convened to try the factual issues in this action.

                                XIII. REQUEST FOR DISCLOSURE

       108.            Plaintiff hereby request that each party disclose within fifty (50) days of

the service of this request, the information and material subject to disclosure subject to disclosure

pursuant to Rules 190.2(b)(6) and 194.2.

       109.    This request does not extend nor in any way alter the time for the filing an answer

by any Defendant; Plaintiff reserves the right to move for a default judgment against any

Defendant that fails to timely answer or appear.

                XIV. NOTICE OF INTENT TO USE PRODUCED DOCUMENTS




Plaintiff’s First Amended Petition                                                           Page 12
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                   Page 97 of 189 PageID 101



         110.      Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, each party is

hereby given notice of Plaintiff’s intent to use any and all documents produced by any and all

parties at any pretrial hearing, depositions, proceedings, through discovery, the trial of this

matter, or any combination. See Tex. R. Civ. P. 193.7.

            XV.       NOTICE OF DUTY TO SUPPLEMENT AND AMEND DISCOVERY

                                            RESPONSE

         111.      Pursuant to Rules 193.5 and 195.6 of the Texas Rules of Civil Procedure, each

party is hereby requested to take notice of his, her, or its duty to amend or supplement

incomplete or incorrect responses to written discovery reasonably promptly after the necessity

for such a response is discovered. See Tex. R. Civ. P. 193.5(a), (b); see also Tex. R. Civ. P.

195.6.

                                             XVI. PRAYER

                   WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendant be

cited to appear and answer herein, and that upon trial hereof, said Plaintiff has and recover such

sums as would reasonably and justly compensate them in accordance with the rules of law and

procedure, both as to actual damages, consequential damages, and all punitive, additional, and

exemplary damages as may be found.

         In addition, Plaintiff requests the award of attorney's fees for the trial and any appeal of

this case, for all costs of court, for prejudgment and post judgment interest as allowed by law,

and for any other and further relief, at law or in equity, to which they may show themselves to be

justly entitled.

         DATED:           July 27, 2020                       Respectfully submitted,

                                                              The Bhatti Law Firm, PLLC




Plaintiff’s First Amended Petition                                                          Page 13
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20     Page 98 of 189 PageID 102



                                              /s/   Vincent   J.   Bhatti
                                              Vincent   J.   Bhatti
                                              State   Bar N0. 24055 1 69
                                              Ditty S. Bhatti
                                              State Bar N0. 24062803
                                              14785 Preston Road, Suite 550
                                              Dallas, TX 75254
                                              Telephone: (214) 253-2533
                                              Facsimile: (214) 279-0033
                                              Vincent.bhatti@bhattilawﬁrm.com
                                              ditty.bhatti@bhattilawﬁrm.com
                                              ATTORNEYS FOR PLAINTIFF
                                              FELIX CUADRADO




Plaintiff” s First   Amended   Petition                                     Page 14
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                               Page 99 of 189 PageID 103



                                              CERTIFICATE OF SERVICE
        The undersigned        certiﬁes that a    copy of the foregoing instrument was served upon the
attorneys 0f record 0f all parties      by   electronic mail and/or facsimile     on July 27, 2020:


                         Kristin L.     Bauer and   Julie   A. Farmer
                         Jackson Lewis, P.C.
                         500 N. Akard, Suite 2500
                         Dallas,      TX 75201
                         Fax: (214) 520-2008
                         bauerk@j acksonlewis.com
                         farmer@j acksonlewis.com


                         Alan    J.   Harlan
                         Coats Rose, P.C.
                         600 Signature Place
                          14755 Preston Road
                         Dallas,      TX 75254
                         Fax: (972) 702-0662
                         aharlan@coatsrose.com




                                                               Vincent   J.   Bhatti




Plaintiff” s First   Amended   Petition                                                               Page 15
    Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20 Page 100 of 189 PageID 104
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certificate of service that            complies with       all   applicable rules.

Ditty Bhatti on behalf of Vincent Bhatti
Bar No. 24055169
ditty.bhatti@bhattilawfirm.com
Envelope ID: 44863270
Status as of 07/28/2020 09:22:02                   AM    -O5:OO

Associated Case Party:             FELIXV.CUADRADO

 Name                  BarNumber    Email                                 TimestampSubmitted       Status

 Ditty Bhatti          24062803     ditty.bhatti@bhattilawfirm.com        7/27/2020 4:26:09   PM   SENT
VincentBhatti                       Vincent.bhatti@bhattilawfirm.com      7/27/2020 4:26:09   PM   SENT


Associated Case Party:            VIEW AT KESSLER PARK

 Name                  BarNumber     Email                           TimestampSubmitted       Status

 Kristin     L.Bauer                 bauerk@jacksonlewis.com         7/27/2020 4:26:09   PM   SENT
Julie   A.Farmer                     farmerj@jacksonlewis.com        7/27/2020 4:26:09   PM   SENT


Associated Case Party: TI           COMMUNITIES

 Name                  BarNumber     Email                           TimestampSubmitted       Status

Julie   A.Farmer                     farmerj@jacksonlewis.com        7/27/2020 4:26:09   PM   SENT
 Kristin     L.Bauer                 bauerk@jacksonlewis.com         7/27/2020 4:26:09   PM   SENT


Case Contacts

 Name                    BarNumber     Email                                   TimestampSubmitted       Status

 Dallas Docketing                      DallasDocketing@jacksonlewis.com        7/27/2020 4:26:09   PM   SENT
Alan    J.   Harlan      9010200       aharlan@coatsrose.com                   7/27/2020 4:26:09   PM   SENT
Sidney Perkins                         sperkins@coatsrose.com                  7/27/2020 4:26:09   PM   SENT
 Nancy Blum                            nancy.blum@jacksonlewis.com             7/27/2020 4:26:09   PM   SENT
 Francine Ly                          fly@dallascourts.org                     7/27/2020 4:26:09   PM   SENT
                                                                                                                                          FILED
                                                                                                                             7/31/2020 12:04   PM
                                                                                                                                 FELICIA PITRE
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                        Page 101 of 189 PageID 105            DISTRICT CLERK
                                                                                                                         DALLAS CO., TEXAS
                                                                                                                    Margaret Thomas DEPUTY




                                            NO. DC-20-03308

FELIX V. CUADRADO,                                                                          IN   THE DISTRICT COURT

                Plaintiffs,


v.                                                                                         DALLAS COUNTY, TEXAS
                                                       wwwwwmmwww




VIEW AT KESSLER PARK and,
TI   COMMUNITIES,
                                                                                                 t“
                Defendants.                                                                134        JUDICIAL DISTRICT

                           CERTIFICATE OF WRITTEN DISCOVERY

       Westmount     at   Kessler Park L.P.   ("WKPLP")                ﬁles this Cettiﬁcate of Written Discovery


directed t0 Co-Defendant, TI Communities, in this cause, pursuant t0 the applicable local rule and


states that the discovery set forth   below was served 0n              all   parties     on the 31“ day of July, 2020:




        1.   Defendant Westmount      at Keller Park, L.P. ’s First Set                 of Interrogatories and Request for


             Production to Co-Defendant TI Communities.



                                                                     Respectfully submitted,


                                                                     COATS          |    ROSE,    P.C.


                                                 By:                 /s/Alan       J.   Harlan
                                                                     Alan    J.   Harlan
                                                                     State   Bar No. 090 1 0200

                                                                     600 Signature Place
                                                                     14755 Preston Road
                                                                     Dallas, Texas 75254
                                                                     (972) 788-1600 Telephone
                                                                     (972) 702-0662 Telecopy
                                                                    aharlan@coatsrose.com


                                                                    ATTORNEYS FOR DEFENDANT
                                                                    WESTMOUNT AT KESSLER PARK, L.P.
CERTIFICATE OF WRITTEN DISCOVERY                                                                                  Page   1




                                                 EXHIBIT
                                                    A-23
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                  Page 102 of 189 PageID 106




                                    CERTIFICATE OF SERVICE

         The undersigned hereby certiﬁes      that   on   this 3 1“   day 0f July, 2020, a true and correct copy

of the foregoing instrument was submitted with the Clerk of the 134th District Court, Dallas


County, Texas, and was served 0n the following using the e-ﬁle service of the Court.


Via Electronic Service
The Bhatti Law Firm, PLLC
Vincent J. Bhattl
State   Bar No. 24055 1 69
Dltty S. Bhattl
State Bar No. 24062803.
14785 Preston Road, Sulte 550
Dallas, Texas 75254
Telephqne: £214 253-2533
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Jackson Lewis P.C.
Kristin L. Bauer\
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                                                                      /s/Alan     J.   Harlan
                                                                      Alan   J.   Harlan




CERTIFICATE OF WRITTEN DISCOVERY                                                                        Page 2
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Sidney Perkins on behalf of Alan Harlan
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sperkins@coatsrose.com
Envelope ID: 44999465
Status as of 07/31/2020 12:19:04 PM -O5:OO

Case Contacts

 Name                    BarNumber     Email                                   TimestampSubmitted        Status

 Dallas Docketing                      DalIasDocketing@jacksonlewis.com        7/31/2020 12:04:24   PM SENT
Alan    J.   Harlan      9010200       aharlan@coatsrose.com                   7/31/2020 12:04:24   PM SENT
Sidney Perkins                         sperkins@coatsrose.com                  7/31/2020 12:04:24   PM SENT
 Nancy Blum                            nancy.blum@jacksonlewis.com             7/31/2020 12:04:24   PM SENT
 Francine Ly                          f|y@dallascourts.org                     7/31/2020 12:04:24   PM SENT


Associated Case Party:            VIEW AT KESSLER PARK

 Name                  BarNumber     Email                           TimestampSubmitted        Status

Julie   A.Farmer                     farmerj@jacksonlewis.com        7/31/2020 12:04:24   PM SENT
 Kristin     L.Bauer                 bauerk@jacksonlewis.com         7/31/2020 12:04:24   PM SENT


Associated Case Party:             FELIXV.CUADRADO

 Name                  BarNumber    Email                                 TimestampSubmitted        Status

 Ditty Bhatti          24062803     ditty.bhatti@bhattilawfirm.com        7/31/2020 12:04:24   PM SENT
Vincent Bhatti                      Vincent.bhatti@bhattilawfirm.com      7/31/2020 12:04:24   PM SENT


Associated Case Party: T|           COMMUNITIES

 Name                  BarNumber     Email                           TimestampSubmitted        Status

 Kristin     L.Bauer                 bauerk@jacksonlewis.com         7/31/202012:O4:24    PM SENT
Julie   A.Farmer                     farmerj@jacksonlewis.com        7/31/202012:04:24    PM SENT
                                                                                                                                               FILED
                                                                                                                                  7/31/2020 11:48   AM
                                                                                                                                      FELICIA PITRE
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                             Page 104 of 189 PageID 108            DISTRICT CLERK
                                                                                                                              DALLAS CO., TEXAS
                                                                                                                         Margaret Thomas DEPUTY




                                                 NO. DC-20-03308

FELIX V. CUADRADO,                                                                               IN   THE DISTRICT COURT

                Plaintiffs,


v.                                                                                              DALLAS COUNTY, TEXAS
                                                            wwwwwmmwww




VIEW AT KESSLER PARK and,
TI   COMMUNITIES,
                                                                                                      t“
                Defendants.                                                                     134        JUDICIAL DISTRICT

                           CERTIFICATE OF WRITTEN DISCOVERY

       Westmount     at   Kessler Park L.P.        ("WKPLP")                ﬁles this Cettiﬁcate of Written Discovery


directed t0 Plaintiff, Felix V. Cuadrado, in this cause, pursuant t0 the applicable local rule and


states that the discovery set forth    below was served 0n                  all   parties     on the 31“ day of July, 2020:




        1.   Defendant Westmount           at Keller Park, L.P. ’s First Set                 of Interrogatories and Request for


             Production to    Plaintiff.




                                                                          Respectfully submitted,


                                                                          COATS          |    ROSE,    P.C.


                                                      By:                 /s/Alan       J.   Harlan
                                                                          Alan    J.   Harlan
                                                                          State   Bar No. 090 1 0200

                                                                          600 Signature Place
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                                                                         aharlan@coatsrose.com


                                                                         ATTORNEYS FOR DEFENDANT
                                                                         WESTMOUNT AT KESSLER PARK, L.P.
CERTIFICATE OF WRITTEN DISCOVERY                                                                                       Page   1




                                                       EXHIBIT
                                                         A-24
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                             Page 105 of 189 PageID 109




                                   CERTIFICATE OF SERVICE

          The undersigned hereby   certiﬁes that   on   this 3 1“   day of July, 2020, a true and

correct   copy of the foregoing instrument was submitted with the Clerk of the 134th

District Court, Dallas County, Texas,   and was served on the following using the e—ﬁle

service 0f the Court.


Via Electronic Service
The Bhatti Law Firm, PLLC
V1ncent J. Bhattl
State   Bar N0. 24055169
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                                                                /s/Alan      J.   Harlan
                                                                Alan    J.   Harlan




CERTIFICATE OF WRITTEN DISCOVERY                                                                    Page 2
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Sidney Perkins on behalf of Alan Harlan
Bar No. 9010200
sperkins@coatsrose.com
Envelope ID: 44998506
Status as of 07/31/2020 12:21 :09 PM -O5:OO

Case Contacts

 Name                    BarNumber     Email                                   TimestampSubmitted        Status

 Dallas Docketing                      DalIasDocketing@jacksonlewis.com        7/31/2020 11:48:02   AM SENT
Alan    J.   Harlan      9010200       aharlan@coatsrose.com                   7/31/2020 11:48:02   AM SENT
Sidney Perkins                         sperkins@coatsrose.com                  7/31/2020 11:48:02   AM SENT
 Nancy Blum                            nancy.blum@jacksonlewis.com             7/31/2020 11:48:02   AM SENT
 Francine Ly                          f|y@dallascourts.org                     7/31/2020 11:48:02   AM SENT


Associated Case Party:            VIEW AT KESSLER PARK

 Name                  BarNumber     Email                           TimestampSubmitted        Status

Julie   A.Farmer                     farmerj@jacksonlewis.com        7/31/2020 11:48:02   AM SENT
 Kristin     L.Bauer                 bauerk@jacksonlewis.com         7/31/2020 11:48:02   AM SENT


Associated Case Party:             FELIXV.CUADRADO

 Name                  BarNumber    Email                                 TimestampSubmitted        Status

 Ditty Bhatti          24062803     ditty.bhatti@bhattilawfirm.com        7/31/2020 11:48:02   AM SENT
Vincent Bhatti                      Vincent.bhatti@bhattilawfirm.com      7/31/2020 11:48:02   AM SENT


Associated Case Party: T|           COMMUNITIES

 Name                  BarNumber     Email                           TimestampSubmitted        Status

 Kristin     L.Bauer                 bauerk@jacksonlewis.com         7/31/202011:48:02    AM SENT
Julie   A.Farmer                     farmerj@jacksonlewis.com        7/31/202011:48:02    AM SENT
                                                                                                                               FILED
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                                                                                                                       FELICIA PITRE
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                           Page 107 of 189            PageID 111 DISTRICT CLERK
                                                                                                                DALLAS CO., TEXAS
                                                                                                            Margaret Thomas DEPUTY




                                                 NO. DC-20-03308


FELIX V. CUADRADO,                                        §           IN   THE DISTRICT COURT

                 Plaintiffs,                              g

v.                                                        g          DALLAS COUNTY, TEXAS

VIEW AT KESSLER PARK and,                                 g
TI    COMMUNITIES,                                        §

                                                                           t"
                 Defendants.                              g          134        JUDICIAL DISTRICT



DEFENDANT WESTMOUNT AT KESSLER PARK, LP (VIEW AT KESSLER PARKQ’S
         “NO EVIDENCE” MOTION FOR SUMMARY JUDGMENT

TO THE HONORABLE JUDGE OF SAID COURT:
         COMES NOW          Westmount       at   Kessler Park, LP, d/b/a        View   at   Kessler Park, one of the


Defendants herein, and moves         this   Court for entry of a “no evidence” summary judgment in                      its



favor,   and for cause would   state the following:


                                                         I.



         Pursuant to the provisions of Rule 166a(i), Texas Rules of Civil Procedure, “[A]fter


adequate time for discovery, a party without presenting summary judgment evidence                        may move

for   summary judgment on      the ground that there     is   n0 evidence of one or more elements of a claim

0r defense 0n   Which an adverse party would have the burden of proof at trial”.                  While, in the case


at bar, Plaintiff Felix   V. Cuadrado has had nearly seven (7) months to conduct discovery, he has


totally failed to establish the existence          of any Viable claim or cause of action against                   this


Defendant.     More   speciﬁcally,    Movant would       point out that, at Paragraphs 12-48 of his First


Amended Petition, Plaintiffhas actually          substantiated only that he      was employed by Co-Defendant
DEFENDANT WESTMOUNT AT KESSLER PARK, LP (VIEW AT KESSLER PARK)’S
“NO EVIDENCE” MOTION FOR SUMMARY JUDGMENT                                                                    Page   l




                                                    EXHIBIT
                                                      A-25
    Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                          Page 108 of 189 PageID 112




    TI Communities (sometimes referred to as “TI Management”), certain employees of which


    allegedly     defamed Mr. Cuadrado and/or wrongﬁllly terminated                            his   employment.       These       facts are


    borne out by     Plaintiff” s   Obj ections and Responses to Defendant Westmount                           at   Kessler Park, LP’s


    First Set     of Interrogatories and Request for Production to                       Plaintiff,       a true and correct copy 0f


    which    is   attached hereto as Exhibit            “A” and    is   incorporated herein by reference for                all   purposes.


    More    speciﬁcally:


              (1)         In response t0 Movant’s Interrogatory No.                      1,   Plaintiff    answered that “Kathy,            (a


    director level    employee             at   TI Communities) saw Plaintiff working                at   800 Link    in   2018 and she

                                       '




    offered Plaintiff a job”.


              (2)         In response to Movant’s Interrogatory N0. 3, Plaintiff admits that he has never even


    discussed his employment “with any person purportedly employed by or associated with the owner
I




    of the property       known   as       View at    Kessler Park”.


              (3)         In answer to Movant’s Interrogatory Nos. 5, 7 and 9, Plaintiff admits that he dealt


    only    with employees and/or representatives 0f TI Communities in connection with his


    employment       at   View at      Kessler Park.


              (4)         In response to Movant’s Request for Production of Documents, Plaintiff produced


    a written (and signed) employment agreement clearly entered into by and between Mr. Cuadrado


    and TI Communities HR,                 LP and its   aﬂiliate   TI Communities.            (See Cuadrado 000009, a true and


    correct   copy 0f which       is       attached herleto as Exhibit     “B” and incorporated herein by                  reference.)


              (5)         In ﬁlrther response to Movant’s Request for Production of Documents, Plaintiff


    produced 2018 and 2019 IRS Form W—2s, which                          list   his   employer as Coadvantage Resources                  24,


    Inc.   and the control number as TI Communities HR, LP. (See Cuadrado 000001-000004, true and


    DEFENDANT WESTMOUNT AT KESSLER PARK, LP (VIEW AT KESSLER PARK)’S
    “NO EVIDENCE” MOTION FOR SUMMARY JUDGMENT                                                                                      Page 2
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                      Page 109 of 189 PageID 113




correct copies of     Which    are together attached hereto as Exhibit                  “C” and incorporated herein by


reference.)


None of Plaintiffs        Interrogatory    Answers nor any of the documents produced by                     Plaintiff     even

suggest that Plaintiff Felix V. Cuadrado was employed by any party other than Co-Defendant TI


Communities.

                                                                II.



        On or about June       18,   2020, Movant ﬁled          its   Original Answer, which      Answer incorporates a

verified denial pointing out that there              is   a defect in the parties defendant in the case         at bar, that



Westmount      at Kessler Park,      LP   at   n0 time employed          Plaintiff, in   any capacity, either      directly 0r


through an agent, nor did Movant           own the View at Kessler Park property                 during the timeframe in


which   Plaintiff claims to          have been damaged.                Plaintiff’ s   subsequently ﬁling of his First


Amended       Petition,    on or about June           27, 2020, did not address, in any manner, any of the


allegations set forth in     Movant’s Veriﬁed Denial.                 A true and correct copy of Movant’s Original
Answer   is   attached hereto as Exhibit         “D” and incorporated herein by              reference for   all   purposes.


Despite the ﬁling of Movant’s Veriﬁed Denial, Plaintiff has neither conducted any discovery to


ascertain the validity of its allegations against this Defendant, or                   amended his pleadings to remove

Westmount      at Kessler Park,      LP and    its   property in the case at bar.


                                                               III.



        In light of the clear and obvious absence of any evidence, whatsoever, to support any claim


0r cause of action by Plaintiff against either               Westmount      at   Kessler Park,   LP   or the real property


known   as    View   at   Kessler Park, this Defendant seeks entry of a                  summary judgment     in    its   favor


and, in addition, would ask that this Court award                 Movant     its   reasonable and necessary attorney’s


DEFENDANT WESTMOUNT AT KESSLER PARK, LP (VIEW AT KESSLER PARK)’S
“NO EVIDENCE" MOTION FOR SUMMARY JUDGMENT                                                                            Page 3
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                    Page 110 of 189 PageID 114




fees   and costs incurred in   its   defense of this lawsuit as an appropriate sanction for Plaintiff” clear


Violation of Rule 13, Texas Rules of Civil Procedure.


         WHEREFORE,           Defendant Westmount              at   Kessler Park,        LP    d/b/a   View   at Kessler Park,



prays that, upon notice and hearing, this Court grant                   its    “N0 Evidence” Motion                for    Summary

Judgment, enter a take nothing summary judgment in                     its    favor and award          Movant      its   reasonable


and necessary attorneys’ fees and costs incurred in             its   defense of this action, based upon Plaintiff s


ﬁling and prosecution 0f a groundless and frivolous lawsuit against                           it,   along with such other and


further relief, either at   law 0r   in equity   it   which Movant may show                itself to   be justly   entitled.



                                                                     Respectfully submitted,


                                                                     COATS          |   ROSE,        P.C.




                                                         By:          /s/Alcm      J.   Harlan
                                                                     Alan    J.   Harlan
                                                                     State    Bar No. 0901 0200

                                                                     600 Signature Place
                                                                     14755 Preston Road
                                                                     Dallas, Texas 75254
                                                                     (972) 788-1600 Telephone
                                                                     (972) 702-0662 Telecopy
                                                                    aharlan@coatsrose.com


                                                                    ATTORNEYS FOR DEFENDANT




DEFENDANT WESTMOUNT AT KESSLER PARK, LP (VIEW AT KESSLER PARK)’S
“N0 EVIDENCE” MOTION FOR SUMMARY JUDGMENT                                                                                  Page 4
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                               Page 111 of 189 PageID 115




                                      CERTIFICATE 0F SERVICE

         The undersigned hereby       certiﬁes that   0n   this 16th   day 0f September, 2020, a

true   and correct copy of the foregoing instrument was submitted with the Clerk ofthe

134th District Court, Dallas County, Texas, and was served on the following using


the e-ﬁle service of the Court.


Via Electronic Service
TH. e BHattl Law _Flrm, PLLC
Vlncent J. Bhattl
State   Bar No. 24055 1 69
D1tty S. Bhattl
State Bar No. 24062803.
14785 Preston Road, Sulte 550
Dallas, Texas 75254
Telephgne: $214 253-2533
Facsgrmle; (2 4) 79-9033          .

Emagl: vmcent.bhatt1®bhatt11awﬁnmcom
Emall:     dlttv.bhattlaabﬁattllawtmnsom



                                                                  /s/Alan      J.   Harlan
                                                                  Alan    J.   Harlan




DEFENDANT WESTMOUNT AT KESSLER PARK, LP (VIEW AT KESSLER PARK)’S
“NO EVIDENCE” MOTION FOR SUMMARY JUDGMENT                                                          Page 5
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                            Page 112 of 189 PageID 116




                                         CASE NO. DC-20-03308

    FELIX V. CUADRADO                              §         IN   THE DISTRICT COURT 0F
           Plaintiff,
                                                   §
                                                   §
    v.
                                                   §         DALLAS COUNTY, TEXAS
                                                   §
    VIEW AT KESSLER PARK AND                       §
    TI COMMUNITIES                                           134‘“     JUDICIAL DISTRICT
                                                   §
           Defendants.                             §



                  PLAINTIFF’S OBJECTIONS AND RESPONSES TO
           DEFENDANT WESTMOUNT AT KESSLER PARK, L.P.’§ FIRST SET 0F
          ENTERROGATORIES AND REQUEST FOR PRODUCTION T0 PLAINTIFF

    TO:    Defendant, View at Kessler Park, by and through its counsels of record, Felix V.
           Cuadrado, Coats Rose, P.C., 600 Signature Place, 14755 Preston Road, Dallas, TX
           75254.

           Plaintiff hereby   serves   his   objections    and responses            t0   Defendant’s First Set of

    Interrogatories to Plaintiff and Production Requests.


                                                   Respectfully        subm itted,

                                                   THE BHATTI LAW FIRM, PLLC

                                                   /s/Vincent     J.   Bhatti
                                                   Vincent   J.   Bhatti
                                                   State   Bar No. 24055 69     1


                                                   Ditty S. Bhatti
                                                   State Bar No. 24062803
                                                   14785 Preston Road
                                                   Suite 550
                                                   Dallas,   Texas 75254
                                                   (214) 253-2533 (Telephone)
                                                   (214) 279-0033 (Facsimile)
                                                   Vincent.bhatti@bhatti1awﬁrm.com
                                                   ditty.bhatti@bhattilawﬁrmcom
                                                   ATTORNEYS FOR PLAINTIFF




                                             EXHIBIT "A"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                         Page 113 of 189 PageID 117




                                    CEREIFICATE OF SERVICE
              The undersigned  certiﬁes that a copy of the foregoing instrument was served upon the
    attorneys of record of all parties to the above cause in accordance with the
                                                                                 Federal Rules of Civil
    Procedure on September 14, 2020.


    Alan J.Harlan
    Coats Rose, P.C.
    600 Signature Place
    14755 Preston Road
    Dallas,   TX   75254
    Facsimile: (972) 702-0662
    aharlan@coatsrose.com



                                                         /s/ Villc_ent J.   Bham‘
                                                         Vincent    J.   Bhatti




                                          EXHIBIT "A"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                         Page 114 of 189 PageID 118




                          INTERROGATORIES & REQUESTS FOR PRODUCTION
            INTERROGATORY N0.                      l.           In    Paragraph       12 of his First       Amended           Petition,


    Plaintiff states that he      was “hired by Defendants” on 0r about February                     26,   20   l   8.   In connection

    therewith:


            (1)    How    did Plaintiff learn of the position he claims to have been hired
                                                                                           for at the                         View   at


                   Kessler Park property?


            (2)    With   whom     did Plaintiff interview for the maintenance position referenced above?


            (3) Identify the speciﬁc person(s)             who   hired Plaintiff no or about February 26, 201                  8.


            (4)   At the time he was          hired for the position referenced at Paragraph 12 of his First


                  Amended       Petition, did Plaintiff execute a written contract                 ofemployment?

           ANSWER:

                  Kathy    (a director level    employee         at    TI Communities) saw Plaintiff working                   at   800

                  Link    in   2018 and she offered         Plaintiff a job.         Shae, the former manager of              View   at


                  Kessler Park interviewed              Plaintiff.     Plaintiff did not       have a written contract for

                  employment       to his   knowledge.

           REQUESI FOR PRODUCTION N0.                                 I.    Please       produce           all            documents,

    correspondence, memoranda, communication and/or notes, whether written or electronic, which


    substantiate    or    support    Plaintiff’s        claim   that       he was     hired   as    “Technician          Director    in


    Maintenance for service         at   an apartment building              named Vicw of Kessler Park” on                   or about

    February 26, 2018.


           ANSWER:             Plaintiff objects to this request as              vague as almost any document related to

           View      at   Kessler Park or TI Communities                   is   evidence of hiring by Kessler Park given




                                                        EXHIBIT "A"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                      Page 115 of 189 PageID 119




              Kessler Park was owned by TI Communities.                        Notwithstanding such objection, Plaintiff

              responds with documents.


              REQUEST FOR PRODUCTION N0. 2.                              Pleasc produce       all   written correspondence,


    communications, memoranda and/or notes, whether written or electronic, exchanged between or

    among     Plaintiff   and the person(s) or          entities   who   hired him and which pertain to Plaintiff’s


    duties   and responsibilities   in   connection with the         View   at   Kessler Park property.

              ANSWER:        Plaintiff objects to this request as          vague because       at the    time Plaintiff worked

              at   View   at Kessler     Park    it   was owned by TI Communities.                  As   such,    all   documents

              indicating hiring by TI           Communities serves as evidence               for    employment          at   View   at


              Kessler Park. Notwithstanding such objections, Plaintiff produces documents responsive


              to this request.




              REQUEST FOR PRODUCTIQN N0.                                  3:      Please     produce       all    documentation

    referencing payments         made    to Plaintiff    by those persons and/or           entities   who    purportedly hired

    him   to serve as ”Technician Director in            Maintenance for Service        in   an apartment building            named

    View     at   Kessler Park.”   Such documentation              shall necessarily include        any and      all   Form W-2s,

    Form-1099s, and        all   cancelled checks and/or wire transfer conﬁrmations evidencing salary,


    wages or other compensation paid             to Plaintiff by Defendants.



              ANSWER:        Plaintiff objects to this request as         vague because       at the     time Plaintiff worked


              at   View   at Kessler     Park   it    was owned by TI Communities.                  As   such,    all   documents

              indicating hiring    by TI Communities serves                 as evidence for         employment          at   View   at


              Kessler Park. Notwithstanding such objections, Plaintiff produces documents responsive


              to this request.




                                                       EXHIBIT "A"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                      Page 116 of 189 PageID 120




              INTERROGATOBY N0. 2.                            Please identify, by       name and      address,        all   persons at

    Defendant TI Communities with                   whom    Plaintiff discussed      any aspect of             his   employment          as


    “Technician Director           in    Maintenance for Service of an apartment building named View                                     at


    Kessler Park”.



              ANSWER: None

              INTERROGATORY N0. 3.                            Other      than      employees         or        representatives           of

    Defendant TI Communities, did Plaintiff 0r any legal or other representative acting on                                  his behalf,


    discuss his   employment with any person purportedly employed by or                        associated with the                owner

    ofthe property known as View              at   Kessler Park.


              ANSWER:        N0.


              REQUEST FOR PRODUCTION NO. 4                               If the   answer   to Interrogatory 3, above,               is   in


    the afﬁrmative, please        list all   such persons by   name and      address.



              ANSWER: N/A

              INTERROGATORY N_O_w4_.                          Has    Plaintiff ever        entered    into       any contract of

    employment, either       oral or in writing, with       Westmount       at Kessler Park, L.P.?


              ANSWER:         No,       Plaintiff was hired   by TI Communities and View                  at   Kessler Park at the

              time the   latter   was owned by        the former.


              REQUEST FOR PRODUCTION NO.                            5:   If the   answer   to Interrogatory           N0.    4,   above,

    is in   the afﬁrmative, please produce copies of all documents, correspondence,                            memoranda          and/or


    notes,   whether written 0r electronic, Which             identify, outline or support Plaintiff‘s claim that                        he

    was employed by Westmount                at   Kessler Park, L.P.




                                                       EXHIBIT "A"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                        Page 117 of 189 PageID 121




            ANSWER: N/A

            INTERROGATQRY ED. 5.                               Who   or   what    entity    owned    the   View      at   Kessler Park

    property during the timeframe in which Plaintiff claims to
                                                               have incurred or sustained the injuries

     and/or damagcs referenced in Plaintiff’s First
                                                                Amended         Petition?



            ANSWER:          TI Communities



            INTERROGATORY No.6.                                By whom          has Plaintiff been employed since his

    alleged termination by Defendant(s) as “Technician
                                                       Director in Maintenance for service at an

    apartment building    named View       at   Kessler Park”, on         01'   about March    l,   20] 9?

            ANSWER:        82   Capital, Inc.


            INTERROGATORY No.7.                               At Paragraph 26 of             his First        Amended        Petition,

    Plaintiff alleges that      he was required to “take off                    his   company       t-shirt    and coat” by TI

    Communities 0n or about March                    2019.     What logo         or written information
                                                1,                                                                was      printed or

    embroidered on said      t-shirt   and coat which identify said garments as a “company”                                t-shirt   and

    coat?


            ANSWER:        TICommunities

            INTERROGATQR! NO. 8.                              At Paragraph            15 of his First      Amended           Petition,

    Plaintiff references a   “team” he presumably worked with or supervised                         at   View   at   Kessler Park.

    Please identify, by   name and     address,      all   members of said team.

            ANSWER:        Fernando     — Make       Ready, Sergio    — Assistant Manager ofMaintenance, Maria

            — Housekeeper, Martha — Housekeeper.

            INTERROGATORY               NO.     9.            Please identify,        by name,   position and address, the

    person or persons   who “promised      an unconditional bonus of approximately $1 0,000 upon sale of

    the building”, as referenced in Paragraphs 32-35 of Plaintiff’s
                                                                    First                   Amended        Petition.




                                                     EXHIBIT "A"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                   Page 118 of 189 PageID 122




         ANSWER:   Kathleen Ball   at   TI Communities/View   at   Kessler Park




                                        EXHIBIT "A"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                Page 119 of 189 PageID 123




                                                 VERIFICéTION
    STATE 0F TEXAS                                               )

                                                                 )
   COUNTY 0F DALLAS                                              )




   “My name       is   Felix V. Cuadrado,   my   date of birth        January
                                                                 is             7, 1962,   and   my   address   is   312
   Aquamis Drive, Cedar Hill, TX 75104, Dallas County. USA. Ideclare
                                                                            under penalty ofpeljury
   that the foregoing document titled Plaintiff’s
                                                  Objections and Responses to Defendant Westmount
   at   Kessler Park, L.P.’s First Set of Interrogatories   is   true and correct.


   Executed    in Dallas   County, State of Texas on the
                                                            Z    é     day of September. 2020.




                                                                     2%         M
                                                                 FELIX v. dtJADIiADO,            Declarant”




                                                 EXHIBIT "A"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                   Page 120 of 189 PageID 124


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                                                  EXHIBIT "B"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                                                  Page 121 of 189 PageID 125
                                COADVANTAGE RESOURCES 24.                                       INC.
                                3350           BUSCHWOOD PARK DR #200
                                TAMPA, FL 3381B




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                                                    FELIX OUADRADO
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                             FELIX CUADRADO
                             312 AQUARIUS DR
                             CEDAR HILL. TX 75104-3238




                                                                                 Cuadrado 000001                              EXHIBIT "C"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                                                                                       Page 122 of 189 PageID 126
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                                                                                                                            DALLAS CO.. TEXAS
                                                                                                                          Miranda Lynch DEPUTY




                                                    NO. DC-20-03308



  FELIX V. CUADRADO,                                          §              IN   THE DISTRICT COURT
                       Plaintiffs,                            g

  v.                                                          g            DALLAS COUNTY, TEXAS
  VIEW AT KESSLER PARK and,                                   g
  TI   COMMUNITIES,                                           §

                       Defendants.                            g            134    ‘h
                                                                                       JUDICIAL DISTRICT



                   ORIGINAL ANSWER 0F WESTMOUNT AT KESSLER PARK L.P.

   TO THE HONORABLE JUDGE OF SAID COURT:

             COME NOW, Westmount at Kessler Park L.P. (“WKPLP”), one of the parties presumably




                                                    W
   named as       a party defendant in the above captioned cause, and for              its   Original   Answer to   Plaintiff‘s


   Original Petition     would    state the following:


                                                             I.




             While    WKPLP      has been the record owner of a multi-family project                    commonly known           as


   “View     at   Kessler Park” since early August of 201 9,            it    has not registered an assumed              name

   certiﬁcate under the      name “View      at   Kessler Park”, nor   is it   aware of any other party, or potential


   party,   which has.     As   such,   WKPLP would assert that    it is     not a proper party to the case at bar and,


   thus, ﬁles this special exception to the claims         and causes of action asserted            in Plaintiff‘s Original


   Petition.


   ORIGINAL ANSWER 0F KESSLER PARK L.P.                                                                               Page   l




                                                    EXHIBIT "D"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                          Page 126 of 189 PageID 130




                                                                    II.



                                                           General Denial

             Without waiving the above and foregoing special exception,                                    WKPLP    denies each and


   every, all and singularly, the material allegations set forth in Plaintiffs Original Petition, states the


   same    are untrue, in      whole or   in part,   and demands          strict   proof thereof by a preponderance of the

  evidence in accordance with             its   right at law, reserving hereby             its   right to     amend   this   Answer     to


   incorporate other and/or further defenses,               if,   when    and/or should     become           necessary.


                                                                   III.



                                                        Veriﬁed Denial

             Once      again, without     waving the above and foregoing                  special exception,          WKPLP     would

   assert,   by way of        further answer, that, pursuant to the provisions of Rules 93(2), (4), and (l4),


   Texas Rules of Civil Procedure, there              is   a defect in the parties defendant in the case at bar, that


   WKPLP at n0 time employed Plaintiff, in any capacity, either directly or through an agent, did not

   own    the   “View    at   Kessler Park” property during the timeframe in which Plaintiff claims to have


   been damaged, and that          WKPLP is not liable in the capacity in which                       it   has presumably been sued.


             WHEREFORE, PREMISES CONSIDERED,                                 Westmount           at   Kessler Park L.P. prays that


   Plaintiff take nothing        by way of      this suit, that     it   recover   its   reasonable and necessary attorneys’


   fees   and costs incurred      in its defense   0f same, along with such other and ﬁlrther                     relief, either at   law

   or in equity   it   may show itself to be justly         entitled.




   ORIGINAL ANSWER 0F KESSLER PARK L.P.                                                                                        Page 2




                                                     EXHIBIT "D"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20            Page 127 of 189 PageID 131




                                                   Respectfully submitted,


                                                   COATS     I   ROSE,P.C.



                                            By:     /s/ Alan J. Harlan
                                                   Alan J. Harlan
                                                   State Bar No. 09010200


                                                   600 Signature Place
                                                   14755 Preston Road
                                                   Dallas, Texas 75254
                                                   (972) 788-1600 Telephone
                                                   (972) 702-0662 Telecopy
                                                  aharlan@coatsrose.com

                                                  ATTORNEYS FOR DEFENDANT




  ORIGINAL ANSWER (i? KESSLER PARK L3.                                          Page 3




                                         EXHIBIT "D"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                     Page 128 of 189 PageID 132




                                            CERTIFICATE OF SERVICE
            The undersigned hereby          certiﬁes that   on this   18‘“   day of June, 2020, a true and

  correct   copy 0f the foregoing instrument was submitted with the Clerk of the 134th

  District Court, Dallas     County, Texas, and was served on the following using the e-ﬁle

  service of the Court.


   Via Electronic   Sm vice
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  VincentJ. Bhalti
  State Ba1 No 24055169
  Ditty S. Bhalli
  State Bal N0. 24062803
  I418 5 Plcston Road, Suite          550
  Dallas Texas ?5254
  Telephone:     €2l4 253- 2533
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  Email:     vincenl bhauic} bhattilawﬁrm      com
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  Email:                              law1m1.com
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                                                                             /s/Alarz    J.   Hcy‘lan
                                                                             Alan   J.   Harlan




  ORIGINAL ANSWER OF KESSLER PARK           LJ'.                                                             Page 4




                                                   EXHIBIT "D"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                            Page 129 of 189 PageID 133




                                                             VE    Fl        l



       STATE OF TEXAS                    §
                                         §
       COUNTY 0F DALLAS                  §



                BEFORE ME, the undersigned authority, on this day personally appeared Clifford A.
       Booth,    known lo me to be the person whose name is subscribed below. and. aﬂar having been
       duly sworn, stated under oath as follows:

                                “My name         is   Clifford A. Booth.         l   am over     twenty-one years ofage and in
                       all   respects competent lo             make   this Afﬁdavit.         l   am Manager  of Weslmount at
                       Kessler Park G.P.. LLP. a Delaware limited                    liability   company. which      is   the general
                       partner of Wcstmount at Kessler Park LP, a Delaware limited partnership,
                                                                                          owner of
                       that multi-familypropeny commonly known as “View at Kessler Park". a named
                       defendant in this lawsuit.  I have reviewed Wcstmoum at Kessler Park LP's

                       Original Answar and the statements contained therein arc within my personal
                       knowledge and are true and correct.”

                Further,   Afﬁant sayeth     not.




                                                         WESTMOUNT AT KESSLER PARK LP,
                                                         a   Delaware limited partnership


                                                         By: WESTMOU'NT AT KESSLER PARK                              GP LLC,
                                                         a Delaware limited liability company.
                                                         its




                                                         By:
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                SWORN AND SUBSCRIBED T0 BEFORE ME on this the                                         18‘“   day ofJune, 2020.

                                      DMNNA HAHTWELL
                                    Nulll‘y ID   I    129041!!!
                                    My Commission Elplm
                                           July 3.    2020
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       ORIGINAL AN-SWER 0F KESSLER PARK LI‘.                                                                                 Pnnc   S




                                                       EXHIBIT "D"
    Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20 Page 130 of 189 PageID 134
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that            complies with       all   applicable rules.

Sidney Perkins on behalf of Alan Harlan
Bar No. 9010200
sperkins@coatsrose.com
Envelope ID: 46303517
Status as of 9/1 7/2020 9:19 AM CST

Case Contacts

 Name                    BarNumber     Email                                      TimestampSubmitted       Status

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Alan    J.   Harlan      9010200       aharlan@coatsrose.com                      9/16/2020 4:15:22   PM   SENT
Sidney Perkins                         sperkins@coatsrose.com                     9/16/2020 4:15:22   PM   SENT
 Nancy Blum                            nancy.blum@jacksonlewis.com                9/16/2020 4:15:22   PM   SENT
 Francine Ly                          f|y@dallascourts.org                        9/16/2020 4:15:22   PM   SENT


Associated Case Party:            VIEW AT KESSLER PARK

 Name                  BarNumber     Email                           TimestampSubmitted          Status

Julie   A.Farmer                     farmerj@jacksonlewis.com        9/16/2020 4:1 5:22   PM     SENT
 Kristin     L.Bauer                 bauerk@jacksonlewis.com         9/16/2020 4:15:22    PM     SENT


Associated Case Party:             FELIXV.CUADRADO

 Name                  BarNumber    Email                                 TimestampSubmitted          Status

 Ditty Bhatti          24062803     ditty.bhatti@bhattilawfirm.com        9/1   6/2020 4:15:22   PM   SENT
Vincent Bhatti                      Vincent.bhatti@bhattilawfirm.com      9/16/2020 4:15:22      PM   SENT


Associated Case Party: T|           COMMUNITIES

 Name                  BarNumber     Email                           TimestampSubmitted          Status

 Kristin     L.Bauer                 bauerk@jacksonlewis.com         9/16/2020 4:15:22    PM     SENT
Julie   A.Farmer                     farmerj@jacksonlewis.com        9/16/2020 4:15:22    PM     SENT
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Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                        Page 131 of 189 PageID 135                DISTRICT CLERK
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                                                                                                                            Miranda Lynch DEPUTY




                                           NO. DC-20-03308

FELIX V. CUADRADO,                                                                              IN   THE DISTRICT COURT

                Plaintiffs,


v.                                                                                         DALLAS COUNTY, TEXAS
                                                      wwwwwmmwww




VIEW AT KESSLER PARK and,
TI   COMMUNITIES,
                                                                                                     t“
                Defendants.                                                                134            JUDICIAL DISTRICT

                           CERTIFICATE OF WRITTEN DISCOVERY

        Westmount    at   Kessler Park L.P.   ("WKPLP")               ﬁles this Cettiﬁcate of Written Discovery


directed t0 Plaintiff, Felix V. Cuadrado, in this cause, pursuant t0 the applicable local rule and


states that the discovery set forth   below was served on               all      parties   on the 22nd day 0f September,

2020:


        1.   Defendant Westmount      at Keller Park, L.P. d/b/a                 View      at   Kessler Park’s Responses to


             Plaintiff s Request for Disclosure.



                                                                    Respectfully submitted,


                                                                    COATS           |    ROSE,        P.C.


                                                By:                 /s/Alan        J.   Harlan
                                                                    Alan    J.   Harlan
                                                                    State   Bar No. 090 1 0200

                                                                    600 Signature Place
                                                                    14755 Preston Road
                                                                    Dallas, Texas 75254
                                                                    (972) 788-1600 Telephone
                                                                    (972) 702-0662 Telecopy
                                                                   aharlan@coatsrose.com


                                                                   ATTORNEYS FOR DEFENDANT
                                                                   WESTMOUNT AT KESSLER PARK, L.P.
CERTIFICATE OF WRITTEN DISCOVERY                                                                                     Page   1




                                               EXHIBIT
                                                   A-26
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                           Page 132 of 189 PageID 136




                                   CERTIFICATE OF SERVICE

         The undersigned hereby    certiﬁes that   0n   this 22nd   day of September, 2020, a

true   and correct copy of the foregoing instrument was submitted with the Clerk of the

134th District Court, Dallas County, Texas, and was served on the following using the


e-ﬁle service of the Court.


Via Electronic Service
The Bhatti Law Firm, PLLC
V1ncent J. Bhattl
State   Bar N0. 24055 1 69
Dltty S. Bhattl
State Bar No. 24062803.
14785 Preston Road, Sulte 550
Dallas, Texas 75254
Telephone: £214 253—2533
Facsgmlle: (2 4) 79-0033
Emall: Vincent.bhatti@bhattilawﬁrm.com
Email:     d1ttv.bhatt1(a)bhatt11awt1rm.com




Jackson Lewis P.C.
Kristin L. Bauer\
State   Bar No. 240068 1 3
Julie   A. Farmer
State Bar No. 24059734
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Email: bauerk@iacksonlewis.com
Email: farmeri @i acksonlewis.com


                                                               /s/Alan     J.   Harlan
                                                               Alan   J.   Harlan




CERTIFICATE OF WRITTEN DISCOVERY                                                                Page 2
    Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20 Page 133 of 189 PageID 137
                         Automated Certificate of eService
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certificates of service have not changed. Filers must still provide a
certificate of service that            complies with       all   applicable rules.

Sidney Perkins on behalf of Alan Harlan
Bar No. 9010200
sperkins@coatsrose.com
Envelope ID: 464541 17
Status as of 9/22/2020 2:57 PM CST

Case Contacts

 Name                    BarNumber     Email                                   TimestampSubmitted        Status

 Dallas Docketing                      DalIasDocketing@jacksonlewis.com        9/22/2020 12:14:18   PM SENT
Alan    J.   Harlan      9010200       aharlan@coatsrose.com                   9/22/2020 12:14:18   PM SENT
Sidney Perkins                         sperkins@coatsrose.com                  9/22/2020 12:14:18   PM SENT
 Nancy Blum                            nancy.blum@jacksonlewis.com             9/22/2020 12:14:18   PM SENT
 Francine Ly                          f|y@dallascourts.org                     9/22/2020 12:14:18   PM SENT


Associated Case Party:            VIEW AT KESSLER PARK

 Name                  BarNumber     Email                           TimestampSubmitted        Status

Julie   A.Farmer                     farmerj@jacksonlewis.com        9/22/2020 12:14:18   PM SENT
 Kristin     L.Bauer                 bauerk@jacksonlewis.com         9/22/2020 12:14:18   PM SENT


Associated Case Party:             FELIXV.CUADRADO

 Name                  BarNumber    Email                                 TimestampSubmitted        Status

 Ditty Bhatti          24062803     ditty.bhatti@bhattilawfirm.com        9/22/2020 12:14:18   PM SENT
Vincent Bhatti                      Vincent.bhatti@bhattilawfirm.com      9/22/2020 12:14:18   PM SENT


Associated Case Party: T|           COMMUNITIES

 Name                  BarNumber     Email                           TimestampSubmitted        Status

 Kristin     L.Bauer                 bauerk@jacksonlewis.com         9/22/202012:14:18PM       SENT
Julie   A.Farmer                     farmerj@jacksonlewis.com        9/22/202012:14:18PM       SENT
                                                                                                                                      FILED
                                                                                                                         10/9/2020 12:55   PM
                                                                                                                             FELICIA PITRE
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                             Page 134 of 189 PageID 138                   DISTRICT CLERK
                                                                                                                    DALLAS CO., TEXAS
                                                                                                                Miranda Lynch DEPUTY




                                         NO. DC-20-03308



FELIX V. CUADRADO,                                   §             IN   THE DISTRICT COURT

                 Plaintiffs,                         g


V.                                                   g            DALLAS COUNTY, TEXAS

VIEW AT KESSLER PARK and,                            g
TI   COMMUNITIES,                                    §

                                                                        “1
                 Defendants.                         g            134        JUDICIAL DISTRICT


                                      NOTICE OF HEARING

          Please take notice that the Court Will hear Defendant Westmount at Kessler Park,             LP (View

at   Kessler Park)’s   “No Evidence” Motion for Summary Judgment Tuesday, November                     10, 2020,


at 8 a.m.     Hearing will be held telephonically through Microsoft Teams, the               call-in   number       is



1-469-208— 1 731 and the hearing identiﬁcation number       is    33 3 002 5 14#.


                                                          Respectfully submitted,


                                                          COATS          |    ROSE,   P.C.




                                               By:        /s/Alan       J.   Harlan
                                                          Alan    J.   Harlan
                                                          State   Bar N0. 090 1 0200

                                                          600 Signature Place
                                                          14755 Preston Road
                                                          Dallas, Texas 75254
                                                          (972) 788-1600 Telephone
                                                          (972) 702-0662 Telecopy
                                                         aharlan@coatsrose.com


                                                         ATTORNEYS FOR DEFENDANT

NOTICE OF I-EARING                                                                                       Page   1




                                             EXHIBIT
                                               A-27
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                               Page 135 of 189 PageID 139




                                   CERTIFICATE OF SERVICE

          The undersigned hereby   certiﬁes that   on   this 9th   day of October, 2020, a true and correct


copy of the foregoing instrument was submitted With the Clerk of the 134th                   District Court, Dallas


County, Texas, and was served on the following using the e-ﬁle service 0f the Court, Via email and


certiﬁed mail return receipt requested.


CERTIFIED MAIL
Receipt N07015 1730 0001 8873 2726
Via Electronic Service
Email: Vincent.bhatti@bhattilawﬁrm.com
Email: dlttv.bhatt1(a>5hatt11awt1rm.com

The   Bhatti   Law Firm, PLLC
V1ncent   J.   Bhattl
State   Bar N0. 24055169
D1tty S. Bhattl
State Bar No. 24062803
14785 Preston Road, Suite 550
Dallas, Texas 75254
Telephqne: €214 253-2533
Facsgmlle: (2 4) 79-0033
Ema11:




CER TIFIED MAIL
      N0 7015 I 730
Receipt                 000] 8873 2733
Via Electronic Service
Email: bauerk@iacksonlewis.com
Email: fameri@iacksonlewis.com

Jackson Lewis P.C.
Kristin L. Bauer
State   Bar N0. 240068 1 3
Julie   A. Farmer
State Bar No. 24059734
500 N. Akard, Suite 2500
Dallas, Texas 75201
Telephone: (214) 520-2400
Facsimile: (214) 520-2008



                                                               /s/Alan         J.   Harlan
                                                                   Alan   J.   Harlan

NOTICE OF I-EARING                                                                                         Page 2
    Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20 Page 136 of 189 PageID 140
                         Automated Certificate of eService
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certificate of service that            complies with       all   applicable rules.

Sidney Perkins on behalf of Alan Harlan
Bar No. 9010200
sperkins@coatsrose.com
Envelope ID: 47055378
Status as 0f 10/12/2020 8:45 AM CST

Case Contacts

 Name                    BarNumber     Email                                   TimestampSubmitted        Status

 Dallas Docketing                      DalIasDocketing@jacksonlewis.com        10/9/2020 12:55:36   PM SENT
Alan    J.   Harlan      9010200       aharlan@coatsrose.com                   10/9/2020 12:55:36   PM SENT
Sidney Perkins                         sperkins@coatsrose.com                  10/9/2020 12:55:36   PM SENT
 Nancy Blum                            nancy.blum@jacksonlewis.com             10/9/2020 12:55:36   PM SENT
 Francine Ly                          f|y@dallascourts.org                     10/9/2020 12:55:36   PM SENT


Associated Case Party:            VIEW AT KESSLER PARK

 Name                  BarNumber     Email                           TimestampSubmitted        Status

Julie   A.Farmer                     farmerj@jacksonlewis.com        10/9/2020 12:55:36   PM SENT
 Kristin     L.Bauer                 bauerk@jacksonlewis.com         10/9/2020 12:55:36   PM SENT


Associated Case Party:             FELIXV.CUADRADO

 Name                  BarNumber    Email                                 TimestampSubmitted        Status

 Ditty Bhatti          24062803     ditty.bhatti@bhattilawfirm.com        10/9/2020 12:55:36   PM SENT
Vincent Bhatti                      Vincent.bhatti@bhattilawfirm.com      10/9/2020 12:55:36   PM SENT


Associated Case Party: T|           COMMUNITIES

 Name                  BarNumber     Email                           TimestampSubmitted        Status

 Kristin     L.Bauer                 bauerk@jacksonlewis.com         10/9/2020 12:55:36   PM SENT
Julie   A.Farmer                     farmerj@jacksonlewis.com        10/9/2020 12:55:36   PM SENT
                                                                                                                                                FILED
                                                                                                                                   10/29/2020 4:46   PM
                                                                                                                                       FELICIA PITRE
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                         Page 137 of 189 PageID 141                 DISTRICT CLERK
                                                                                                                                  DALLAS CO., TEXAS
                                                                                                                              Miranda Lynch DEPUTY




                                              NO. DC-20-03308

FELIX V. CUADRADO,                                                                           IN    THE DISTRICT COURT

                Plaintiffs,


v.                                                                                          DALLAS COUNTY, TEXAS
                                                        wwwwwmmwww




VIEW AT KESSLER PARK and,
TI   COMMUNITIES,
                                                                                                   t“
                Defendants.                                                                 134         JUDICIAL DISTRICT

                            CERTIFICATE OF WRITTEN DISCOVERY

        Westmount     at   Kessler Park L.P.    ("WKPLP")               ﬁles this Cettiﬁcate of Written Discovery


directed t0 Plaintiff, Felix V. Cuadrado, in this cause, pursuant t0 the applicable local rule and


states that the discovery set forth   below was served on               all parties      0n the    29th   day 0f October, 2020:

        1.   Defendant Westmount       at   Kessler Park, L.P. d/b/a               View     at   Kessler Park’s Responses to


             Plaintiff s First Request for Production.



                                                                      Respectfully submitted,


                                                                      COATS          |    ROSE,     P.C.


                                                                      /s/Alan       J.   Harlan
                                                                      Alan    J.   Harlan
                                                                      State   Bar No. 090 1 0200

                                                                      600 Signature Place
                                                                      14755 Preston Road
                                                                      Dallas, Texas 75254
                                                                      (972) 788-1600 Telephone
                                                                      (972) 702-0662 Telecopy
                                                                     aharlan@coatsrose.com


                                                                     ATTORNEYS FOR DEFENDANT
                                                                     WESTMOUNT AT KESSLER PARK, L.P.


CERTIFICATE OF WRITTEN DISCOVERY                                                                                       Page   1




                                                  EXHIBIT
                                                    A-28
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                            Page 138 of 189 PageID 142




                                  CERTIFICATE OF SERVICE

         The undersigned hereby   certiﬁes that   0n   this 29th   day 0f October, 2020, a true

and correct copy ofthe foregoing instrument was submitted With the Clerk ofthe 134th

District Court, Dallas County, Texas,   and was served on the following using the e—ﬁle

service 0f the Court.


Via Electronic Service
The Bhatti Law Firm, PLLC
Vlncent J. Bhattl
State   Bar N0. 24055 1 69
D1tty S. Bhattl
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Telephqne: €214 253-2533
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Email: Vincent.bhatti@bhattilawﬁrm.com
Email:     dlttV.bhatt1(a)bhatt11awhrm.com




Jackson Lewis P.C.
Kristin L. Bauer\
State Bar N0. 240068 1 3
Julie A. Farmer
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Dallas, Texas 75201
Telephone: (214) 520-2400
Facsimile: (214) 520-2008
Email: bauerk@iacksonlewis.com
Email: farmeri @i acksonlewis.com


                                                               /s/Alan      J.   Harlan
                                                               Alan    J.   Harlan




CERTIFICATE OF WRITTEN DISCOVERY                                                                  Page 2
    Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20 Page 139 of 189 PageID 143
                         Automated Certificate of eService
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certificate of service that            complies with       all   applicable rules.

Sidney Perkins on behalf of Alan Harlan
Bar No. 9010200
sperkins@coatsrose.com
Envelope ID: 47660290
Status as 0f 10/30/2020 9:49 AM CST

Case Contacts

 Name                    BarNumber     Email                                   TimestampSubmitted        Status

 Dallas Docketing                      DalIasDocketing@jacksonlewis.com        10/29/2020 4:46:34   PM SENT
Alan    J.   Harlan      9010200       aharlan@coatsrose.com                   10/29/2020 4:46:34   PM SENT
Sidney Perkins                         sperkins@coatsrose.com                  10/29/2020 4:46:34   PM SENT
 Nancy Blum                            nancy.blum@jacksonlewis.com             10/29/2020 4:46:34   PM SENT
 Francine Ly                          f|y@dallascourts.org                     10/29/2020 4:46:34   PM SENT


Associated Case Party:            VIEW AT KESSLER PARK

 Name                  BarNumber     Email                           TimestampSubmitted        Status

Julie   A.Farmer                     farmerj@jacksonlewis.com        10/29/2020 4:46:34   PM SENT
 Kristin     L.Bauer                 bauerk@jacksonlewis.com         10/29/2020 4:46:34   PM SENT


Associated Case Party:             FELIXV.CUADRADO

 Name                  BarNumber    Email                                 TimestampSubmitted        Status

 Ditty Bhatti          24062803     ditty.bhatti@bhattilawfirm.com        10/29/2020 4:46:34   PM SENT
Vincent Bhatti                      Vincent.bhatti@bhattilawfirm.com      10/29/2020 4:46:34   PM SENT


Associated Case Party: T|           COMMUNITIES

 Name                  BarNumber     Email                           TimestampSubmitted        Status

 Kristin     L.Bauer                 bauerk@jacksonlewis.com         10/29/2020 4:46:34   PM SENT
Julie   A.Farmer                     farmerj@jacksonlewis.com        10/29/2020 4:46:34   PM SENT
                                                                                                                                           FILED
                                                                                                                             10/29/2020 3:38   PM
                                                                                                                                 FELICIA PITRE
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                  Page 140 of 189 PageID 144                  DISTRICT CLERK
                                                                                                                         DALLAS     CO.,   TEXAS
                                                                                                                     Rhonda Burks DEPUTY


                                            CASE NO. DC-20-03308

FELIX V.       CUADRADO                                      §        IN   THE DISTRICT COURT OF
          Plaintiff,                                         §
                                                             §
V.                                                           §        DALLAS COUNTY, TEXAS
                                                             §
VIEW AT KESSLER PARK AND                                     §
TI COMMUNITIES                                               §
                                                                      134th   JUDICIAL DISTRICT
          Defendants.                                        §


                            PLAINTIFF’S          SECOND AMENDED PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

          COMES        Plaintiff, Felix   Cuadrado, and ﬁles his Original Petition.             Plaintiff respectfully


shows the Court        as follows:


                           I.        RULE       190   DISCOVERY CONTROL PLAN

          1.      Plaintiff intends that discovery will               be conducted in accordance with a Level 3


discovery control plan pursuant to Rule 190.4 0f the Texas Rules 0f Civil Procedure.


          2.      Defendant seeks monetary                   relief   between $200,000 and $1,000,000.              The

damages sought         are Within the jurisdictional limits of the Court.


                                                  II.            PARTIES

          3.      The foregoing paragraphs            are hereby incorporated      by reference   as if fully set forth


herein.


          4.      Plaintiff, Felix   V. Cuadrado        is   an individual resident of Dallas County, Texas.


          5.      Defendant,      View     at   Kessler Park (hereinafter referred to as "Kessler")                 is   a


business operating and doing business in Dallas County, Texas and                      may   be served With process


by delivery    to its property location at        2511 Wedglea         Dr., Dallas,   TX   75211 or wherever   it   may

be found.




                                                                 EXHIBIT
                                                                   A-29
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                  Page 141 of 189 PageID 145



          6.     Defendant, TI Communities (hereinafter referred to as “TIC”) is a business

operating and doing business in Dallas County, Texas and may be served with process by

delivery to its corporate headquarters located at 1125 Executive Circle, Suite 100, Irving, TX

75038.

                                      III.   JURISDICTION

          7.     The foregoing paragraphs are hereby incorporated by reference as if fully set forth

herein.

          8.     This Court has jurisdiction over this cause of action because it involves an amount

in controversy within the original jurisdiction of the Court, transacts business in the State of

Texas. This State has personal jurisdiction over this Defendant because it has purposefully

availed itself of the privilege of conducting activities in the State of Texas, specifically Dallas

County. The cause of actions complained of and the events that transpired took place in Dallas

County and, thereby, confers specific jurisdiction with respect to said Defendant. Furthermore,

Defendants have engaged in activities constituting business in the State of Texas, specifically

Dallas County.

          9.     Venue is proper in this Court because all or a substantial part of the events or

omissions giving rise to the claim occurred in Dallas County, Texas and pursuant to Tex. Civ.

Prac. and Rem. Code § 15.002, because Defendants operate in Dallas County and maintain

offices in Dallas County.

          10.    All conditions precedent to recovery have been performed, waived, or have

occurred.




Plaintiff’s Second Amended Petition                                                         Page 2
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                 Page 142 of 189 PageID 146



                              IV.     FACTUAL BACKGROUND

          11.   The foregoing paragraphs are hereby incorporated by reference as if fully set forth

herein.

          12.   On or about February 26, 2018, Mr. Felix V. Cuadrado (“Cuadrado”) was hired

by Defendants as a Technician Director in Maintenance for service at an apartment building

named View at Kessler Park (“View”).

          13.   Plaintiff served as an employee of both Defendants who acted as joint employers.

          14.   Plaintiff worked more than 12 months for Defendants.

          15.   Plaintiff worked more than 1250 hours in a year for Defendants.

          16.   Defendants had multiple properties within 75 miles of each other with 50 or more

employees.

          17.   Shortly after Mr. Cuadrado’s arrival, the building manager at the View left his/her

position and was replaced by an interim manager named Jessica.

          18.   Jessica informed Mr. Cuadrado that her boyfriend had a company that would

bring maintenance personnel to the View and expressed an intention to terminate Mr. Cuadrado’s

crew.

          19.   Mr. Cuadrado advocated for his team to continue retaining their positions.

          20.   Jessica began retaliating against Mr. Cuadrado systematically by harassing him

verbally, through job assignments and micromanaging every aspect of his job.

          21.   About one week prior to his termination, Mr. Cuadrado called Christine and

Kathleen Ball at the corporate TI Communities office to report Jessica’s harassing behavior.

          22.   Both Kathleen and Christine stated they would speak with Jessica about the

matter.




Plaintiff’s Second Amended Petition                                                          Page 3
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                  Page 143 of 189 PageID 147



        23.     Shortly thereafter, Jessica was removed as interim manager at the View to

continuing her work as manager of another TI Community property called the Carlton.

        24.     Nevertheless, on or about March 1, 2019, Jessica sent her lead maintenance

person, Brian, with a pick-up truck to pick up a couple stoves at the View to be transferred to the

Carlton.

        25.     Typically, a person would pick-up the items in the back of the property to avoid

disruption for residents, staff and potential residents in the front. Nevertheless, Brian insisted he

pick-up the stoves in the front of the property and demanded that Mr. Cuadrado bring the stoves

to the front.

        26.     Mr. Cuadrado brought the stoves to the front, as instructed, and helped Brian load

them into his truck.

        27.     Later that day, Mr. Cuadrado was called into the front office and told by Christine

that he had stolen two stoves from the property. Mr. Cuadrado explained that he brought the

stoves to the front and loaded them into Brian’s truck, as instructed.

        28.     TI Management ignored Mr. Cuadrado’s explanation and insisted that they had

him on a video stealing the stoves.

        29.     Mr. Cuadrado was then terminated from his position.

        30.     TI Management insisted that Mr. Cuadrado take off his company T-Shirt and coat.

        31.     Mr. Cuadrado complied and was shamefully escorted off the property, without a

shirt, through the lobby of the property in front of residents and employees.

        32.     On all knowledge and belief, Defendants did not call the police, initiate a criminal

investigation or otherwise investigate the matter themselves before terminating Mr. Cuadrado.




Plaintiff’s Second Amended Petition                                                          Page 4
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                 Page 144 of 189 PageID 148



        33.     Defendants called Mr. Cuadrado a thief and published that facts to residents and

employees and Plaintiff’s prospective employers.

        34.     Plaintiff applied for several positions after leaving Defendant. He was initially

offered the jobs contingent upon a reference check. In each case, Plaintiff was not offered the

job after the prospective employer contacted Defendants.

        35.     Based on all information and knowledge, Defendants published the false

accusation that Plaintiff was a thief to Plaintiff’s prospective employers which prevented him

from securing similar jobs.

        36.     Approximately six (6) months after starting his employment with Defendants,

Plaintiff was promised an unconditional bonus of approximately $10,000.00 upon sale of the

building as an incentive to go above and beyond in making improvements and maintaining the

building to prepare it for sale.

        37.     Plaintiff made extraordinary efforts to help Defendants accomplish this goal.

        38.     After six (6) months of working, Plaintiff was told by Defendants that he would

receive a $10,000.00 bonus upon sale of the building.

        39.     The only condition for Plaintiff to receive the bonus was that the building must

sell.

        40.     The building did sell shortly after Plaintiff was wrongfully terminated.

        41.     Upon all knowledge and belief, this bonus was offered to incentivize Plaintiff to

go above and beyond in preparing the building for sale and for him to continue working at the

job.

        42.     Plaintiff did both.




Plaintiff’s Second Amended Petition                                                        Page 5
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                  Page 145 of 189 PageID 149



           43.   The building required over a million dollars worth of repair to make sure the

elevators were safe and up to date.

           44.   Plaintiff learned the procedures from the elevator contractor and saved

Defendants thousands of dollars by knowing how to make the repair himself.

           45.   Defendants needed to repair the entire roof of the building for millions of dollars

because the roof would flood during each rainstorm.

           46.   Plaintiff solved this problem by purchasing water pumps that turned on during the

rainstorms and pumped the water off the building’s roof. This saved Defendants millions of

dollars.

           47.   Plaintiff hung signage on the building using makeshift ladders and procedures

putting his own life at risk to save Defendant’s thousands of dollars.

           48.   Plaintiff wired and provided lighting in the parking lot without needed another

contractor saving Defendants thousands of dollars.

           49.   Plaintiff found that the previous HVAC person had mixed two different types of

Freon in several A/C units to save money. The proposed fix was to completely replace the

HVAC units. Plaintiff modified the HVAC units which saved the Defendants hundreds of

thousands of dollars in replacement costs for HVAC units.

           50.   After he accomplished this goal, Defendants then concocted a false scenario to

justify Plaintiff’s summary termination and failed to pay him the promised bonus upon sale of

the building which occurred shortly after Plaintiff’s termination.

           51.   Mr. Cuadrado believes that he was set up for termination intentionally.

           52.   On or about November 2018, Plaintiff suffered a stroke while on the job and was

taken by ambulance to a local hospital.




Plaintiff’s Second Amended Petition                                                         Page 6
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                 Page 146 of 189 PageID 150



          53.      Plaintiff was hospitalized for       two   (2)   days t0 be evaluated and treated for a stroke.


          54.      Plaintiff’ s   physician   recommended      that   he take   at least   two   (2)   weeks off to    rest.



          55.      Plaintiff called Kathy, a      manager with Defendants,              to request time off per his


doctor’s orders.


          56.      Kathy responded      that Plaintiff   was not approved         for   FMLA time         off to deal With


his serious health condition as       he was integrally important to prepare the building for                 sale.



          57.      Plaintiff has    been damaged as a     direct result     of Defendant’s acts/omissions.


                                        V.        CAUSES OF ACTION

Defamation Per Se

          58.      The foregoing paragraphs       are hereby incorporated          by reference        as if fully set forth


herein.


          59.      Defendants called Mr. Cuadrado a thief and used                          this   as    a basis      for his


termination.


          60.      Defendants were informed by Mr. Cuadrado that he was not a thief and that he


provided the stoves t0 another employee                named Brian who worked              at the Carlton,     another TI


Communities property,         as instructed   by his   superiors.


          61.      Nevertheless, Defendants continued to call Mr. Cuadrado a thief and published


the   same   t0 residents,   employees and prospective employers.

          62.      Defendants’       statements   are    assumed       t0   be defamatory because calling Mr.


Cuadrado a thief labels him as someone who committed a crime of moral                         turpitude.


          63.      Defendants’ statements are so obviously harmful that n0 proof 0f injurious effect


is   necessary.


          64.      Defendants’ actions and statements were intentional and/or negligent.




Plaintiff” s    Second Amended Petition                                                                               Page 7
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                               Page 147 of 189 PageID 151



          65.      Defendants knew or should have               known   that     Mr. Cuadrado did not        steal the


stoves.


          Tortious Interference With Prospective Business Relationship


          66.      The foregoing paragraph        is   incorporated as if fully set forth herein.


          67.      Plaintiff applied   and interviewed for several jobs            after   he was terminated from


Defendants.


          68.      On    at least three (3)   occasions, Plaintiff     was offered       the job contingent    upon a

reference check.


          69.      After the prospective employers contacted Defendants, Plaintiff’s job offer                       was

withdrawn because they were told         that   Mr. Cuadrado was terminated for being a thief which was

a knowingly false statement.


          70.      Plaintiff has   been unable    t0 secure a position similar to his previous position              With


Defendant and has been forced           t0 take      on a   lesser position With lesser       pay   to provide for his


family.


          71.      Plaintiff   had a reasonable probability         to enter into    an employment relationship


With each 0f the prospective employers.


          72.      Defendants clearly knew that Plaintiff was not a thief as they themselves ordered


him t0 load up     the stoves   on the truck 0f another one of Defendants employees.

          73.      By communicating           that     Plaintiff   was a   thief    t0     Defendant’s    prospective


employers, they had a conscious desire or were substantially conscious 0r certain that Defendant


would not obtain      the position With a prospective employer          by communicating he was           a thief.


          74.      The    Defendants     actions       were    independently       tortious    because     they      were

defamatory and more speciﬁcally constituted defamation per                 se.




Plaintiff” s    Second Amended Petition                                                                        Page     8
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                  Page 148 of 189 PageID 152



           75.      Defendants’ interference caused Plaintiff not to obtain the jobs with prospective


employers.


           76.      Plaintiff has not    been able       to secure a similar level job to the       one he held With

Defendants after leaving and therefore has suffered damages proximately caused by Defendants’


actions.




        Negligent/Intentional Misrepresentation


           77.      Plaintiff incorporates all paragraphs         above as     if stated herein.



           78.      Plaintiff relied   upon Defendants representation              that   he would obtain a $10,000


bonus      in    making   his   decision t0 take these           actions   and continue       his   employment with

Defendants.


           79.      Defendants either knew 0r should have                  known       at   the time 0f   making the

representation that they        would not pay the bonus        t0 Plaintiff.


           80.      Defendants failed to pay the $10,000.00 bonus upon sale of the building.


           81.      Plaintiff suffered injury      by   relying 0n Defendants’ misrepresentations.


         Breach 0f Contract

           82.      Plaintiff incorporates all previous paragraphs as if fully state herein.


           83.      Defendants offered t0 pay Plaintiff a $10,000 bonus upon sale 0f the buildingin


exchange for Plaintiff staying         at the   job and helping to get the building ready for        sale.



           84.      Plaintiff accepted the offer.


           85.      Defendants sold the building.


           86.      Defendants breached the agreement by failing to pay the $10,000 bonus as agreed.


           87.      Plaintiff suffered   damages        as a result of the breach.




Plaintiff” s     Second Amended Petition                                                                      Page 9
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                              Page 149 of 189 PageID 153



        Promissory Estoppel        (in the alternative t0     breach 0fc0ntract)

         88.      Plaintiff incorporates all previous paragraphs as if fully set forth herein.


         89.      Defendants promised a $10,000 bonus to Plaintiff upon sale of the building.


         90.      Plaintiff relied   on   this   promise by continuing his employment With Defendants


and going above-beyond       t0 help the building       be prepared for     sale.



         91.      Defendants failed to pay the $10,000 bonus as promised.


         92.      Plaintiff suffered   damage     as a result.


         Quantum Meruit

         93.      Plaintiff incorporates all previous paragraphs as if fully set forth herein.


         94.      Plaintiff provided        valuable    services     and used       his   own     personal tools     and

equipment in providing services        t0   Defendants t0 prepare the building for           sale.



         95.      Defendants gladly accepted the services provided by                Plaintiff.



         96.      Defendant was reasonably on notice that Plaintiff expected                       to   be paid for the


services he provided to Defendant including but not limited t0 the $10,000 bonus.


         Familv Medical Leave Act Violations

         97.      Plaintiff incorporates all previous paragraphs as if fully set forth herein.


         98.      On   0r about   November 2018,         Plaintiff suffered   from a stroke on the job and was

rushed to a local hospital by ambulance.


         99.      He was   hospitalized for      two   (2) days.


         100.     The physician      at the hospital    recommended       at least   two   (2)   weeks off from work

while Plaintiff recovered.


         101.     Plaintiff contacted Kathy, a          manager With Defendants, Who                 stated he   was not

approved for time off as he was integrally important               to prepare the building for sale.




Plaintiff” s   Second Amended Petition                                                                           Page 10
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                  Page 150 of 189 PageID 154



          102.     Plaintiff was not given         any   FMLA paperwork despite his request.

          103.     Plaintiff was   summarily denied           FMLA.

          104.     Plaintiff    was then terminated from               his   employment approximately       three (3)


months    after his request for    FMLA and denial 0f the same.

          105.     Plaintiff suffered   damages          as a result 0f this legal Violation.


          Intentional Inﬂiction ofEmotional Distress


          106.     Plaintiff incorporates all previous paragraphs as if fully set forth herein.


          107.     Defendants acted intentionally and recklessly by calling Plaintiff a thief with


absolutely no signiﬁcant evidence t0 justify such a statement.


          108.     Defendants ordered Plaintiff t0 bring two stoves from the basement t0 be loaded


0n the truck 0f another one 0f Defendants’ employees.

          109.     Plaintiff complied as instructed.


          110.     Defendants then turned around and accused Plaintiff of being a                  thief.



          111.     Defendants then ordered Plaintiff t0 take off his jacket and T-shirt With their logos


and leave the building.

          112.     Plaintiff    was forced    to   remove     his shirt   and jacket   in front   0f fellow employees


and residents the apartment leasing ofﬁce and walk out of the building with completely no

clothes   on   his chest.


          113.     Plaintiff was   shamed and humiliated and accused 0f being a                 thief.



          114.     To   date,   Defendants have consistently claimed they have a Video which shows


Plaintiff stealing   two    (2) stoves, but   have consistently refused         t0 provide   such Video.


          115.     His termination and his                label   as   a thief throughout the        DFW    apartment


community has caused plaintiff signiﬁcant/severe emotional                     distress.




Plaintiff” s   Second Amended Petition                                                                       Page 11
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                 Page 151 of 189 PageID 155



                                  VII.    PRESERVING EVIDENCE

       116.    Plaintiff requests and demand that Defendant preserve and maintain all evidence

pertaining to any claim or defense related to the incident made the basis of this lawsuit or the

damages resulting there from, including statements, photographs, videotapes, audiotapes,

surveillance or security tapes or information, business or medical records, incident reports, claim

files, policy files, periodic reports, financial statements, bills, telephone call slips or records,

estimates, invoices, checks, measurements, correspondence, facsimiles, email, voice mail, text

messages, and any electronic image or information related to the referenced incident or damages.

Failure to maintain such items will constitute “spoliation” of the evidence.

                                           IX.     DAMAGES

       117.    Plaintiff re-asserts and re-alleges everything contained in the preceding

paragraphs.

       118.    The above described acts, omissions, failures and conduct of Defendant have

caused Plaintiff damages which include, without limitation, the costs associated with actual

damages, presumed damages, punitive damages, and consequential damages from Defendants’

actions.

                                  X.      EXEMPLARY DAMAGES

       119.    Defendants’ statements about Plaintiff were done intentionally, with a conscious

indifference to the rights and welfare of Plaintiff and with "malice" as that term is defined in

Chapter 41 of the Texas Civil Practice and Remedies Code.

       120.    These violations by Defendants are the type of conduct which the State of Texas

protects its citizen against by the imposition of exemplary damages. Therefore, Plaintiff seeks

the recovery of exemplary damages in an amount to be determined by the finder of fact that is




Plaintiff’s Second Amended Petition                                                        Page 12
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                   Page 152 of 189 PageID 156



sufficient to punish Defendants for their wrongful conduct and to set an example to deter

Defendants and others similarly situated from committing similar acts in the future

                              XI.     ATTORNEYS’ FEES AND COSTS

       121.    Plaintiff integrates all preceding paragraphs as if fully set forth herein and further

incorporate by reference herein all preceding paragraphs hereto.

       122.    Plaintiff seeks recovery of their reasonable and necessary attorneys’ fees, costs

and expenses through trial and all appeals under applicable Texas law.

       123.    Plaintiff has been required to obtain legal counsel as a result of Defendants’

intentional acts and omissions. As a result, Plaintiff has and will incur attorney’s fees and

expenses prosecuting their claims. Plaintiff is therefore entitled to recover their reasonable and

necessary attorney’s fees.

                                             XII.    JURY DEMAND

       124.    Plaintiff adopts the preceding paragraphs as if fully set forth herein.

       125.    Plaintiff requests that a jury be convened to try the factual issues in this action.

                                XIII. REQUEST FOR DISCLOSURE

       126.            Plaintiff hereby request that each party disclose within fifty (50) days of

the service of this request, the information and material subject to disclosure subject to disclosure

pursuant to Rules 190.2(b)(6) and 194.2.

       127.    This request does not extend nor in any way alter the time for the filing an answer

by any Defendant; Plaintiff reserves the right to move for a default judgment against any

Defendant that fails to timely answer or appear.

                XIV. NOTICE OF INTENT TO USE PRODUCED DOCUMENTS




Plaintiff’s Second Amended Petition                                                          Page 13
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                  Page 153 of 189 PageID 157



         128.      Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, each party is

hereby given notice of Plaintiff’s intent to use any and all documents produced by any and all

parties at any pretrial hearing, depositions, proceedings, through discovery, the trial of this

matter, or any combination. See Tex. R. Civ. P. 193.7.

            XV.       NOTICE OF DUTY TO SUPPLEMENT AND AMEND DISCOVERY

                                             RESPONSE

         129.      Pursuant to Rules 193.5 and 195.6 of the Texas Rules of Civil Procedure, each

party is hereby requested to take notice of his, her, or its duty to amend or supplement

incomplete or incorrect responses to written discovery reasonably promptly after the necessity

for such a response is discovered. See Tex. R. Civ. P. 193.5(a), (b); see also Tex. R. Civ. P.

195.6.

                                             XVI. PRAYER

                   WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendant be

cited to appear and answer herein, and that upon trial hereof, said Plaintiff has and recover such

sums as would reasonably and justly compensate them in accordance with the rules of law and

procedure, both as to actual damages, consequential damages, and all punitive, additional, and

exemplary damages as may be found.

         In addition, Plaintiff requests the award of attorney's fees for the trial and any appeal of

this case, for all costs of court, for prejudgment and post judgment interest as allowed by law,

and for any other and further relief, at law or in equity, to which they may show themselves to be

justly entitled.

         DATED:           October 29, 2020                    Respectfully submitted,

                                                              The Bhatti Law Firm, PLLC




Plaintiff’s Second Amended Petition                                                         Page 14
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20     Page 154 of 189 PageID 158



                                               /s/   Vincent   J.   Bhatti
                                               Vincent   J.   Bhatti
                                               State   Bar N0. 24055 1 69
                                               Ditty S. Bhatti
                                               State Bar N0. 24062803
                                               14785 Preston Road, Suite 550
                                               Dallas, TX 75254
                                               Telephone: (214) 253-2533
                                               Facsimile: (214) 279-0033
                                               Vincent.bhatti@bhattilawﬁrm.com
                                               ditty.bhatti@bhattilawﬁrm.com
                                               ATTORNEYS FOR PLAINTIFF
                                               FELIX CUADRADO




Plaintiff” s   Second Amended Petition                                       Page 15
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                             Page 155 of 189 PageID 159



                                             CERTIFICATE OF SERVICE
         The undersigned    certiﬁes that a      copy of the foregoing instrument was served upon the
attorneys 0f record 0f all parties     by   electronic mail and/or facsimile     on October 29, 2020:


                         Kristin L.    Bauer and   Julie   A. Farmer
                         Jackson Lewis, P.C.
                         500 N. Akard, Suite 2500
                         Dallas,     TX 75201
                         Fax: (214) 520-2008
                         bauerk@j acksonlewis.com
                         farmer@j acksonlewis.com


                         Alan   J.   Harlan
                         Coats Rose, P.C.
                         600 Signature Place
                         14755 Preston Road
                         Dallas,     TX 75254
                         Fax: (972) 702-0662
                         aharlan@coatsrose.com




                                                              Vincent   J.   Bhatti




Plaintiff” s   Second Amended Petition                                                              Page 16
    Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20 Page 156 of 189 PageID 160
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that            complies with       all   applicable rules.

Ditty Bhatti on behalf of Vincent Bhatti
Bar No. 24055169
ditty.bhatti@bhattilawfirm.com
Envelope ID: 47654032
Status as of 10/30/2020 10:39                  AM CST
Associated Case Party:             FELIXV.CUADRADO

 Name                  BarNumber    Email                                TimestampSubmitted         Status

 Ditty Bhatti          24062803     ditty.bhatti@bhattilawfirm.com        10/29/2020 3:38:13   PM SENT
Vincent Bhatti                      Vincent.bhatti@bhattilawfirm.com      10/29/2020 3:38:13   PM SENT


Associated Case Party:            VIEW AT KESSLER PARK

 Name                  BarNumber     Email                           TimestampSubmitted        Status

 Kristin     L.Bauer                 bauerk@jacksonlewis.com         10/29/2020 3:38:13PM      SENT
Julie   A.Farmer                     farmerj@jacksonlewis.com        10/29/2020 3:38:13PM      SENT


Associated Case Party: TI           COMMUNITIES

 Name                  BarNumber     Email                           TimestampSubmitted        Status

Julie   A.Farmer                     farmerj@jacksonlewis.com        10/29/2020 3:38:13PM      SENT
 Kristin     L.Bauer                 bauerk@jacksonlewis.com         10/29/2020 3:38:13PM      SENT


Case Contacts

 Name                    BarNumber     Email                                   TimestampSubmitted        Status

 Dallas Docketing                      DalIasDocketing@jacksonlewis.com        10/29/2020 3:38:13   PM SENT
Alan    J.   Harlan      9010200       aharlan@coatsrose.com                   10/29/2020 3:38:13   PM SENT
Sidney Perkins                         sperkins@coatsrose.com                  10/29/2020 3:38:13   PM SENT
 Nancy Blum                            nancy.blum@jacksonlewis.com             10/29/2020 3:38:13   PM SENT
 Francine Ly                          fly@dallascourts.org                     10/29/2020 3:38:13   PM SENT
                                                                                                                     FILED
                                                                                                         11/2/2020 12:50 PM
                                                                                                            FELICIA PITRE
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                    Page 157 of 189 PageID 161           DISTRICT CLERK
                                                                                                      DALLAS CO., TEXAS
                                                                                                 Margaret Thomas DEPUTY


                                      CASE NO. DC-20-03308

FELIX V. CUADRADO                               §      IN THE DISTRICT COURT OF
          Plaintiff,                            §
                                                §
v.                                              §      DALLAS COUNTY, TEXAS
                                                §
VIEW AT KESSLER PARK                            §
AND TI COMMUNITIES                              §      134th   JUDICIAL DISTRICT
          Defendants.                           §




                NOTICE OF NONSUIT AS TO VIEW AT KESSLER PARK

          Pursuant to Rule 162 of the Texas Rules of    Civil Procedure, Plaintiff, Felix Cuadrado,

hereby give notice that he is dismissing all claims asserted in the above-captioned action against

Defendant View at Kessler Park Without prejudice.1       All   parties shall bear their own attorneys’

fees and costs.




                                                                W
          DATED:         November 2, 2020                       Respectfully submitted,

                                                                The Bhatti Law Firm,      PLLC

                                                                Vincent I. Bhatti
                                                                State Bar No. 24055 l 69
                                                                Ditty S. Bhatti
                                                                State Bar No. 24062803
                                                                14785 Preston Road, Suite 550
                                                                Dallas, TX 75254
                                                                Telephone: (214) 253-2533
                                                                Facsimile: (214) 279-0033
                                                                Vincent.bhatti@bhattilawf1rm.com
                                                                ditty.bhatti@bhattilawrm.com
                                                                ATTORNEYS FOR PLAINTIFF
                                                                FELIX CUADRADO



1
    This nonsuit does not include any and all claims Plaintiff has and continues to maintain against
TI Communities.

                                              EXHIBIT
                                                    A-30
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20            Page 158 of 189 PageID 162



                                  CERTIFICATE OF SERVICE
       The undersigned certies that a copy of the foregoing instrument was served upon the
attorneys of record of all parties by electronic mail and/or facsimile on November 2, 2020:

                    Kristin L. Bauer and Julie A. Farmer
                    Jackson Lewis, P.C.
                    500 N. Akard, Suite 2500
                    Dallas, TX 75201
                    Fax: (214) 520-2008
                    bauerk@jacksonlewis.com
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                    Alan J. Harlan
                    Coats Rose, P.C.
                     600 Signature Place
                     14755 Preston Road
                    Dallas, TX 75254
                    Fax: (972) 702-0662
                     aharlan@coatsrose.com




                                                 Vincent J. Bhatti
    Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                         Page 159 of 189 PageID 163
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Ditty Bhatti
Bar No. 24062803
ditty.bhatti@bhattilawfirm.com
Envelope ID: 47726904
Status as of 1 1/2/2020 3:04 PM               CST
Associated Case Party: FELIXV.CUADRADO

Name                 BarNumber   Email                                 TimestampSubmitted      Status

Ditty Bhatti         24062803    ditty.bhatti@bhattilawfirm.com        11/2/2020 12:50:45 PM   SENT
Vincent Bhatti                   Vincent.bhatti@bhattilawfirm.com      11/2/2020 12:50:45 PM   SENT


Associated Case Party: VIEW AT KESSLER PARK

Name                 BarNumber     Email                          TimestampSubmitted      Status
Kristin L.Bauer                    bauerk@jacksonlewis.com        11/2/2020 12:50:45 PM   SENT
Julie A.Farmer                     farmerj@jacksonlewis.com       11/2/2020 12:50:45 PM   SENT


Associated Case Party: Tl COMMUNITIES

Name                 BarNumber     Email                          TimestampSubmitted      Status
Julie A.Farmer                     farmerj@jacksonlewis.com       11/2/2020 12:50:45 PM   SENT
Kristin L.Bauer                    bauerk@jacksonlewis.com        11/2/2020 12:50:45 PM   SENT


Case Contacts

Name                   BarNumber     Email                                  TimestampSubmitted      Status
Dallas Docketing                     DallasDocketing@jacksonlewis.com       11/2/2020 12:50:45 PM   SENT
Alan   J.   Harlan     9010200      aharlan@coatsrose.com                   11/2/2020 12:50:45 PM   SENT
Sidney Perkins                      sperkins@coatsrose.com                  11/2/2020 12:50:45 PM   SENT
Nancy Blum                           nancy.blum@jacksonlewis.com            11/2/2020 12:50:45 PM   SENT
Francine Ly                         y@dallascourts.org                      11/2/2020 12:50:45 PM   SENT
                                                                                                                               FILED
                                                                                                                   9/16/2020 4:15 PM
                                                                                                                       FELICIA PITRE
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                           Page 160 of 189            PageID 164 DISTRICT CLERK
                                                                                                                DALLAS CO., TEXAS
                                                                                                            Margaret Thomas DEPUTY




                                                 NO. DC-20-03308


FELIX V. CUADRADO,                                        §           IN   THE DISTRICT COURT

                 Plaintiffs,                              g

v.                                                        g          DALLAS COUNTY, TEXAS

VIEW AT KESSLER PARK and,                                 g
TI    COMMUNITIES,                                        §

                                                                           t"
                 Defendants.                              g          134        JUDICIAL DISTRICT



DEFENDANT WESTMOUNT AT KESSLER PARK, LP (VIEW AT KESSLER PARKQ’S
         “NO EVIDENCE” MOTION FOR SUMMARY JUDGMENT

TO THE HONORABLE JUDGE OF SAID COURT:
         COMES NOW          Westmount       at   Kessler Park, LP, d/b/a        View   at   Kessler Park, one of the


Defendants herein, and moves         this   Court for entry of a “no evidence” summary judgment in                      its



favor,   and for cause would   state the following:


                                                         I.



         Pursuant to the provisions of Rule 166a(i), Texas Rules of Civil Procedure, “[A]fter


adequate time for discovery, a party without presenting summary judgment evidence                        may move

for   summary judgment on      the ground that there     is   n0 evidence of one or more elements of a claim

0r defense 0n   Which an adverse party would have the burden of proof at trial”.                  While, in the case


at bar, Plaintiff Felix   V. Cuadrado has had nearly seven (7) months to conduct discovery, he has


totally failed to establish the existence          of any Viable claim or cause of action against                   this


Defendant.     More   speciﬁcally,    Movant would       point out that, at Paragraphs 12-48 of his First


Amended Petition, Plaintiffhas actually          substantiated only that he      was employed by Co-Defendant
DEFENDANT WESTMOUNT AT KESSLER PARK, LP (VIEW AT KESSLER PARK)’S
“NO EVIDENCE” MOTION FOR SUMMARY JUDGMENT                                                                    Page   l




                                                     EXHIBIT
                                                       A-31
    Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                          Page 161 of 189 PageID 165




    TI Communities (sometimes referred to as “TI Management”), certain employees of which


    allegedly     defamed Mr. Cuadrado and/or wrongﬁllly terminated                            his   employment.       These       facts are


    borne out by     Plaintiff” s   Obj ections and Responses to Defendant Westmount                           at   Kessler Park, LP’s


    First Set     of Interrogatories and Request for Production to                       Plaintiff,       a true and correct copy 0f


    which    is   attached hereto as Exhibit            “A” and    is   incorporated herein by reference for                all   purposes.


    More    speciﬁcally:


              (1)         In response t0 Movant’s Interrogatory No.                      1,   Plaintiff    answered that “Kathy,            (a


    director level    employee             at   TI Communities) saw Plaintiff working                at   800 Link    in   2018 and she

                                       '




    offered Plaintiff a job”.


              (2)         In response to Movant’s Interrogatory N0. 3, Plaintiff admits that he has never even


    discussed his employment “with any person purportedly employed by or associated with the owner
I




    of the property       known   as       View at    Kessler Park”.


              (3)         In answer to Movant’s Interrogatory Nos. 5, 7 and 9, Plaintiff admits that he dealt


    only    with employees and/or representatives 0f TI Communities in connection with his


    employment       at   View at      Kessler Park.


              (4)         In response to Movant’s Request for Production of Documents, Plaintiff produced


    a written (and signed) employment agreement clearly entered into by and between Mr. Cuadrado


    and TI Communities HR,                 LP and its   aﬂiliate   TI Communities.            (See Cuadrado 000009, a true and


    correct   copy 0f which       is       attached herleto as Exhibit     “B” and incorporated herein by                  reference.)


              (5)         In ﬁlrther response to Movant’s Request for Production of Documents, Plaintiff


    produced 2018 and 2019 IRS Form W—2s, which                          list   his   employer as Coadvantage Resources                  24,


    Inc.   and the control number as TI Communities HR, LP. (See Cuadrado 000001-000004, true and


    DEFENDANT WESTMOUNT AT KESSLER PARK, LP (VIEW AT KESSLER PARK)’S
    “NO EVIDENCE” MOTION FOR SUMMARY JUDGMENT                                                                                      Page 2
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                      Page 162 of 189 PageID 166




correct copies of     Which    are together attached hereto as Exhibit                  “C” and incorporated herein by


reference.)


None of Plaintiffs        Interrogatory    Answers nor any of the documents produced by                     Plaintiff     even

suggest that Plaintiff Felix V. Cuadrado was employed by any party other than Co-Defendant TI


Communities.

                                                                II.



        On or about June       18,   2020, Movant ﬁled          its   Original Answer, which      Answer incorporates a

verified denial pointing out that there              is   a defect in the parties defendant in the case         at bar, that



Westmount      at Kessler Park,      LP   at   n0 time employed          Plaintiff, in   any capacity, either      directly 0r


through an agent, nor did Movant           own the View at Kessler Park property                 during the timeframe in


which   Plaintiff claims to          have been damaged.                Plaintiff’ s   subsequently ﬁling of his First


Amended       Petition,    on or about June           27, 2020, did not address, in any manner, any of the


allegations set forth in     Movant’s Veriﬁed Denial.                 A true and correct copy of Movant’s Original
Answer   is   attached hereto as Exhibit         “D” and incorporated herein by              reference for   all   purposes.


Despite the ﬁling of Movant’s Veriﬁed Denial, Plaintiff has neither conducted any discovery to


ascertain the validity of its allegations against this Defendant, or                   amended his pleadings to remove

Westmount      at Kessler Park,      LP and    its   property in the case at bar.


                                                               III.



        In light of the clear and obvious absence of any evidence, whatsoever, to support any claim


0r cause of action by Plaintiff against either               Westmount      at   Kessler Park,   LP   or the real property


known   as    View   at   Kessler Park, this Defendant seeks entry of a                  summary judgment     in    its   favor


and, in addition, would ask that this Court award                 Movant     its   reasonable and necessary attorney’s


DEFENDANT WESTMOUNT AT KESSLER PARK, LP (VIEW AT KESSLER PARK)’S
“NO EVIDENCE" MOTION FOR SUMMARY JUDGMENT                                                                            Page 3
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                    Page 163 of 189 PageID 167




fees   and costs incurred in   its   defense of this lawsuit as an appropriate sanction for Plaintiff” clear


Violation of Rule 13, Texas Rules of Civil Procedure.


         WHEREFORE,           Defendant Westmount              at   Kessler Park,        LP    d/b/a   View   at Kessler Park,



prays that, upon notice and hearing, this Court grant                   its    “N0 Evidence” Motion                for    Summary

Judgment, enter a take nothing summary judgment in                     its    favor and award          Movant      its   reasonable


and necessary attorneys’ fees and costs incurred in             its   defense of this action, based upon Plaintiff s


ﬁling and prosecution 0f a groundless and frivolous lawsuit against                           it,   along with such other and


further relief, either at   law 0r   in equity   it   which Movant may show                itself to   be justly   entitled.



                                                                     Respectfully submitted,


                                                                     COATS          |   ROSE,        P.C.




                                                         By:          /s/Alcm      J.   Harlan
                                                                     Alan    J.   Harlan
                                                                     State    Bar No. 0901 0200

                                                                     600 Signature Place
                                                                     14755 Preston Road
                                                                     Dallas, Texas 75254
                                                                     (972) 788-1600 Telephone
                                                                     (972) 702-0662 Telecopy
                                                                    aharlan@coatsrose.com


                                                                    ATTORNEYS FOR DEFENDANT




DEFENDANT WESTMOUNT AT KESSLER PARK, LP (VIEW AT KESSLER PARK)’S
“N0 EVIDENCE” MOTION FOR SUMMARY JUDGMENT                                                                                  Page 4
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                               Page 164 of 189 PageID 168




                                      CERTIFICATE 0F SERVICE

         The undersigned hereby       certiﬁes that   0n   this 16th   day 0f September, 2020, a

true   and correct copy of the foregoing instrument was submitted with the Clerk ofthe

134th District Court, Dallas County, Texas, and was served on the following using


the e-ﬁle service of the Court.


Via Electronic Service
TH. e BHattl Law _Flrm, PLLC
Vlncent J. Bhattl
State   Bar No. 24055 1 69
D1tty S. Bhattl
State Bar No. 24062803.
14785 Preston Road, Sulte 550
Dallas, Texas 75254
Telephgne: $214 253-2533
Facsgrmle; (2 4) 79-9033          .

Emagl: vmcent.bhatt1®bhatt11awﬁnmcom
Emall:     dlttv.bhattlaabﬁattllawtmnsom



                                                                  /s/Alan      J.   Harlan
                                                                  Alan    J.   Harlan




DEFENDANT WESTMOUNT AT KESSLER PARK, LP (VIEW AT KESSLER PARK)’S
“NO EVIDENCE” MOTION FOR SUMMARY JUDGMENT                                                          Page 5
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                            Page 165 of 189 PageID 169




                                         CASE NO. DC-20-03308

    FELIX V. CUADRADO                              §         IN   THE DISTRICT COURT 0F
           Plaintiff,
                                                   §
                                                   §
    v.
                                                   §         DALLAS COUNTY, TEXAS
                                                   §
    VIEW AT KESSLER PARK AND                       §
    TI COMMUNITIES                                           134‘“     JUDICIAL DISTRICT
                                                   §
           Defendants.                             §



                  PLAINTIFF’S OBJECTIONS AND RESPONSES TO
           DEFENDANT WESTMOUNT AT KESSLER PARK, L.P.’§ FIRST SET 0F
          ENTERROGATORIES AND REQUEST FOR PRODUCTION T0 PLAINTIFF

    TO:    Defendant, View at Kessler Park, by and through its counsels of record, Felix V.
           Cuadrado, Coats Rose, P.C., 600 Signature Place, 14755 Preston Road, Dallas, TX
           75254.

           Plaintiff hereby   serves   his   objections    and responses            t0   Defendant’s First Set of

    Interrogatories to Plaintiff and Production Requests.


                                                   Respectfully        subm itted,

                                                   THE BHATTI LAW FIRM, PLLC

                                                   /s/Vincent     J.   Bhatti
                                                   Vincent   J.   Bhatti
                                                   State   Bar No. 24055 69     1


                                                   Ditty S. Bhatti
                                                   State Bar No. 24062803
                                                   14785 Preston Road
                                                   Suite 550
                                                   Dallas,   Texas 75254
                                                   (214) 253-2533 (Telephone)
                                                   (214) 279-0033 (Facsimile)
                                                   Vincent.bhatti@bhatti1awﬁrm.com
                                                   ditty.bhatti@bhattilawﬁrmcom
                                                   ATTORNEYS FOR PLAINTIFF




                                             EXHIBIT "A"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                         Page 166 of 189 PageID 170




                                    CEREIFICATE OF SERVICE
              The undersigned  certiﬁes that a copy of the foregoing instrument was served upon the
    attorneys of record of all parties to the above cause in accordance with the
                                                                                 Federal Rules of Civil
    Procedure on September 14, 2020.


    Alan J.Harlan
    Coats Rose, P.C.
    600 Signature Place
    14755 Preston Road
    Dallas,   TX   75254
    Facsimile: (972) 702-0662
    aharlan@coatsrose.com



                                                         /s/ Villc_ent J.   Bham‘
                                                         Vincent    J.   Bhatti




                                          EXHIBIT "A"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                         Page 167 of 189 PageID 171




                          INTERROGATORIES & REQUESTS FOR PRODUCTION
            INTERROGATORY N0.                      l.           In    Paragraph       12 of his First       Amended           Petition,


    Plaintiff states that he      was “hired by Defendants” on 0r about February                     26,   20   l   8.   In connection

    therewith:


            (1)    How    did Plaintiff learn of the position he claims to have been hired
                                                                                           for at the                         View   at


                   Kessler Park property?


            (2)    With   whom     did Plaintiff interview for the maintenance position referenced above?


            (3) Identify the speciﬁc person(s)             who   hired Plaintiff no or about February 26, 201                  8.


            (4)   At the time he was          hired for the position referenced at Paragraph 12 of his First


                  Amended       Petition, did Plaintiff execute a written contract                 ofemployment?

           ANSWER:

                  Kathy    (a director level    employee         at    TI Communities) saw Plaintiff working                   at   800

                  Link    in   2018 and she offered         Plaintiff a job.         Shae, the former manager of              View   at


                  Kessler Park interviewed              Plaintiff.     Plaintiff did not       have a written contract for

                  employment       to his   knowledge.

           REQUESI FOR PRODUCTION N0.                                 I.    Please       produce           all            documents,

    correspondence, memoranda, communication and/or notes, whether written or electronic, which


    substantiate    or    support    Plaintiff’s        claim   that       he was     hired   as    “Technician          Director    in


    Maintenance for service         at   an apartment building              named Vicw of Kessler Park” on                   or about

    February 26, 2018.


           ANSWER:             Plaintiff objects to this request as              vague as almost any document related to

           View      at   Kessler Park or TI Communities                   is   evidence of hiring by Kessler Park given




                                                        EXHIBIT "A"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                      Page 168 of 189 PageID 172




              Kessler Park was owned by TI Communities.                        Notwithstanding such objection, Plaintiff

              responds with documents.


              REQUEST FOR PRODUCTION N0. 2.                              Pleasc produce       all   written correspondence,


    communications, memoranda and/or notes, whether written or electronic, exchanged between or

    among     Plaintiff   and the person(s) or          entities   who   hired him and which pertain to Plaintiff’s


    duties   and responsibilities   in   connection with the         View   at   Kessler Park property.

              ANSWER:        Plaintiff objects to this request as          vague because       at the    time Plaintiff worked

              at   View   at Kessler     Park    it   was owned by TI Communities.                  As   such,    all   documents

              indicating hiring by TI           Communities serves as evidence               for    employment          at   View   at


              Kessler Park. Notwithstanding such objections, Plaintiff produces documents responsive


              to this request.




              REQUEST FOR PRODUCTIQN N0.                                  3:      Please     produce       all    documentation

    referencing payments         made    to Plaintiff    by those persons and/or           entities   who    purportedly hired

    him   to serve as ”Technician Director in            Maintenance for Service        in   an apartment building            named

    View     at   Kessler Park.”   Such documentation              shall necessarily include        any and      all   Form W-2s,

    Form-1099s, and        all   cancelled checks and/or wire transfer conﬁrmations evidencing salary,


    wages or other compensation paid             to Plaintiff by Defendants.



              ANSWER:        Plaintiff objects to this request as         vague because       at the     time Plaintiff worked


              at   View   at Kessler     Park   it    was owned by TI Communities.                  As   such,    all   documents

              indicating hiring    by TI Communities serves                 as evidence for         employment          at   View   at


              Kessler Park. Notwithstanding such objections, Plaintiff produces documents responsive


              to this request.




                                                       EXHIBIT "A"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                      Page 169 of 189 PageID 173




              INTERROGATOBY N0. 2.                            Please identify, by       name and      address,        all   persons at

    Defendant TI Communities with                   whom    Plaintiff discussed      any aspect of             his   employment          as


    “Technician Director           in    Maintenance for Service of an apartment building named View                                     at


    Kessler Park”.



              ANSWER: None

              INTERROGATORY N0. 3.                            Other      than      employees         or        representatives           of

    Defendant TI Communities, did Plaintiff 0r any legal or other representative acting on                                  his behalf,


    discuss his   employment with any person purportedly employed by or                        associated with the                owner

    ofthe property known as View              at   Kessler Park.


              ANSWER:        N0.


              REQUEST FOR PRODUCTION NO. 4                               If the   answer   to Interrogatory 3, above,               is   in


    the afﬁrmative, please        list all   such persons by   name and      address.



              ANSWER: N/A

              INTERROGATORY N_O_w4_.                          Has    Plaintiff ever        entered    into       any contract of

    employment, either       oral or in writing, with       Westmount       at Kessler Park, L.P.?


              ANSWER:         No,       Plaintiff was hired   by TI Communities and View                  at   Kessler Park at the

              time the   latter   was owned by        the former.


              REQUEST FOR PRODUCTION NO.                            5:   If the   answer   to Interrogatory           N0.    4,   above,

    is in   the afﬁrmative, please produce copies of all documents, correspondence,                            memoranda          and/or


    notes,   whether written 0r electronic, Which             identify, outline or support Plaintiff‘s claim that                        he

    was employed by Westmount                at   Kessler Park, L.P.




                                                       EXHIBIT "A"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                        Page 170 of 189 PageID 174




            ANSWER: N/A

            INTERROGATQRY ED. 5.                               Who   or   what    entity    owned    the   View      at   Kessler Park

    property during the timeframe in which Plaintiff claims to
                                                               have incurred or sustained the injuries

     and/or damagcs referenced in Plaintiff’s First
                                                                Amended         Petition?



            ANSWER:          TI Communities



            INTERROGATORY No.6.                                By whom          has Plaintiff been employed since his

    alleged termination by Defendant(s) as “Technician
                                                       Director in Maintenance for service at an

    apartment building    named View       at   Kessler Park”, on         01'   about March    l,   20] 9?

            ANSWER:        82   Capital, Inc.


            INTERROGATORY No.7.                               At Paragraph 26 of             his First        Amended        Petition,

    Plaintiff alleges that      he was required to “take off                    his   company       t-shirt    and coat” by TI

    Communities 0n or about March                    2019.     What logo         or written information
                                                1,                                                                was      printed or

    embroidered on said      t-shirt   and coat which identify said garments as a “company”                                t-shirt   and

    coat?


            ANSWER:        TICommunities

            INTERROGATQR! NO. 8.                              At Paragraph            15 of his First      Amended           Petition,

    Plaintiff references a   “team” he presumably worked with or supervised                         at   View   at   Kessler Park.

    Please identify, by   name and     address,      all   members of said team.

            ANSWER:        Fernando     — Make       Ready, Sergio    — Assistant Manager ofMaintenance, Maria

            — Housekeeper, Martha — Housekeeper.

            INTERROGATORY               NO.     9.            Please identify,        by name,   position and address, the

    person or persons   who “promised      an unconditional bonus of approximately $1 0,000 upon sale of

    the building”, as referenced in Paragraphs 32-35 of Plaintiff’s
                                                                    First                   Amended        Petition.




                                                     EXHIBIT "A"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                   Page 171 of 189 PageID 175




         ANSWER:   Kathleen Ball   at   TI Communities/View   at   Kessler Park




                                        EXHIBIT "A"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                Page 172 of 189 PageID 176




                                                 VERIFICéTION
    STATE 0F TEXAS                                               )

                                                                 )
   COUNTY 0F DALLAS                                              )




   “My name       is   Felix V. Cuadrado,   my   date of birth        January
                                                                 is             7, 1962,   and   my   address   is   312
   Aquamis Drive, Cedar Hill, TX 75104, Dallas County. USA. Ideclare
                                                                            under penalty ofpeljury
   that the foregoing document titled Plaintiff’s
                                                  Objections and Responses to Defendant Westmount
   at   Kessler Park, L.P.’s First Set of Interrogatories   is   true and correct.


   Executed    in Dallas   County, State of Texas on the
                                                            Z    é     day of September. 2020.




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                                                                 FELIX v. dtJADIiADO,            Declarant”




                                                 EXHIBIT "A"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                   Page 173 of 189 PageID 177


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Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                                                  Page 174 of 189 PageID 178
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                                3350           BUSCHWOOD PARK DR #200
                                TAMPA, FL 3381B




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Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                                                                                                           Page 176 of 189 PageID 180
                                         COADVANTAGE RESOURCES                                                                        24. INC‘
                                        3350         BUSCHWOOD PARK DR                                                            14200
                                        TAMPA} FL 3361B




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                                                                       CEDAR HILL TX                                          75106-1962




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Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                       Page 177 of 189 PageID 181




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Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                  Page 178 of 189 PageID 1826/1 8/2020 3:48 PM
                                                                                                                                        FELICIA PITRE
                                                                                                                                      DISTRICT CLERK
                                                                                                                            DALLAS CO.. TEXAS
                                                                                                                          Miranda Lynch DEPUTY




                                                    NO. DC-20-03308



  FELIX V. CUADRADO,                                          §              IN   THE DISTRICT COURT
                       Plaintiffs,                            g

  v.                                                          g            DALLAS COUNTY, TEXAS
  VIEW AT KESSLER PARK and,                                   g
  TI   COMMUNITIES,                                           §

                       Defendants.                            g            134    ‘h
                                                                                       JUDICIAL DISTRICT



                   ORIGINAL ANSWER 0F WESTMOUNT AT KESSLER PARK L.P.

   TO THE HONORABLE JUDGE OF SAID COURT:

             COME NOW, Westmount at Kessler Park L.P. (“WKPLP”), one of the parties presumably




                                                    W
   named as       a party defendant in the above captioned cause, and for              its   Original   Answer to   Plaintiff‘s


   Original Petition     would    state the following:


                                                             I.




             While    WKPLP      has been the record owner of a multi-family project                    commonly known           as


   “View     at   Kessler Park” since early August of 201 9,            it    has not registered an assumed              name

   certiﬁcate under the      name “View      at   Kessler Park”, nor   is it   aware of any other party, or potential


   party,   which has.     As   such,   WKPLP would assert that    it is     not a proper party to the case at bar and,


   thus, ﬁles this special exception to the claims         and causes of action asserted            in Plaintiff‘s Original


   Petition.


   ORIGINAL ANSWER 0F KESSLER PARK L.P.                                                                               Page   l




                                                    EXHIBIT "D"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                          Page 179 of 189 PageID 183




                                                                    II.



                                                           General Denial

             Without waiving the above and foregoing special exception,                                    WKPLP    denies each and


   every, all and singularly, the material allegations set forth in Plaintiffs Original Petition, states the


   same    are untrue, in      whole or   in part,   and demands          strict   proof thereof by a preponderance of the

  evidence in accordance with             its   right at law, reserving hereby             its   right to     amend   this   Answer     to


   incorporate other and/or further defenses,               if,   when    and/or should     become           necessary.


                                                                   III.



                                                        Veriﬁed Denial

             Once      again, without     waving the above and foregoing                  special exception,          WKPLP     would

   assert,   by way of        further answer, that, pursuant to the provisions of Rules 93(2), (4), and (l4),


   Texas Rules of Civil Procedure, there              is   a defect in the parties defendant in the case at bar, that


   WKPLP at n0 time employed Plaintiff, in any capacity, either directly or through an agent, did not

   own    the   “View    at   Kessler Park” property during the timeframe in which Plaintiff claims to have


   been damaged, and that          WKPLP is not liable in the capacity in which                       it   has presumably been sued.


             WHEREFORE, PREMISES CONSIDERED,                                 Westmount           at   Kessler Park L.P. prays that


   Plaintiff take nothing        by way of      this suit, that     it   recover   its   reasonable and necessary attorneys’


   fees   and costs incurred      in its defense   0f same, along with such other and ﬁlrther                     relief, either at   law

   or in equity   it   may show itself to be justly         entitled.




   ORIGINAL ANSWER 0F KESSLER PARK L.P.                                                                                        Page 2




                                                     EXHIBIT "D"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20            Page 180 of 189 PageID 184




                                                   Respectfully submitted,


                                                   COATS     I   ROSE,P.C.



                                            By:     /s/ Alan J. Harlan
                                                   Alan J. Harlan
                                                   State Bar No. 09010200


                                                   600 Signature Place
                                                   14755 Preston Road
                                                   Dallas, Texas 75254
                                                   (972) 788-1600 Telephone
                                                   (972) 702-0662 Telecopy
                                                  aharlan@coatsrose.com

                                                  ATTORNEYS FOR DEFENDANT




  ORIGINAL ANSWER (i? KESSLER PARK L3.                                          Page 3




                                         EXHIBIT "D"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                     Page 181 of 189 PageID 185




                                            CERTIFICATE OF SERVICE
            The undersigned hereby          certiﬁes that   on this   18‘“   day of June, 2020, a true and

  correct   copy 0f the foregoing instrument was submitted with the Clerk of the 134th

  District Court, Dallas     County, Texas, and was served on the following using the e-ﬁle

  service of the Court.


   Via Electronic   Sm vice
           1am    awllrm PLLC
  VincentJ. Bhalti
  State Ba1 No 24055169
  Ditty S. Bhalli
  State Bal N0. 24062803
  I418 5 Plcston Road, Suite          550
  Dallas Texas ?5254
  Telephone:     €2l4 253- 2533
  [acmmilm       (2 4)79- 0033
  Email:     vincenl bhauic} bhattilawﬁrm      com
             '




  Email:                              law1m1.com
                         -




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                                                                             /s/Alarz    J.   Hcy‘lan
                                                                             Alan   J.   Harlan




  ORIGINAL ANSWER OF KESSLER PARK           LJ'.                                                             Page 4




                                                   EXHIBIT "D"
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                                            Page 182 of 189 PageID 186




                                                             VE    Fl        l



       STATE OF TEXAS                    §
                                         §
       COUNTY 0F DALLAS                  §



                BEFORE ME, the undersigned authority, on this day personally appeared Clifford A.
       Booth,    known lo me to be the person whose name is subscribed below. and. aﬂar having been
       duly sworn, stated under oath as follows:

                                “My name         is   Clifford A. Booth.         l   am over     twenty-one years ofage and in
                       all   respects competent lo             make   this Afﬁdavit.         l   am Manager  of Weslmount at
                       Kessler Park G.P.. LLP. a Delaware limited                    liability   company. which      is   the general
                       partner of Wcstmount at Kessler Park LP, a Delaware limited partnership,
                                                                                          owner of
                       that multi-familypropeny commonly known as “View at Kessler Park". a named
                       defendant in this lawsuit.  I have reviewed Wcstmoum at Kessler Park LP's

                       Original Answar and the statements contained therein arc within my personal
                       knowledge and are true and correct.”

                Further,   Afﬁant sayeth     not.




                                                         WESTMOUNT AT KESSLER PARK LP,
                                                         a   Delaware limited partnership


                                                         By: WESTMOU'NT AT KESSLER PARK                              GP LLC,
                                                         a Delaware limited liability company.
                                                         its




                                                         By:
                                                        Name:
                                                        Title:
                                                               general partner




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                                                                 A.Booth
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                                                                   Manager
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                SWORN AND SUBSCRIBED T0 BEFORE ME on this the                                         18‘“   day ofJune, 2020.

                                      DMNNA HAHTWELL
                                    Nulll‘y ID   I    129041!!!
                                    My Commission Elplm
                                           July 3.    2020
                                                                             Noﬁry       Pablih, State of Texas




       ORIGINAL AN-SWER 0F KESSLER PARK LI‘.                                                                                 Pnnc   S




                                                       EXHIBIT "D"
    Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20 Page 183 of 189 PageID 187
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that            complies with       all   applicable rules.

Sidney Perkins on behalf of Alan Harlan
Bar No. 9010200
sperkins@coatsrose.com
Envelope ID: 46303517
Status as of 9/1 7/2020 9:19 AM CST

Case Contacts

 Name                    BarNumber     Email                                      TimestampSubmitted       Status

 Dallas Docketing                      DalIasDocketing@jacksonlewis.com           9/16/2020 4:15:22   PM   SENT
Alan    J.   Harlan      9010200       aharlan@coatsrose.com                      9/16/2020 4:15:22   PM   SENT
Sidney Perkins                         sperkins@coatsrose.com                     9/16/2020 4:15:22   PM   SENT
 Nancy Blum                            nancy.blum@jacksonlewis.com                9/16/2020 4:15:22   PM   SENT
 Francine Ly                          f|y@dallascourts.org                        9/16/2020 4:15:22   PM   SENT


Associated Case Party:            VIEW AT KESSLER PARK

 Name                  BarNumber     Email                           TimestampSubmitted          Status

Julie   A.Farmer                     farmerj@jacksonlewis.com        9/16/2020 4:1 5:22   PM     SENT
 Kristin     L.Bauer                 bauerk@jacksonlewis.com         9/16/2020 4:15:22    PM     SENT


Associated Case Party:             FELIXV.CUADRADO

 Name                  BarNumber    Email                                 TimestampSubmitted          Status

 Ditty Bhatti          24062803     ditty.bhatti@bhattilawfirm.com        9/1   6/2020 4:15:22   PM   SENT
Vincent Bhatti                      Vincent.bhatti@bhattilawfirm.com      9/16/2020 4:15:22      PM   SENT


Associated Case Party: T|           COMMUNITIES

 Name                  BarNumber     Email                           TimestampSubmitted          Status

 Kristin     L.Bauer                 bauerk@jacksonlewis.com         9/16/2020 4:15:22    PM     SENT
Julie   A.Farmer                     farmerj@jacksonlewis.com        9/16/2020 4:15:22    PM     SENT
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                                                                                                                         10/9/2020 12:55   PM
                                                                                                                             FELICIA PITRE
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                             Page 184 of 189 PageID 188                   DISTRICT CLERK
                                                                                                                    DALLAS CO., TEXAS
                                                                                                                Miranda Lynch DEPUTY




                                         NO. DC-20-03308



FELIX V. CUADRADO,                                   §             IN   THE DISTRICT COURT

                 Plaintiffs,                         g


V.                                                   g            DALLAS COUNTY, TEXAS

VIEW AT KESSLER PARK and,                            g
TI   COMMUNITIES,                                    §

                                                                        “1
                 Defendants.                         g            134        JUDICIAL DISTRICT


                                      NOTICE OF HEARING

          Please take notice that the Court Will hear Defendant Westmount at Kessler Park,             LP (View

at   Kessler Park)’s   “No Evidence” Motion for Summary Judgment Tuesday, November                     10, 2020,


at 8 a.m.     Hearing will be held telephonically through Microsoft Teams, the               call-in   number       is



1-469-208— 1 731 and the hearing identiﬁcation number       is    33 3 002 5 14#.


                                                          Respectfully submitted,


                                                          COATS          |    ROSE,   P.C.




                                               By:        /s/Alan       J.   Harlan
                                                          Alan    J.   Harlan
                                                          State   Bar N0. 090 1 0200

                                                          600 Signature Place
                                                          14755 Preston Road
                                                          Dallas, Texas 75254
                                                          (972) 788-1600 Telephone
                                                          (972) 702-0662 Telecopy
                                                         aharlan@coatsrose.com


                                                         ATTORNEYS FOR DEFENDANT

NOTICE OF I-EARING                                                                                       Page   1




                                             EXHIBIT
                                               A-32
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                               Page 185 of 189 PageID 189




                                   CERTIFICATE OF SERVICE

          The undersigned hereby   certiﬁes that   on   this 9th   day of October, 2020, a true and correct


copy of the foregoing instrument was submitted With the Clerk of the 134th                   District Court, Dallas


County, Texas, and was served on the following using the e-ﬁle service 0f the Court, Via email and


certiﬁed mail return receipt requested.


CERTIFIED MAIL
Receipt N07015 1730 0001 8873 2726
Via Electronic Service
Email: Vincent.bhatti@bhattilawﬁrm.com
Email: dlttv.bhatt1(a>5hatt11awt1rm.com

The   Bhatti   Law Firm, PLLC
V1ncent   J.   Bhattl
State   Bar N0. 24055169
D1tty S. Bhattl
State Bar No. 24062803
14785 Preston Road, Suite 550
Dallas, Texas 75254
Telephqne: €214 253-2533
Facsgmlle: (2 4) 79-0033
Ema11:




CER TIFIED MAIL
      N0 7015 I 730
Receipt                 000] 8873 2733
Via Electronic Service
Email: bauerk@iacksonlewis.com
Email: fameri@iacksonlewis.com

Jackson Lewis P.C.
Kristin L. Bauer
State   Bar N0. 240068 1 3
Julie   A. Farmer
State Bar No. 24059734
500 N. Akard, Suite 2500
Dallas, Texas 75201
Telephone: (214) 520-2400
Facsimile: (214) 520-2008



                                                               /s/Alan         J.   Harlan
                                                                   Alan   J.   Harlan

NOTICE OF I-EARING                                                                                         Page 2
    Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20 Page 186 of 189 PageID 190
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that            complies with       all   applicable rules.

Sidney Perkins on behalf of Alan Harlan
Bar No. 9010200
sperkins@coatsrose.com
Envelope ID: 47055378
Status as 0f 10/12/2020 8:45 AM CST

Case Contacts

 Name                    BarNumber     Email                                   TimestampSubmitted        Status

 Dallas Docketing                      DalIasDocketing@jacksonlewis.com        10/9/2020 12:55:36   PM SENT
Alan    J.   Harlan      9010200       aharlan@coatsrose.com                   10/9/2020 12:55:36   PM SENT
Sidney Perkins                         sperkins@coatsrose.com                  10/9/2020 12:55:36   PM SENT
 Nancy Blum                            nancy.blum@jacksonlewis.com             10/9/2020 12:55:36   PM SENT
 Francine Ly                          f|y@dallascourts.org                     10/9/2020 12:55:36   PM SENT


Associated Case Party:            VIEW AT KESSLER PARK

 Name                  BarNumber     Email                           TimestampSubmitted        Status

Julie   A.Farmer                     farmerj@jacksonlewis.com        10/9/2020 12:55:36   PM SENT
 Kristin     L.Bauer                 bauerk@jacksonlewis.com         10/9/2020 12:55:36   PM SENT


Associated Case Party:             FELIXV.CUADRADO

 Name                  BarNumber    Email                                 TimestampSubmitted        Status

 Ditty Bhatti          24062803     ditty.bhatti@bhattilawfirm.com        10/9/2020 12:55:36   PM SENT
Vincent Bhatti                      Vincent.bhatti@bhattilawfirm.com      10/9/2020 12:55:36   PM SENT


Associated Case Party: T|           COMMUNITIES

 Name                  BarNumber     Email                           TimestampSubmitted        Status

 Kristin     L.Bauer                 bauerk@jacksonlewis.com         10/9/2020 12:55:36   PM SENT
Julie   A.Farmer                     farmerj@jacksonlewis.com        10/9/2020 12:55:36   PM SENT
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                   Page 187 of 189 PageID 191
                                      N:              JUDGE DALE TILLERY PRESIDING
                                            Fan              134TH JUDICIAL DISTRICT COURT
                                                          600 Commerce St., 6th Floor, Room 650
                                                                            Dallas, Texas 75202-4606
                                   K5.
                                 E                                     214/653-7546 -- 134th Ct. Clerk
                                                                  214/653-6995     --   Ct. Coordinator
                                                                                ﬂy@dallascourts.0rg
                                           June 17, 2020

VINCENT J BHATTI
THE BHATTI LAW FIRM PLLC
14785 PRESTON ROAD
SUITE 550
DALLAS TX       75254

          Re:   FELIX V.   CUADRADO          vs.    VIEW AT KESSLER PARK et a1
                DC-20-03308
A11 Counsel of Record/Pro Se Litigants:

PLEASE TAKE NOTE 0f the           following settings:

         NON JURY TRIAL:      06/21/2021 @ 9:00 AM

Trial   announcements MUST BE MADE in accordance With                     Rule 3.02, Local Rules 0f
the Civil Court 0f Dallas County, Texas.

When NO announcement is made for defendant, defendant will be presumed ready. If
ANY plaintiff fails t0 announce 0r to appear at trial, the case will be dismissed for want
of prosecution in accordance with Rule 165a, Texas Rules 0f Civil Procedure.

Completion of discovery, presentation of                    and other matters relating to
                                                   pretrial motions,
the preparation for trial, are controlled by the Scheduling Order in this case 0r by the
Texas Rules of Civil Procedure, in the event n0 Scheduling Order has been signed by the
Court.

Please forward a copy 0f this notice to counsel of record for each party and                 all   pro se
parties   by a method approved   in   Texas Rules 0f Civil Procedure 21a.

Sincerely,



ﬂg/é f
DALE TILLERY,
Presiding Judge


DBT/ﬂl
pCZ   VINCENT J BHATTI; KRISTIN BAUER




                                                   EXHIBIT
                                                     A-33
ALL PARTIES MUST BE COPIED 0N ALL WRITTEN COMMUNICATION T0 THE COURT.
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                   Page 188 of 189 PageID 192
                                      N:              JUDGE DALE TILLERY PRESIDING
                                            Fan              134TH JUDICIAL DISTRICT COURT
                                                          600 Commerce St., 6th Floor, Room 650
                                                                            Dallas, Texas 75202-4606
                                   K5.
                                 E                                     214/653-7546 -- 134th Ct. Clerk
                                                                  214/653-6995     --   Ct. Coordinator
                                                                                ﬂy@dallascourts.0rg
                                           June 17, 2020

KRISTIN BAUER
JACKSON LWIS LLP
500 N AKARD SUITE 2500
DALLAS TX       75201

          Re:   FELIX V.   CUADRADO          VS.    VIEW AT KESSLER PARK et a1
                DC-20-03308
A11 Counsel 0f RecordfPro Se Litigants:

PLEASE TAKE NOTE 0f the           following settings:

         NON JURY TRIAL:      06/21/2021 @ 9:00 AM

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Please forward a copy 0f this notice to counsel of record for each party and                 all   pro se
parties   by a method approved   in   Texas Rules 0f Civil Procedure 21a.

Sincerely,



ﬂg/é f
DALE TILLERY,
Presiding Judge


DBT/ﬂl
pCZ   VINCENT J BHATTI; KRISTIN BAUER




                                               EXHIBIT
                                                    A-34
ALL PARTIES MUST BE COPIED 0N ALL WRITTEN COMMUNICATION T0 THE COURT.
Case 3:20-cv-03492-M Document 1-1 Filed 11/25/20                     Page 189 of 189 PageID 193


                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

FELIX V. CUADRADO                                     §
                                                      §
                                                      §
                  Plaintiff,                          §
                                                      §
v.                                                    §   CIVIL ACTION NO. ___________
                                                      §
TI COMMUNITIES                                        §
                                                      §
                                                      §
                  Defendant.                          §


                          DECLARATION OF ____________
                                         CHRISTINE SCHOELLHORN


         I, Christine Schoellhorn, declare under the penalty of perjury as follows:

         1.            My name is Christine Schoellhorn. I am over the age of 18 years, am of sound
                       mind, and have personal knowledge of the facts stated in this declaration.

         2.            I am currently employed by TI Communities, LP as President. My office is located
                       at 1125 Executive Circle, STE 100, Irving, TX 75038. I have been employed in
                       this position since August 7, 2017.
         3.            In connection with my position as President, I am familiar with information
                       regarding TI Communities HR, LP and its corporate operations. TI Communities
                       HR, LP is a limited partnership organized under the laws of Delaware. TI
                       Communities has a limited partner and a general partner. The limited partner of
                       TI Communities HR, LP is a limited partnership organized under the laws of
                       Delaware. The limited partners of that partnership all reside in California. The
                       general partner of TI Communities HR, LP is a corporation incorporated in the
                       state of Delaware, with its principal place of business located in Santa Monica,
                       California.

         I declare under penalty of perjury that the foregoing is true and correct.

         EXECUTED on November 20, 2020.
                                                                 ____________________________
                                                                 Christine Schoellhorn
4846-0035-7842, v. 2




                                             EXHIBIT
                                                  B
